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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                    IN THE UNITED STATES DISTRICT COURT              November 05, 2020
                     FOR THE SOUTHERN DISTRICT OF TEXAS               David J. Bradley, Clerk
                              HOUSTON DIVISION

HESS CORPORATION,                       §
                                        §
                    Plaintiff,          §
                                        §
v.                                      §       CIVIL ACTION NO. H-16-3415
                                        §
SCHLUMBERGER TECHNOLOGY                 §
CORPORATION,                            §
                                        §
                    Defendant.          §


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                              I. Introduction

       This is a breach of contract action arising from the failure

of four Surface Controlled Subsurface Safety Valves ("SCSSVs") that

Hess        Corporation   ("Hess"   or     "Plaintiff")   purchased    from

Schlumberger         Technology     Corporation      ("Schlumberger"        or

"Defendant").       Although Hess asserts claims for breach of contract

pursuant to both Texas common law and the Texas Business and

Commerce Code § 2.608, 1 the court has already held that the two

claims are indistinguishable and that Chapter 2 of the Texas

Business and Commerce Code provides the applicable law.2

       Hess claims that Schlumberger breached the parties' contract

by delivering four SCSSVs that did not conform to the terms of the




       1
         Third Amended Complaint ("TAC"), Docket Entry No. 71, pp. 29-
32 'lI'lI 92-104 (breach of contract pursuant to Texas Business and
Commerce Code 'IT 2.608), and 'lI'lI 105-109 (breach of contract). Page
numbers for docket entries in the record refer to the pagination
inserted at the top of the page by the court's electronic filing
system.
      Memorandum Opinion and Order,
       2
                                             Docket Entry No. 40,      p. 6
n. 20.

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parties' agreement at the time of delivery. 3        Hess claims that the

SCSSVs installed in Wells D, B, and C were non-conforming at the

time of delivery because they contained Metal Spring Energized

("MSE") Seal Assemblies that were not manufactured in compliance

with §§     6.3.2.2, 7.6.2, and 7.6.3(c) of the Eleventh Edition of

Specification 14A published by the American Petroleum Institute

("API 14A, Eleventh Edition").4           Hess claims that a second,

replacement, SCSSV installed in Well B was non-conforming at the

time of delivery because it contained MSE Seal Assemblies that were

not manufactured in compliance with§ 6.3.2.2. of API 14A, Eleventh

Edition. 5    Hess claims that the alleged nonconformities caused the

SCSSVs to fail, and that the failures shut in the wells, blocked

production, and substantially impaired the value of the SCSSVs to

Hess. 6    Hess seeks damages totaling $217,900,795.00, consisting of

(1) costs to replace the failed SCSSVs, (2) expenses incurred to

retrieve and replace the failed SCSSVs, and certain lost profits.7

      Schlumberger contends that each SCSSV sold to Hess not only

met all the requirements of the parties' agreement but also worked

      3
          TAC, Docket Entry No. 71, p. 1 � 1.

      Hess's Contentions, Exhibit A to Amended
      4
                                                            Joint Pretrial
Order, Docket Entry No. 163-1, pp. 2-3 �� 1-12.

      Id. at 4 �� 13-14. See also Trial Testimony ("TT") 3-20: 7-
      5

20, Docket Entry No. 203, p. 20 (Hess's counsel stating that the
only API 14A violation alleged with respect to Well B(2) is a
violation of § 6.3.2.2).
      6
          Id. at 4 � 15.

      Hess's Motion for Judgment, Docket Entry No. 222, p. 45. See
      7

also Hess's Contentions, Exhibit A to Amended Joint Pretrial Order,
Docket Entry No. 163-1, pp. 4-5 �� 16-23 (seeking $2.69 million).

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downhole for more than the one-year warranty period.          Schlumberger

contends that the SCSSVS and the MSE Seal Assemblies inside them

met or exceeded the requirements of API 14, Eleventh Edition, that

the rosette springs inside the MSE Seals could not have caused the

SCSSVs to fail, and that the SCSSVs failed because Hess misused

them.       Schlumberger also contends that Hess's claims are barred,

released, and waived. 8

        This case was tried to the court from February 3 - 19, 2020.

Pending before the court are Schlumberger Technology Corporation's

Renewed Rule 52(c) Motion for Judgment on Partial Findings as to

the Well B (2) Valve ("Schlumberger's Rule 52 Motion") (Docket Entry

No.   212),    and Hess Corporation's Motion for Entry of Judgment

("Hess's Motion for Judgment") (Docket Entry No.             222).    After

considering the evidence and arguments at trial,              the pending

motions and the response and replies thereto, the court makes the

following findings of fact and conclusions of law pursuant to

Federal Rule of Civil Procedure 52(a)( 1).      Pursuant to the Findings

of Fact and Conclusions of Law, Hess's Motion for Judgment will be

denied, and Schlumberger's Rule 52 Motion will be denied as moot.




      Schlumberger's Contentions, Exhibit B to
        8
                                                           Amended    Joint
Pretrial Order, Docket Entry No. 163-2, pp. 2-3.
                                   -8-
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                           II. Findings of Fact

     A.      Background

              i.   The Parties

     1.       Plaintiff, Hess Corporation, is a Delaware Corporation

engaged in the exploration and production of oil and natural gas

with its principal place of business in New York. 9

     2.       Defendant,   Schlumberger Technology Corporation,            is a

Texas Corporation with its principal place of business in Texas. 10



             ii.   The Wells

     3.      Hess has completed six wells,            named Well A,   Well B,

Well C, Well D, Well E, and Well H, in the Tubular Bells Field, a

development located approximately              135   miles southeast of New

Orleans,     Louisiana,    on    the   Outer    Continental   Shelf   in    the

Mississippi Canyon Area of the Gulf of Mexico. 11

     4.      The Tubular Bells Field is a co-owned development. 12




     9
      Agreed Findings of Fact 1 and 2, Joint Proposed Findings of
Fact, Exhibit C to Amended Joint Pretrial Order, Docket Entry
No. 163-3, p. 2 (agreed findings of fact appear in black, Hess's
proposed findings of fact appear in green, and Schlumberger's
proposed findings of fact appear in blue). Subsequent references
to this instrument will be referred to only as "Agreed Finding of
Fact.II




     10   Agreed Finding of Fact 3.
     11
          Agreed Finding of Fact 5.
     12
          Agreed Finding of Fact 8.

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      5.      Hess is the operator owning a 57.14% working interest;

Chevron U.S.A.,       Inc. is the non-operator owning the remaining

42. 86% working interest. 13

      6.      Pursuant to an October 4,       2011,     Production Handling

Agreement ("PHA") that Hess entered with The Williams Companies

("Williams"), wells in the Tubular Bells Field process hydrocarbons

through the Gulfstar One floating production system. 14



              iii. Federally Required Safety Equipment

      7.      The   Federal   Government    mandates    that    oil   and   gas

producers drilling wells on the Outer Continental Shelf of the Gulf

of   Mexico     install   safety   and   pollution     prevention     equipment

("SPPE") to prevent an uncontrolled well flow in the event of an

emergency.       30 C.F.R. § 250.B0l(a).

      8.      The Bureau of Safety and Environmental Enforcement, the

agency charged with ensuring environmental protection relating to

offshore oil and gas operations, generally considers subsurface

safety valves and associated safety valve equipment to be an

approved type of SPPE.        30 C.F.R. § 250.B0l(a) (4) . 15




      13
           Agreed Finding of Fact 9.
      14
           Agreed Finding of Fact 10.
      15
           Agreed Finding of Fact 16.

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      9.     A subsurface safety valve is installed in the upper

wellbore.      A flapper on the downhole end of the valve controls

hydrocarbon flow into the production tubing by stopping production

from reaching the surface when the flapper is closed. 16

     10.     Failing   "safe"      meaning    closed        helps   prevent

hydrocarbons from endangering personnel and equipment on the

surface while also preventing potential environmental issues. 17

     11.     The subsurface safety valve is an emergency safety

device, not intended or designed for operational activities, such

as production reduction, production stop, or as a backflow valve. 18

     12.     The American Petroleum Institute ("API") publishes the

specification API 14A,       which provides the minimum acceptable

requirements for subsurface safety valves. 19




     16
          Agreed Finding of Fact 19.
     17
          Agreed Finding of Fact 20.

      Stephen Dunn, TT 2-36:19-22, Docket Entry No. 203, p. 36
     18

("The only time we would normally close a safety valve would be for
regulatory testing or perhaps for hurricane abandonment where we're
abandoning a facility or in some emergency situations.").

      Agreed Finding of Fact 87. API 14A, Eleventh Edition, § 1,
     19

PTX 3, Exhibit 3 to Hess's Motion for Judgment, Docket Entry
No. 222-3, p. 10 ("This International Standard provides the minimum
requirements for subsurface safety valves ( SSSVs).       "). See
also   David Hirth, TT 3-75:22-23, Docket Entry No. 204, p. 75;
Andrew Johansson, TT 7-89:21-90:3, Docket Entry No. 208, pp. 89-90,
and Patrick Hyde, TT 8-98:9-16, Docket Entry No. 209, p. 98.

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              iv.   Hess's Request for SCSSV Bids

      13.     Hess prepared a bid package for SCSSVs for its wells in

the Tubular Bells Field. 20

      14.     Hess's bid package listed requirements, including that

"SCSSVS shall be manufactured,           tested,   and monogrammed to the

latest edition of API 14A. " 21



              v.    The SCSSVs Schlumberger Offered to Sell to Hess

      15.     Schlumberger responded to Hess's Bid Request by proposing

to supply 5-1 /2" TRC-II-15K safety valves,            Part Number    ("PN'')

101091732, for Hess's wells. 22

      16.     The TRC-II-15K SCSSV, PN 101091732, that is the subject

of this lawsuit was designed in 2012, but most of its components

were validated under an earlier valve design, the TRC-DH-15F, PN

23439-000-00001, 23 which passed validation requirements of API 14A,

Tenth Edition, for Class 1 and 2 service, as confirmed by Southwest

Research Institute ("SWRI") Test Report No. 1662, dated March 29,

2002. 24


      20
           Agreed Finding of Fact 48.

       Agreed Finding of Fact 84. See also GoM - Tubular Bells &
      21

Llano 4 Bid SCSSV Requirements, April 16, 2012, p. 9 of 17, PTX 2,
Exhibit 2 to Hess's Motion for Judgment, Docket Entry No. 222-2,
p. 10.
      22
           Agreed Findings of Fact 51-52.

      Rebuttal Expert Report of David E. McCalvin ("McCalvin
      23

Rebuttal Report"), p. 51, Exhibit 28 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-30, p. 58.
      24
           Agreed Finding of Fact 152.

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     17.     The design of the 5-1/2" TRC-II-15K SCSSV, PN 101091732,

was therefore "grandfathered" from the design of the 5-1/2" TRC-DH-

15F as explained in Schlumberger            Justification Document, PDM

#101134016, dated June 6, 2012.25

     18.     Grandfathering is a common means of interpreting and

applying     the   Design   Change   section   of   API   14A   for   existing

products.26

     19.     The Schlumberger 5-1/2" TRC-II-15K SCSSV, PN 101091732,

is approximately 15 feet long, about 8-1/2" in diameter, and weighs

about 1,600 pounds.27

     20.     The 5-1/2" TRC-II-15K SCSSV, PN 101091732, contains two

separate rod piston systems connected to indivictual hydraulic

pressure control lines.28




     25
       Andrew Johnston, TT 6-216:9-19, Docket Entry No. 207, p. 216.
Hess FF 148 (recognizing that Schlumberger "grandfathered" the 5-
1/2" TRC-II-15K safety valve to previously certified safety valves
and components). See also Hess's Proposed Finding of Fact 151
 (recognizing that "Schlumberger represented that it grandfathered
the safety valve itself from the 'exceptionally reliable' TRC-DH
safety valve, which Schlumberger designed and certified for a
different client in the early 2000s.").
     26
       McCalvin Rebuttal Report, pp. 25-27, Exhibit 28 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-30, pp. 32-34 ( "Bridging and Grandfathering under API
14A").

     27   David Hirth, TT 2-101:10-13, Docket Entry No. 203, p. 101.

      David Hirth, TT 2-110:24-111:4, Docket Entry No.
     28
                                                                         203,
pp. 110-111 (describing 2 pistons on the TRC-II-15K SCSSV).

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      21.     By applying hydraulic pressure through the control lines,

the rod piston systems may be used simultaneously or independently

to open and close the valve. 29

      22.     Each rod piston system includes five (5) Metal Spring

Energized ( "MSE") Seal Assemblies for a total of ten (10) in each

scssv. 30
      23.     The MSE Seal Assembly is cylindrical in shape and smaller

in diameter than a quarter-dollar coin. 31

      24.     When fitted onto a piston the MSE Seal Assembly is

capable of holding pressure from one direction by creating a seal

between the rod piston system and the bore through which the rod

piston moves as the valve opens and closes. 32




      29
           David Hirth, TT 2-111:13-25, Docket Entry No. 203, p. 111.

      DavidHirth, TT 2-112:9-121:7, Docket Entry No. 203, pp. 112-
      30

121 (describing the MSE Seals in the TRC-II-15K SCSSV). See also
Field Return Analysis Revision 7, p. 18 of 55, Exhibit 49 to Hess
Corporation's Motion for Judgment, Docket Entry No. 222-51, p. 19.
       David Hirth, TT 2-117:18-21, Docket Entry No. 203, p. 117
      31

 (describing MSE seal as "cylindrical"). See also Mccalvin Rebuttal
Report, pp. 175-76, DX 71, Exhibit 28 to Schlumberger's Response to
Motion for Judgment, Docket Entry No. 223-31, pp. 62-63 (photos
comparing size of MSE Seal and MSE Seal component parts to a
quarter dollar coin).

      David Hirth,
      32
                         TT 2-119:22-120:12,     Docket Entry No.       203,
pp. 119-20.

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     25.   MSE Seal Assemblies are comprised of the following four

components: (1) a hat ring,      (2) a MSE Assembly,     (3) a V-ring, and

(4) a female adapter. 33

     26.   The MSE Assembly34 consists of four components:             (1) a

jacket enclosing two metal rosette springs,          (2) an inner (nose)

rosette spring and (3) an outer (tail) rosette spring, and (4) a

support ring separating the two rosette springs. 35

     27.   When   operating    correctly    the   rosette   springs   press

outward against the jacket forcing the outer surface of the jacket

against the inner surface of the piston bore to form a seal between

the piston and the piston bore. 36




     33
       David Hirth, TT 2-115:18-119:17, Docket Entry No. 203,
pp. 115-19 (describing MSE seals).          See also Plaintiff's
Demonstrative Exhibit 4 (demonstrative photo of MSE seal showing
component    parts); Andrew Johnston, TT 8-7:14-23, Docket Entry
No. 209, p. 7; Field Return Analysis Revision 7, p. 18 of 55,
Exhibit 49 to Hess Corporation's Motion for Judgment, Docket Entry
No. 222-51, p. 19; Greene Tweed MSE Seal Assembly Drawings, DX 27
 (MSE Seal with Teflon V-Ring), and DX 28 (MSE Seal with Chemraz V­
Ring).

      An MSE Seal Assembly differs from an MSE Assembly which is
     34

a component of an MSE Seal Assembly.

      David Hirth, TT 2-116:16-117:8, Docket Entry No. 203,
     35

pp. 116-17.     See also Plaintiff's Demonstrative Exhibit 4
(demonstrative photo of MSE seal showing component parts).
      David Hirth, TT 2-117:11-118:12, Docket Entry No. 203,
     36
pp. 117-18. See also David Mccalvin, TT 8-215:22-24, Docket Entry
No. 209, p. 215 (stating that the MSE jacket component of the MSE
seal assembly is the actual seal).
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     28.     The MSE Assembly jacket is graphite filled Teflon.37

     29.     The V-ring is a secondary sealing element.38

     30.      V-rings are made of either (1) Chemraz, a type of rubber

resistant to chemicals; or (2) PTFE, a rigid plastic also known as

Teflon.39

     31.     The     MSE    Seal    Assembly     with     Chemraz       V-ring     is

PN 100066417. 40

     32.     The MSE Seal Assembly with            PTFE    (Teflon) V-ring is

PN 23550-028-0001. 41

     33.     Apart from the V-ring material,              MSE Seal Assemblies

PN 100066417 and PN 23550-028-00001, are the same.42

     34.     The     sealing     surfaces   of   the     MSE    Seal    Assemblies

PN 100066417 and PN 23550-028-00001 are composed entirely of non­

metallic substances.43


      Agreed Finding of Fact 162.
     37
                                     See also David Hirth, TT 2-
118:5-6, and 2-203:5-9, Docket Entry No. 203, pp. 118 and 203
(stating that MSE jackets are made of PTFE, a rigid plastic also
known as Teflon).
     38
          David Hirth, TT 2-119:1-2, Docket Entry No. 203, p. 119.

      David
     39
                   Hirth,   TT   2-155:24-156:7,       Docket   Entry    No.     203,
pp. 155-56.

      Andrew Johnston, TT 6-214:1-3, Docket Entry No. 207, p. 214.
     40

See also David Mccalvin, TT 8-186:22-187:4, Docket Entry No. 209,
pp. 186-87.
      Andrew Johnston, TT 6-213:24-214:1, Docket Entry No. 207,
     41

pp. 213-14. See also David Mccalvin, TT 8-186:22-187:4, Docket
Entry No. 209, pp. 186-87.
     42
          Andrew Johnston, TT 6-214:4-7, Docket Entry No. 207, p. 214.
     43
          Patrick Hyde, TT 8-88:22-89:8, Docket Entry No. 209, pp. 88-
                                                        (continued...)
                                       -16-
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     35.     Schlumberger    successfully    completed    API   14A   dynamic

qualified     testing   of   MSE   Seal   Assemblies,    PN   100066417   and

PN 23550-028-00001, in February of 2004, as documented in a report

numbered ET20049950. 44

     36.     The Bill of Materials listing all of the components

needed to build a SCSSV, PN 101091732, lists both types of MSE Seal

Assembly, Chemraz, PN 100066417, and Teflon, PN 23550-028-00001. 45



     B.      The Parties' Agreement for SCSSVs

     37.     Hess agreed to purchase Schlumberger's 5-1/2" TRC-II-15K

SCSSVs, PN 101091732, for $572,430.00 per valve. 46




       ( ••• continued)
     43

89.   See also David Hirth, TT 2-203:5-9, Docket Entry No. 203,
p. 203 (Q: Now, the seal in this case is the plastic jacket that we
talked about, correct? A. That is correct. Q. It's obviously, a
non-metallic seal? A. Correct.").
     44
       Andrew Johnston, TT 6-213:12-214:10, Docket Entry No. 207,
pp. 213-14. See also David Mccalvin, TT 8-186:17-187:4, Docket
Entry No. 209, pp. 186-87; Mccalvin Rebuttal Report, pp. 65-71, DX
71, Exhibit 28 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-20, pp. 73-78 (describing validation
of MSE Seals used in Schlumberger TRC-II-15K SCSSV); DX 29, Test
Plan/Report      TRC SCSSV Hydraulic Seal Dynamic Test, ET
# ET20049950, February 6, 2004, Exhibit 21 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-23;
and David Hirth, TT 2-180:11-13, Docket Entry No. 203, p. 180
(acknowledging that the MSE Seal Assemblies were API qualified in
2004).
      Andrew Johnston, TT 6-217:24-218:5, TT 7-18:17-20:10,
     45
                                                               7-
44:20-45:4, Docket Entry No. 207, pp. 217-18, and Docket Entry
No. 208, pp. 18-20, 44-45 (explaining what a Bill of Materials is
and how the industry uses part numbers to maintain control over
various designs). See also, DX 33, Bill of Materials for 5-12"
TRC-II-15K SCSSV, PN 101091723.
     46
          Jason Sapp, TT 5-70:1-22, Docket Entry No. 206, p. 70.

                                    -17-
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               i.      The Commercial Agreement

       38.     The     parties     memorialized   their     agreement      regarding

Schlumberger's         sale   of    5-1/2"   TRC-II-15K     SCSSVs    to    Hess   in

Commercial Agreement Number 46000010410, effective April 18, 2012. 47

       39.     The Commercial Agreement required Schlumberger to provide

Hess    with     SCSSVs    that     met "the    latest     editions   of"    certain

specifically enumerated and other generally identified industry

standards        and    specifications,        including     American      Petroleum

Institute Specification for Subsurface Safety Valve                        Equipment

ANSI/API Specification 14A              ("API 14A")         a commonly accepted

industry specification for subsurface safety valve equipment. 48

       40.     The Commercial Agreement is an unambiguous, valid, and

enforceable contract between the parties. 49



               ii.     Exhibit A to the Commercial Agreement-Scope of Work

       41.     Exhibit A to the Commercial Agreement titled "Scope of

Work General" incorporates by reference Revision                      Five of the

Tubular Bells Bid Request dated April 16, 2012. 50


      Commercial Agreement, PTX 1, Exhibit 1 to Hess's Motion for
       47

Judgment, Docket Entry No. 222-1.
       48
            Agreed Finding of Fact 64.
       49
            Agreed Finding of Fact 63.
       50
            Agreed Finding of Fact 83.          See also Commercial Agreement
                                                                (continued... )

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     42.     Revision Five of the Tubular Bells Bid Request states

that "SCSSVs shall be manufactured, tested, and monogrammed to the

latest edition of API 14A."51



             iii. Exhibit J     to    the    Commercial   Agreement-Quality
                  Standards

     43.     Exhibit J to the Commercial Agreement sets out general

Quality Standards agreed upon by the parties. 52

     44.     Section 2.4 of Exhibit J to the Commercial Agreement

states that Schlumberger "shall demonstrate its Quality Assurance

of activities through all stages of the Agreement in a contract

specific     Quality   Plan   which   upon    [Hess's]    request   shall    be

submitted for [Hess's] review within 4 weeks of contract award." 53



             iv.   The Quality Control Plan

     45.     The Quality Control Plan ("QCP"), 101087146 Revision AA,

for the Tubular Bells safety valves was approved by Schlumberger

and Hess on March 22, 2012. 54

     50 (
          continued)
          •••

Exhibit A, PTX 1, Exhibit 1 to Hess's Motion for Judgment, Docket
Entry No. 222-1, p. 12.
      Agreed Finding of Fact 84. See also GoM - Tubular Bells &
     51

Llano 4 Bid SCSSV Requirements, p. 9 of 17, PTX 2, Exhibit 2 to
Hess's Motion for Judgment, Docket Entry No. 222-2, p. 10.
      Commercial Agreement, Exhibit J, PTX 1, Exhibit 1 to Hess's
     52

Motion for Judgment, Docket Entry No. 222-1, pp. 71-81.
     53
          Id. at § 2.4, Docket Entry No. 222-1, p. 75.
      Agreed Finding of Fact 128. See also Quality Control Plan,
     54

DX 16, Exhibit 15 to Schlumberger's Response to Hess's Motion for
                                                   (continued...)
                                      -19-
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     46.      The QCP states that "CHPC [Completions Houston Product

Center] Quality Management Systems are certified to ISO 9001 and

ISO 29001.         CHPC is also certified by the American Petroleum

Institute to API Spec Ql and authorized to apply the API monogram

to products manufactured in accordance with API Specs 14A, 14L, and

1101. This QCP includes all standard manufacturing requirements. " 55

      47.     Peter Koopmans approved the QCP on behalf of Hess. 56



              v.    The Inspection Matrix

      48.     The Inspection Matrix for QCP 101087146 Revision AA for

the Tubular Bells SCSSVs was approved by Schlumberger and by Hess

on June 3, 2013. 57

      49.     Chad Brasseaux approved the Inspection Matrix on behalf

of Hess. 58




      54 (
          continued)
           •••
Judgment, Docket Entry No. 223-16.
       Agreed Finding of Fact 129. See also Quality Control Plan,
      55

DX 16, Exhibit 15 to Schlumberger's Response to Hess's Motin for
Judgment, Docket Entry No. 223-16, p. 2; Andrew Johnston, TT 6-
207: 24-208: 12, Docket Entry No. 207: 207-08 (defining "CHPC" as
Schlumberger's Completions Houston Product Center).
      56
           Agreed Finding of Fact 130.
      Agreed Finding of Fact 131.
      57
                                     Inspection Matrix, DX 17,
Exhibit 16 to Schlumberger's Motion for Judgment, Docket Entry
No. 223-17.
      58
           Agreed Finding of Fact 132.
                                   -20-
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     50.   The Inspection Matrix assigns a Class to each part and

identifies the possible Class designations as 1. Critical, 2. Non­

critical, 3. Elastomer, or 4. Hardware. 59

     51.   The Inspection Matrix identifies the MSE Seal Assemblies

used in the SCSSVs purchased by Hess as PN 100066417 and PN 23550-

028-0001.60

     52.   The Inspection Matrix designates MSE Seal                 Assembly,

PN 10006417, as Class 3, Elastomer, not as Class 1, Critical.61

     53.   The Inspection Matrix designates MSE Seal                 Assembly,

PN 23550-028-00001,      as   Class    3,    Elastomer,   not   as   Class   1,

Critical. 62




      Inspection Matrix, p. 1, DX 17, Docket Entry No. 223-1 7,
      59

p. 2. See also Andrew Johnston, TT 7-33:13-34:21, and 7-39:25-
40:5, Docket Entry No. 208, pp. 33-34, and 39-40 (stating that
Schlumberger's clients have full control as to these class
definitions).
     60Inspection Matrix, DX 17, Exhibit 16 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-17.
See also Andrew Johnston, TT 7-44:20-45:7, Docket Entry No. 208,
pp. 44-45.
     61Inspection Matrix, p. 2, Exhibit 16 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-17,
p. 3.    See also Andrew Johnston, TT 7-40:14-41:1, Docket Entry
No. 208, pp. 40-41.

      Inspection Matrix, p. 1, Exhibit 16 to Schlumberger's
      62

Response to Hess's Motion for Judgment, , Docket Entry No. 223-17,
p. 2.   See also Andrew Johnston, TT 7-34:22-35:4, Docket Entry
No. 208, pp. 34-35.
                                      -21-
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             vi.   The Master Service Contract

     54.     The Commercial Agreement incorporates by reference Master

Service Contract         No.   7525     ("MSC")   entered   into    by   Hess   and

Schlumberger effective February 6, 2000. 63

     55.     The   MSC    is   an     unambiguous,   valid,   and    enforceable

contract between the parties. 64

     56.     The MSC states that it "shall control and govern all work

performed by [Schlumberger] for [Hess], and shall be deemed to be

incorporated in full in every subsequent oral and/or written work

or purchase order, service agreements or other project documents. " 65

     57.     The MSC contains the following express warranty:

     [Schlumberger] warrants that all equipment, products,
     materials and other iterns furnished hereunder shall:
     (1) be new if specified by [Hess]; (2) be free from
     defects in design, materials, fabrication and other
     workmanship; and (3) conform to [Hess]'s specifications,
     drawings or other descriptions contained in the
     applicable service agreement, purchase order, work order
     or other project document. [Schlumberger] warrants that
     all work and other services performed hereunder (whether
     by [Schlumberger], its subcontractors or other parties
     for whom it is responsible) shall be free from all faults
     and defects and of a quality consistent with the
     prevailing standards of workmanship for experienced
     contractors with expertise in the particular type of work
     or service being performed In the event of a breach of
     any of the foregoing warranties, [Schlumberger] shall,
     promptly after receipt of written notice thereof from


      Agreed Finding of Fact 69-7 0. See also Commercial Agreement,
     63

§ 2, PTX 1, Exhibit 1 to Hess's Motion for Judgment, Docket Entry
No. 222-1, pp. 4-5.
     64
          Agreed Finding of Fact 68.

      MSC, § 1, Exhibit 68 to Schlumberger's Response to Hess's
     65

Motion for Judgment, Docket Entry No. 223-72, p. 3.
                                         -22-
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        [Hess] and at [Schlumberger]'s sole cost, repair or
        replace (as determined by Schlumberger) all applicable
        equipment, products, materials, work, services, and other
        iterns necessary to cure the breach of warranty, as
        confirmed by [Hess], whose approval shall be unreasonably
        withheld.66

        58.     The MSC limits Schlumberger's warranties to "a period of

one (1) year after [Schlumberger]'s delivery and/or installation

(if performed by Schlumberger)             lf67

        59.     The MSC expressly and conspicuously disclaims all other

express or implied warranties:

        [SCHLUMBERGER] MAKES NO OTHER WARRANTY AS TO PRODUCTS,
        WORKMANSHIP OR MERCHANTABILITY, WHETHER EXPRESSED OR
        IMPLIED (INCLUDING, WITHOUT LIMITATION, THAT THE PRODUCTS
        OR SERVICES SHALL BE FIT FOR ANY PARTICULAR PURPOSE),
        EXCEPT AS EXPRESSLY STATED HEREIN OR IN AN EXPRESS
        AMENDMENT HERETO.68

        60.     Section 13 of the MSC contains a series of indemnity and

release provisions.69

        61.     Section 13 (b) of the MSC provides that both Hess and

Schlumberger agreed that the "release" and "indemnity obligations"

were:

        Without regard to the negligence . . . breach of warranty
              [or] defective condition (whether pre-existing or
        otherwise) of any . . . equipment, materials, tools, or
        other item whatsoever" and that "it is the specific and
        expressed intent and agreement of the company and the
        contractor that all release, defense, hold harmless and


        66Id., Docket Entry No. 223-72, pp. 3-4.
        67Id., Docket Entry No. 223-72, p. 4.
        68Id.
        69Agreed Finding of Fact 76.

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     indemnity obligations and other liabilities assumed by
     [Hess] and [Schlumberger] respectively under Sections
     13(c) and (d) shall be without regard to the negligence
     (whether sole, joint, or concurrent, active or passive),
     breach of warranty, strict liability, premises liability,
     defective condition (whether pre-existing or otherwise)
     of any facilities, equipment, materials, tools, or other
     item whatsoever, the unseaworthiness of any vessel or
     unairworthiness of any aircraft and appurtenant equipment
     furnished, chartered, operated or otherwise utilized
     hereunder or any other fault of the indemnified parties
     or any other party excepting only the gross negligence,
     recklessness or willful misconduct of the [Hess] group or
     [Schlumberger] group. 70

     62.     Section 13(c)(1) of the MSC provides in relevant part

that Hess

     SHALL FULLY RELEASE,     DEFEND,  INDEMNIFY AND HOLD
     [ SCHLUMBERGER] HARMLESS FROM AND AGAINST ALL CLAIMS
     BROUGHT BY OR ON BEHALF OF ANY PARTY OR PERSON FOR ANY
     AND ALL:



     (iii) DAMAGE TO OR LOSS OF PROPERTY OF [HESS] AND ITS
     EMPLOYEES, WHETHER REAL OR PERSONAL (INCLUDING, WITHOUT
     LIMITATION, PRODUCTION AND DRILLING EQUIPMENT, WELLBORE,
     CASING, SUBSURFACE RESERVOIRS AND ANY OIL AND GAS OR
     OTHER HYDROCARBON SUBSTANCES LOCATED THEREIN) WHENEVER
     AND WHEREVER OCCURRING, ARISING DIRECTLY OR INDIRECTLY
     OUT OF OR IN ANY WAY INVOLVING [SCHLUMBERGER]'S WORK AND
     OTHER OPERATIONS (INCLUDING ACTS AND OMISSIONS), THE
     PRESENCE AT [HESS]'S WORK LOCATIONS HEREUNDER OF
     [SCHLUMBERGER]'S EMPLOYEES AND ALL VEHICLES, VESSELS,
     EQUIPMENT, TOOLS, MATERIALS, AND OTHER ITEMS WHATSOEVER
     FURNISHED, DELIVERED, STORED, OR OTHERWISE HANDLED BY
     [SCHLUMBERGER] (INCLUDING ALL TRANSPORTATION OF PERSONNEL
     AND PROPERTY TO AND FROM THE WORK LOCATIONS AND LOADING
     AND UNLOADING OPERATIONS), WITHOUT LIMIT AND REGARDLESS
     OF CAUSE OR FAULT, AS PARTICULARLY DESCRIBED IN SECTION
     13(b) ABOVE. . . . 71



      Agreed Finding of Fact 51 (quoting MSC, § 13(b), Docket Entry
     70

No. 223-72, p. 7).
     71
          MSC, § 13(c)l, Docket Entry No. 223-72, pp. 7-8.
                                   -24-
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   63.      Section 13(c)(2) provides in relevant part that Hess

   SHALL FULLY RELEASE,     DEFEND,  INDEMNIFY AND HOLD
   [SCHLUMBERGER] HARMLESS ON ACCOUNT OF LOSS OF OR DAMAGE
   TO [SCHLUMBERGER]'S PROPERTY, EQUIPMENT, MATERIALS, OR
   PRODUCTS WHEN SUCH LOSS OR DAMAGE OCCURS:

   (i) IN THE WELLBORE OR BELOW THE ROTARY TABLE (E.G. IF
   [SCHLUMBERGER]'S EQUIPMENT OR OTHER PRODUCT BECOMES
   IRRETRIEVABLE, AS DETERMINED BY [HESSS] AS OPERATOR OF
   THE WELL)[;]



   (iv) WHILE LOCATED AT THE WELL SITE WHEN [SCHLUMBERGER]
   PERSONNEL AR ENOT PRESENT; OR

   (v) WHILE BEING USED BY ANY PERSON OTHER THAN A MEMBER
   OF [SCHLUMBERGER] GROUP, WHETHER IN AN EMERGENCY OR
   OTHERWISE;



   In the event any of Contractor's tools, instruments or
   other equipment are damaged, lost or determined to be
   irretrievable by [Hess], as operator of the well, [Hess]
   shall reimburse [Schlumberger] for the reasonable,
   documented costs to repair or replace said equipment,
   whichever is less (or if said equipment is lost or
   otherwise determined to be irretrievable by [Hess], the
                               72
   costs to replace same).

   64.     Section 13(i) provides that

   IN THE EVENT THAT EITHER PARTY HERETO IS REQUIRED TO SEEK
   JUDICIAL ENFORCEMENT OF THE CONTRACTUAL INDEMNITIES AND
   OTHER OBLIGATIONS AND LIABILITIES OF THE OTHER PARTY, THE
   PARTY ENTITLED TO SUCH PROTECTION HEREUNDER SHALL RECOVER
   ALL REASONABLE ATTORNEYS' FEES, COURT COSTS AND OTHER
   EXPENSES INCURRED IN CONNECTION WITH PURSUING THAT CLAIM
   THROUGH LITIGATION OR OTHERWISE.73




   72   Id. § 13(c)2, Docket Entry No. 223-72, p. 8.
   73
        Id. § 13(c)2(i), Docket Entry No. 223-72, p. 13.
                                 -25-
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        C.         Hess Failed to Establish by a Preponderance of the
                   Credible Evidence that It Justifiably Revoked Its
                   Acceptance of the Four SCSSVs

        65.        The SCSSVs at issue are Serial Numbers:            (1) H13S-0010

installed in Well D;                (2) H13S-0011 installed in Well B;     (3) H13S-

0022 installed in Well C; and                     (4) H13S-0025,   the second SCSSV

installed in Well B after H13S-0011 failed.



                   i.         Hess Established by a Preponderance of the Credible
                              Evidence that Its Acceptance of the SCSSVs was
                              Induced by Schlumberger's Assurances that They
                              Complied with API 14A, and by the Inherent
                              Difficulty of     Discovering  the   Alleged   Non­
                              Conformities

                              a.   Hess's 2013 Acceptance of the Four SCSSVs

        66.        Schlumberger produced each of the SCSSVs sold to Hess in

Houston, Texas, at its CHPC facility. 74

        67.        A Valve Data Book maintained for each SCSSV documents the

production of each SCSSV:                   (1) H13S-0010 (Well D); 75 (2) Hl3S-0011

(Well B); 76             (   3) H13S-0022    (Well C); 77 and   (4) H13S-0025   (Well

B ( 2) ) •   78




        74
                Agreed Finding of Fact 165.
            5
      DX 23, Excerpts included in Exhibit 19 to Schlumberger's
        7

Response to Hess's Motion for Judgment, Docket Entry No. 223-20.
        76
      DX 37, Excerpts included in Exhibit 23 to Schlumberger' s
Response to Hess's Motion for Judgment, Docket Entry No. 223-25.
     77 DX 39, Excerpts included in Exhibit 24 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-26.
        78      DX 46,       Excerpts included in Exhibit 25 to Schlumberger' s
                                                                (continued... )
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     68.      Each   SCSSV   Schlumberger   produces     undergoes     three

screening tests before being installed in a well: (1) a Functional

or Factory Acceptance Test ("FAT") performed at Schlumberger's CHPC

in Houston, Texas; (2) a make-up test performed in Schlumberger's

service center in Houma, Louisiana; and (3) a deck test performed

on site prior to installation in the well. 79

     69.      Each of the SCSSVs at issue passed a FAT as follows:

(1) H13S-0010 (Well D) on April 20, 2013; 80 (2) H13S-0011 (Well B)

on April 9, 2013; 81 (3) H13S-0022 (Well C) on May 15, 2013; 82 and

(4) H13S-0025 (Well B(2)) on September 13, 2013. 8 3

     70.      Schlumberger stamped the API 14A monogram on each SCSSV

as follows: (1) H13S-0010 (Well D) on April 22, 2013; 84 (2) H13S-




     78
          continued)
          ( •••
Response to Hess's Motion for Judgment, Docket Entry No. 223-27.

      Dwayne May, TT 4-9:21-10:12, Docket Entry No. 205, pp. 9-10
     79

(listing the screening tests Schlumberger performed on each SCSSV).

      Valve Databook, DX 23, Excerpts included in Exhibit 19 to
     80

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-20, p. 4.

      Valve Databook, DX 37, Excerpts included in Exhibit 23 to
     81

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-25, p. 5.
      Valve Databook, DX 39, Excerpts included in Exhibit 24 to
     82

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-26, p. 4
     83
          Valve Databook, DX 46, STC-00255935.
     84
          Agreed Finding of Fact 176.

                                   -27-
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0011 (Well B) on April 11, 2013; 8 5 (3) H13S-0022 (Well C) on May,

17, 2013; 86 and (4) H13S-0025 (Well B(2)) on September 13, 2013. 87

     71.     Schlumberger issued a Certificate of Compliance for each

SCSSV: (1) Hl3S-0010 (Well D) on April 24, 2013; 8 8 (2) Hl3S-0011

(Well B) on April 12, 2013; 89 (3) Hl3S-0022 (Well C) on May, 16,

2013; 90 and (4) Hl3S-0025 (Well B(2)) on September 17, 2013. 91

     72.     By stamping the API 14A monogram onto each SCSSV, and

providing     Hess   a   Certificate   of   Compliance   for   each   SCSSV,

Schlumberger assured Hess that each SCSSV complied with API 14A.

     73.     Once each SCSSV was stamped with the API 14Am        monogram,

Schlumberger sent Hess a field ticket indicating that the SCSSV had

been completed, and that the risk of loss passed from Schlumberger

to Hess as follows: (1) H13S-0010 (Well D) on April 25, 2013; 92

(2) Hl3S-0011 (Well B) on April 18, 2013; 93 (3) H13S-0022 (Well C)




     85
          Agreed Finding of Fact 208.
     86
          Agreed Finding of Fact 238.
     87
          Agreed Finding of Fact 421.
     88
          Agreed Finding of Fact 175.
     89
          Agreed Finding of Fact 207.
     90
          Agreed Finding of Fact 237.
     91
          Agreed Finding of Fact 420.
     92
          Hess Finding of Fact 178; Schlumberger Finding of Fact 179.
     93
          Hess Finding of Fact 211; Schlumberger Finding of Fact 210.

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on September 18, 2013; 94 and (4) H13S-0025 (Well B(2)) on October

9, 2013.95

     74.     Hess accepted each SCSSV by acknowledging receipt of the

field tickets as follows: (1) H13S-0010 (Well D) on April 25,

2013; 96 (2) H13S-0011 (Well B) on April 18, 2013; 97 (3) Hl3S-0022

(Well C) on September 18, 2013; 98 and (4) H13S-0025 (Well 8(2)) on

October 9, 2013. 99

     75.     Following Hess's acknowledgment of each field ticket,

Schlumberger invoiced Hess, and Hess paid Schlumberger $572,430.00

for each of the four SCSSVs. 100

     76.     Hess's   acceptance   of     the   SCSSVs   was   induced       by

Schlumberger's assurance that each SCSSV complied with API 14A by

passing a Functional Acceptance Test, bearing a stamped API 14A

monogram, and receiving a Certificate of Compliance.



     94
      Hess Finding of Fact 240; Schlumberger Finding of Fact 241
(placing date of acceptance on September 17, 2013).
     95Agreed     Finding of Fact 424.
     9 6 Hess   Finding of Fact 178; Schlumberger Finding of Fact 179.
     97 Hess    Finding of Fact 211; Schlumberger Finding of Fact 210.
     9 8 Hess
           Finding of Fact 240; Schlumberger Finding of Fact 241
(placing date of acceptance on September 17, 2013).
     99Agreed     Finding of Fact 424.
       Agreed Findings of Fact 197 (SCSSV Hl3S-0010 installed in
     100

Well D); 227 (SCSSV H13S-0011 installed in Well B); 267 (SCSSV
H13S-0022 installed in Well C), and 425 (SCSSV H13S-0025 installed
in Well D) •
                                   -29-
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     77.    Hess's acceptance of each of the four SCSSVs manufactured

in 2013 was also induced by the difficulty of discovering the

alleged non-conformity with the MSE Assemblies because the MSE

Assemblies could not have been dimensionally inspected without

disassembling the entire SCSSV.



                  b.    Hess's Second Acceptance of SCSSV H13S-0025
                        Following Retrofit of MSE Seal Assemblies

     78.    In January 2016 Schlumberger issued a worldwide recall of

TRC-II l0K and 15K safety valves in inventory for retrofit with

reproductions     of   MSE   Seal   Assemblies   PN     23550-028-00001    and

PN 100066417 manufactured to new drawings .101

     79.    The recall included SCSSV H13S-0025, which Hess had in

inventory and later became the second SCSSV installed in Well B,

i.e., Well B(2). 102

      80.   The   retrofit    of    SCSSV   H13S-0025    was   performed     at

Schlumberger's CHCP in Houston under Return Authorization Number

("RAN") 02284 . 103




       A. LaDouceur, TT 5-37:20-38:24, 5-55:21-56:10, Docket Entry
     101

No. 206, pp. 37-38, and 55-56.
       Agreed Finding of Fact 427-28. See also Andrew Johnston,
     102

TT 7:131:6-16, Docket Entry No. 208, p. 131.
       Agreed Finding of Fact 426. See also Andrew Johnston, TT 7-
     103

155:2-12, Docket Entry No. 208, p. 155 (explaining that RAN is an
abbreviation of Return Authorization Number).

                                     -30-
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     81.      Schlumberger   successfully    completed    API    14A dynamic

qualification      testing   for     Reproduction   MSE   Seal   Assemblies,

PN 23550-028-00001 and PN 100066417, in January and February of

2016 as documented in report numbered ET 201600464. 104

     82.      On March 2,    2016,   Schlumberger replaced the MSE Seal

Assemblies, PN 23550-028-00001 and PN 100066417, in SCSSV Hl3S-0025

with the 2016 reproduction MSE Seal Assemblies, PN 23550-028-00001

and PN 100066417. 105

     83.      On March 3, 2016, SCSSV H13S-0025 successfully passed a

Functional Acceptance Test. 106


     104
        Andrew Johnston, TT 7-128:1-132:16 (explaining that the 2016
Reproduction MSE Seal Assemblies went through four separate valve
qualifications and therefore were validated four separate times),
8-16:23-17:8 (explaining that the effort to reverse engineer the
rosette spring resulted in numerous iterations, i.e., drawings),
Docket Entry No. 208, pp. 128-32, and Docket Entry No. 209, p. 17.
See also David Mccalvin, TT 8-186:17-187:4; Mccalvin Rebuttal
Report, pp. 128-31, DX 71, Exhibit 28 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-31, pp. 16-18
 (describing validation of MSE Reproduction Seals in 2016); DX 42,
MSE Investigation Seal Life Cycle Qualification, ET# 2016004 64,
January 22 to February 16, 2016, p. 15 § 8.1.1 ("The MSE seals have
successfully passed a test replicating API 14A 12th edition Vl
lifecycle test and will be rated to 15ksi at 40-300 ° F."); and DX
44, Engineering Report TRC-II MSE Lifecycle Qualification Prepared
for bp, p. 15 § 8.1.1 ("The MSE seals have successfully passed a
test replicating API 14A 12th edition Vl lifecycle test and will be
rated to 15ksi at 40-300 ° F."); David Hirth, TT 3-21:4-6, Docket
Entry No. 204, p. 21 ("Schlumberger performed an API qualification
test on this reproduction seal and spring.        And according to
Schlumberger, it passed.").
     105
           Agreed Findings of Fact 428-29.
       Valve Databook, DX 46, STC-00255787-00255790, Exhibit 25 to
     106

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
                                                     (continued...)

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       84.      On March 5, 2016, Schlumberger issued and Hess received

a   Certificate         and   Shipping    Form   for    SCSSV   H13S-0025,     which

identifies API 14A, Eleventh Edition, as the reference standard for

retrofit of the SCSSV installed in Well B (2) . 107

       85.      On March 5, 2016, Hess accepted delivery of the retrofit

SCSSV H13S-0025. 108

       86.      Hess's acceptance of the retrofit SCSSV H13S-0025 was

induced        by     Schlumberger's     assurance     that   the   retrofit   SCSSV

complied with API 14A, Eleventh Edition, by passing a Functional

Acceptance Test, and receiving a Certificate and Shipping Form

assuring Compliance with API 14A, Eleventh Edition.

       87.      Hess's acceptance of retrofit SCSSV H13S-0025 was also

induced by the difficulty of discovering the alleged failure of the

MSE Seal Assemblies to conform with API 14A, Eleventh Edition.



                ii.     Hess Established by a Preponderance of the Credible
                        Evidence that It Timely Revoked Acceptance of the
                        SCSSVs

                        a.    SCSSV Hl3S-0010 Installed in Well D
                              (I)      Installation, Production, and Failure

       88.      On April 7, 2014, SCSSV Hl3S-0010 was installed in Well

D at a depth of approximately 8,700 feet below sea level. 109



           continued)
       106 ( •••

No. 223-27, pp. 4-7.
       Agreed Findings of Fact 446-47.
       107
                                                        See also Certificate and
Shipping Form, DX 46, p. STC-00255791.
       108
             Agreed Finding of Fact 448.
       109
             Agreed Findings of Fact 202-203.
                                          -32-
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     89.   Production from Well D began on January 14, 2015. 110

     90.   Production from Well D continued until July 22, 2015,

when SCSSV H13S-0010 experienced a non-command closure that blocked

all production. 111



                        (II)    Investigation of Failure

     91.   In January 2016 Schlumberger initiated an investigation

into the failure of SCSSV H13S-0010 installed in Well 0. 112

     92.   On or around January 27,         2016,   SCSSV Hl3S-0010 was

retrieved from Well D and delivered to Schlumberger's CHPC. 113

     93.   Schlumberger's investigation into the failure of SCSSV

Hl3S-0010 resulted in eight separate drafts (an initial draft and

seven revised drafts) of an investigative report titled Field

Return Analysis ("FRA").

     94.   The FRA only addressed the failure of SCSSV H13S-0010

installed in Well D.




     noAgreed Finding of Fact 204.

     n 1 Field Return Analysis Revision 7 ("FRA Rev. 7") , p. 4 of 55,
PTX 556, Exhibit 49 to Hess's Motion for Judgment, Docket Entry
No. 222-51, p. 5.
     112 Agreed   Finding of Fact 301.
     113 Agreed   Findings of Fact 299-300.

                                   -33-
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     95.      The seventh and final revision of the FRA is dated April

29, 2016 ("FRA Rev. 7).114

     96.      FRA Rev. 7 concluded that "[t]he primary root cause of

the failure is the quality of the MSE Seal."115

     97.      "Root cause" is the cause that initiated the failure. 116

     98.      FRA Rev. 7 explained its conclusion as follows:

     On July 23, 2015, a Valve (not Hl3S-0010) experienced a
     leak coming from the bore into hydraulic port A. Once
     the Valve returned to CHPC the leakage was replicated and
     the Valve was then disassembled. Various MSE Seal Sets,
     specifically, the MSE Seal Sets that seal against bore
     pressure, were found to be extruded and allowed a free
     flow of fluid.

     Extensive testing was performed in search for the root
     cause. The root cause identified was that the quality of
     the seal, specifically the spring within the MSE seal,
     delivered by the supplier has been compromised.

     It was found that the supplier was no longer providing
     the same qualified spring as to the 2004 MSE Seal Set
     qualification. The non-conformance in the spring altered
     the performance of the MSE and compromised the sealing
     capability of the seal stack. Corrective action has been
     implemented to ensure the quality of the product through
     a controlled manufacturing and quality process at the
     supplier, as well as at CHPC. These critical components
     now all require 100% dimensional inspection. The 100%
     critical dimension check of the MSE Assembly is performed
     by both Greene Tweed and [Schlumberger]. The dimensional
     check by [Schlumberger] is documented and recorded in


       FRA Rev. 7, p. 40 of 55, PTX 556, Exhibit 49 to Hess's
     114

Motion for Judgment, Docket Entry No. 222-51, p. 41.
     11FRA Rev. 7, p. 3 of 55, Docket Entry No. 222-51, p. 4. See
       5

also id. at 28 of 55 ("The primary root cause is the MSE Seal
Spring."), and 39-40 of 55 (same), Docket Entry No. 222-51, pp. 29,
40-41.
     11
       6
           Dwayne May, TT 4-14:2-13, Docket Entry No. 205, p. 14.
                                   -34-
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     eQuality ([Schlumberger]'s internal traceability system).
     Greene Tweed provides their inspection documentation to
     us as well. [Schlumberger] previously only performed a
     visual inspection.      Greene Tweed performed sample
     inspections on each production batch. The results were
     not documented for traceability.

     In this particular Valve, H13S-0010, it was determined
     that the seals were using the suspect spring. As seen in
     Figure 20, the Spring was not matching the required
     dimensions. This would decrease the reliability of the
     MSE Seal, allowing for leak into the back pressure zone
     and cause secondary damage through extrusion.       Once
     extruded, the seals are compromised.

     We know that the MSE seals from 2014 and 2015 were not
     per our specifications based on physical analysis of the
     seal. Based on the ongoing MSE Seal investigation, the
     dates for the suspect MSE Seals now includes 2012 and
     2013.   Because this was only discovered during this
     investigation, this has not been shared previously with
     HESS. Continued investigation is in process to identify
     the exact timeline, however as a precautionary measure,
     [Schlumberger] has recalled all non-installed TRCs for
     retrofit of MSE Seals.117

     99.        FRA Rev. 7 was qualified by the statement that "[t]his is

the final report based on all the information [Schlumberger] had

access to.        If any information, or questions, are provided in the

future,       [Schlumberger] will make all efforts to provide proper

analysis and answers." 118

     100. The parties both knew that FRA Rev. 7 was not complete. 119


     11 FRA
       7
                 Rev. 7,   pp. 28-29 of 55,   Docket Entry No. 222-51,
pp. 29-30.
     1 18 F
              RA Rev. 7, p. 40 of 55, Docket Entry No. 222-51, p. 41.
     119
       Andrew Johnston, TT 7-144: 3-8, Docket Entry No. 208, p. 144.
See also May 17, 2016, Well D and B Revocation Letter, pp. 1-2,
PTX 313, Exhibit 38 to Hess's Motion for Judgment, Docket Entry
                                                      (continued ...)

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       101. The FRA was not complete because Schlumberger repeatedly

asked Hess for the complete operational history and environmental

data for Wells D and B for the period from the SCSSVs' installation

through        retrieval,   but    Hess    failed   to     provide   the    complete

operational history or environmental data for either well.120



                            (III) Hess's Revocation of Acceptance

       102. On May 17, 2016, eighteen days after FRA Rev. 7 issued,

Hess sent Schlumberger a notice revoking acceptance of SCSSV H13S-

0010 installed in Well D pursuant to§ 2.608 of the Texas Business

and Commerce Code. 121

       103. Asserting       that    the    SCSSV    "did    not   conform    to   the

requirements of the contract with Schlumberger," Hess's Notice of

Revocation stated "[b]ased on the Schlumberger report, [i.e., FRA

Rev. 7], the Schlumberger safety valves were defective at the time

of delivery. Hess was not aware of the defects at that time. . .122




             continued)
       119( •••

No.   222-38, pp. 2-3 ( "Schlumberger provided Hess with Revision 7 of
its   report on April 29, 2016, which Schlumberger has indicated it
may   still revise further with respect to the closing pressure on
the   defective valve.").
       Andrew Johnston, TT 7-138:2-142:9, Docket Entry No. 208,
       120

pp. 138-42.
       Revocation Letter, PTX 313, Exhibit 38 to Hess Corporation's
       121

Motion for Entry of Judgment, Docket Entry No. 222-38.
       122
             Id. at p. 2, Docket Entry No. 222-38, p. 3.
                                          -36-
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     104. Hess sent the Notice of Revocation because it reasonably

believed that SCSSV Hl3S-0010 was non-conforming when delivered.

     105. By revoking acceptance of SCSSV H13S-0010 less than three

weeks week after Schlumberger issued FRA Rev. 7 concluding that the

root cause of the SCSSV's failure was the non-conforming MSE Seal

Assembly, Hess's revocation occurred within a reasonable time.



                   b.   SCSSV H13S-0011 Installed in Well B

                        (I)     Installation, Production, and Failure

     106. Around May 8, 2014, SCSSV H13S-0011 was installed in Well

B at a depth of approximately 8,400 feet below sea level. 123

     107. Production from Well B began on December 14, 2014. 124

     108. Production from Well B continued until January 30, 2016,

when SCSSV Hl3S-0011 experienced a non-command closure that blocked

all production. 125



                        (II)    Hess's Revocation of Acceptance

     109. On May 17, 2016, Hess sent a Notice of Revocation under

§ 2.608 of the Texas Business and Commerce Code to Schlumberger

revoking acceptance of SCSSV H13S-0011. 126



     123   Agreed Findings of Fact 232-33.
     124   Agreed Finding of Fact 234.
     125   Agreed Finding of Fact 310.
     126   Agreed Finding of Fact 709.

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     110. Asserting        that   the     SCSSVs    "did   not     conform   to   the

requirements of the contract with Schlumberger," Hess's Notice of

Revocation stated "[b]ased on the Schlumberger report, [i.e., FRA

Rev. 7], the Schlumberger safety valves were defective at the time

of delivery. Hess was not aware of the defects at that time. .                    127



     111. Hess sent the Notice of Revocation because it reasonably

believed that SCSSV H13S-0011 was non-conforming when delivered.

     112. By revoking acceptance of SCSSV H13S-0011 less than three

weeks week after Schlumberger issued FRA Rev. 7 concluding that the

root cause of SCSSV H13S-0010's failure was the non-conforming MSE

Seal Assembly, Hess's revocation occurred within a reasonable time.



                    c.     SCSSV H13S-0022 Installed in Well C

                           (I)     Installation, Production, and Failure

     113. On       or    around   April    15,     2015,   SCSSV    H13S-0022     was

installed in Well C at a depth of approximately 8,700 feet below

sea level. 128

     114. Production from Well C began on July 21, 2015. 129




       Revocation Letter, p. 2, PTX 313, Exhibit 38 to Hess
      127

Corporation's Motion for Entry of Judgment, Docket Entry No. 222-
38, p. 3.
      128
            Agreed Findings of Fact 272-73.
      129
            Agreed Finding of Fact 274.

                                        -38-
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     115. Production from Well C continued until July 17, 2016,

when SCSSV H13S-0022 experienced a non-command closure that blocked

all production.130



                            (II)    Hess's Revocation of Acceptance

     116. On July 29, 2016, Hess sent a Notice of Revocation under

§ 2.608 of the Texas Business and Commerce Code to Schlumberger

revoking acceptance of SCSSV H13S-0022.131

     117. Asserting         that   the   SCSSVs   "did   not   conform   to   the

requirements of the contract with Schlumberger," Hess's Notice of

Revocation stated "[b]ased on the Schlumberger report, [i.e., FRA

Rev. 7], the Schlumberger safety valves were defective at the time

of delivery. Hess was not aware of the defects at that time. .                132



     118. Hess sent the Notice of Revocation because it reasonably

believed that SCSSV H13S-0022 was non-conforming when delivered.

     119. By revoking acceptance less than two weeks week after

SCSSV H13S-0022' s failure, Hess's revocation of SCSSV H13S-0022

occurred within a reasonable time.




        13 0
               Agreed Findings of Fact 321-22.
       Agreed Finding of Fact 715. See also Revocation Letter, PTX
     131

329, Exhibit 39 to Hess Corporation's Motion for Entry of Judgment,
Docket Entry No. 222-39.
        132
               Revocation Letter, p. 2, PTX 329, Docket Entry No. 222-39,
p. 3.

                                         -39-
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                   d.   SCSSV H13S-0025 Installed in Well B(2)

                        (I)     Installation, Production, and Failure

     120. On or around May 20, 2016, SCSSV Hl3S-0025 was installed

as a replacement for the failed Well B safety valve at a depth of

approximately 8,680 feet below sea level. 133

     121. Production from Well B resumed on June 14, 2016. 134

     122. Production from Well B continued until March 18, 2018,

when SCSSV Hl3S-0025 experienced a non-command closure and blocked

all production. 135



                        (II)    Hess's Revocation of Acceptance

     123. On March 23, 2018, Hess sent a Notice of Revocation under

§ 2.608 of the Texas Business and Commerce Code to Schlumberger

revoking acceptance of SCSSV H13S-0025. 136

     124. Hess sent the Notice of Revocation because it reasonably

believed that SCSSV H13S-0025 was non-conforming when delivered.

     125. By revoking acceptance less than one week after SCSSV

H13S-0025 failed, Hess's revocation of SCSSV H13S-0025 occurred

within a reasonable time.




     133
           Agreed Findings of Fact 456-45 7.
     134
           Stephen Dunn, TT 2-18:19-24, Docket Entry No. 203, p. 18.
     135
           Agreed Finding of Fact 461.
     136
           Agreed Finding of Fact 721.

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               iii. Hess Failed to Establish by a Preponderance of the
                    Credible Evidence that the SCSSVs Did Not Conform
                    to API 14A, Eleventh Edition

      Hess claims that the SCSSVs did not conform to API 14A,

Eleventh Edition, as required by the parties' agreement, because

the MSE Seal Assemblies in the SCSSVs were not substantially the

same as the MSE Seal Assembly that Passed the API 14A validation

test in 2004. 137 Alternatively, Hess claims that the SCSSVs did not

conform to API 14A, Eleventh Edition, because neither Schlumberger

nor Greene Tweed had dimensional drawings of the MSE seal assembly

that passed the API 14A validation test in 2004. 138



                    a.   Hess's Claims that the SCSSVs Were Not
                         Manufactured in Conformity with API 14A,
                         Eleventh Edition, Are Based on Schlumberger's
                         Investigations of the Failure of SCSSV H13S-
                         0010 Installed in Well D, and of the Failure
                         of a Valve Owned by British Petroleum to Pass
                         a Pre-Installation Make-Up Test

                          (I)    Investigation of H13S-0010 Failure

      126. Hess's claim that the MSE Seal Assemblies were not API

qualified is based on the conclusion reached in FRA Rev. 7 that

"[t]he primary root cause of the failure is the quality of the MSE

Seal. nl39


      137
            Hess's Motion for Judgment, Docket Entry No. 222, p. 16.
       38
      1     Id. at 18-21 (Wells D, B, and C), and pp. 25-26 (Well B (2)).
      139
       FRA Rev. 7, p. 28 of 55, Docket Entry No. 222-51, p. 29
("The primary root cause is the MSE Seal Spring.").    See also
                                                 (continued...)

                                    -41-
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      127. FRA Rev. 7 neither addressed API 14A, nor concluded that

the SCSSV Hl3S-0010 installed in Well D or any its components were

not API 14A qualified.

      128. FRA Rev. 7's conclusion that the MSE Seal was the primary

root cause for the failure of SCSSV Hl3S-0010 installed in Well D

was nearly identical to the conclusion reached in Schlumberger's

investigation of a TRC-II valve manufactured in 2015 for British

Petroleum ("BP") that leaked during a pre-installation make-up test
in July of 2015.140



                         (II)    Investigation of BP Valve Failure

      129. Schlumberger's investigation of the BP valve leak lasted

more than five months and is documented by the January 15, 2016,
TRC   MSE      Investigation    Presentation   prepared     for   BP    ("BP

Presentation"), 141 and by the February 13, 2016, engineering report

prepared for BP titled, "TRC-II MSE Seal Qualified and Reproduction

Bridging Document" ("BP Bridging Document").142


        ( ••• continued)
      139

("The primary root cause is the MSE Seal Spring.").       See also
Revocation Letters, PTX 313 (for SCSSVs installed in Wells D and B,
Hl3S-0010 and Hl3S-0011), PTX 329 (for SCSSV Hl3S-0022 installed in
Well C), and PTX 358 (for SCSSV Hl3S-0025 installed in Well B(2)).
      140
            Dwayne May, TT 4-10:13-22, Docket Entry No. 205, p. 10.
       PTX 156, Exhibit 24 to Hess's Motion for Judgment, Docket
      141

Entry No. 223-24.
      142
            PTX 58, Exhibit 5 to Hess's Motion for Judgment, Docket
                                                     (continued...)
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     130. Schlumberger's      investigation     of   the   BP   valve   leak

concluded that:

     The root cause identified was that the quality of seal,
     specifically the spring within the MSE seal, delivered by
     Greene Tweed has been compromised.

     It was found that the supplier was no longer providing
     the same qualified spring as to the 2004 MSE seal set
     qualification. The non-conformance in the spring altered
     the performance of the MSE and compromised the sealing
     capability of the seal stack. 143

     131. The term "qualified" as used in the BP Presentation and

Bridging Document means the 2004 "Original MSE seal set design." 144

     132. The term "non-conformance" as used in the BP Presentation

and Bridging Document means non-conformance with drawings provided

by Greene Tweed; not non-conformance with API 14A. 145




     142 ( •••
              continued)
Entry No.   222-5, p. 4. The BP Bridging Document is dated February
13, 2015,    but that is a typographical error as its actual date is
February    13, 2016.    Alexander LaDouceur, TT 5-13:15-23, Docket
Entry No.    206, p. 13.

       BP Bridging Document, pp. 3 and 16, PTX 58, Exhibit 5 to
     143

Hess's Motion for Judgment, Docket Entry No. 222-5, pp. 4 and 17.

       BP Presentation, PTX 156, Exhibit 24 to Hess's Motion for
     144

Judgment, Docket Entry No. 223-24, p. 5; BP Bridging Document,
p. 4, PTX 58, Exhibit 5 to Hess's Motion for Judgment, Docket Entry
No. 222-5, p. 5. See also Dwayne May, TT 4-59:16-21, Docket Entry
No. 205, p. 59.
       Alexander LaDouceur, TT 5-15:2-20, Docket Entry No. 206,
     145

p. 15; Andrew Johnston, TT 7-212:5-8, Docket Entry No. 208, p. 212.
                                   -43-
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     133. The term "Recent" as used in the BP Presentation and

Bridging Document means "[s]eals delivered by Greene Tweed between

2014 and 2015." 146

     134. The term "seals" means MSE Seal Assemblies.

     135. The term "Reproduction" used in the BP Presentation and

Bridging Document means "seals delivered by Greene Tweed in 2016

[ intended to] replicate the QUALIFIED seals." 147

     136. The purpose of the BP Bridging Document was to evaluate

whether the Reproduction MSE Seal Assemblies produced in 2016 could

be used without being independently qualified to API 14A. 148

     137. Ultimately,        Schlumberger    decided    to      qualify      the

Reproduction MSE Seal Assemblies to API 14A independently, negating

the need for the BP Bridging Document.149

     138. Schlumberger       successfully   completed     API   14A    dynamic

qualification testing of the 2016 Reproduction MSE Seal Assemblies,


       BP Presentation, PTX 156, Exhibit 24 to Hess's Motion for
     146

Judgment, Docket Entry No. 223-24, p. 5; BP Bridging Document,
p. 4, PTX 58, Exhibit 5 to Hess's Motion for Judgment, Docket Entry
No. 222-5, p. 5. See also Dwayne May, TT 4-59:22-23, 4-61:11-
13Docket Entry No. 205, pp. 59 and 61.

       BP Presentation, PTX 156, Exhibit 24 to Hess's Motion for
     147

Judgment, Docket Entry No. 223-24, p. 5; BP Bridging Document,
p. 4, PTX 58, Exhibit 5 to Hess's Motion for Judgment, Docket Entry
No. 222-5, p. 5. See also Dwayne May, TT 4-59:24-4-60:3, Docket
Entry No. 205, pp. 59-60.
       Andrew
     148
                 Johnston,    TT   7-212:9-12,   Docket    Entry      No.   208,
p. 212.

       Andrew Johnston,
     149
                              TT 7-212:13-15,    Docket Entry No. 208,
p. 212.

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PN 23550-028-00001 and PN 100066417, in January and February of

2016, as documented in report numbered ET 201600464. 150

       139. Schlumberger's     investigation         of   the   BP    valve      leak

involved comparing information contained in the validation package

for the original MSE Seal Assembly qualification test performed in

2004 with inspection drawings provided by Greene Tweed, and various

tests performed on MSE Seal Assemblies delivered by Greene Tweed in

2008 and 2015.151

       140. Schlumberger     determined       that    "[t]he     Recent       design

features the dimensions that were part of the original design

package from Greene Tweed.152

       141. But   comparison     of   dimensions      recorded       in    the   2004

validation package to inspection drawings provided Greene Tweed

lead Schlumberger to conclude that "the [MSE Seal Assemblies] that

were    originally   qualified    did   not    conform     to   the       inspection

drawings provided by Greene Tweed."153


       Andrew Johnston, TT 7-128:1-132:16, 7-212:9-15, 8-16:23-
       150

17:8, Docket Entry No. 208, p. 128-32, and 212, and Docket Entry
No. 209, pp. 16-17. See also David Hirth, TT 3-21:4-6, Docket
Entry No. 204, p. 21 ("Schlumberger performed an API qualification
test on this reproduction seal and spring. And accordingly to
Schlumberger, it passed."); Mccalvin Rebuttal Report, pp. 128-31,
Exhibit 28 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-31, pp. 16-18.

       BP Bridging Document, p. 6, PTX 58, Exhibit 5 to Hess's
       151

Motion for Judgment, Docket Entry No. 222-5, p. 7.
       BP Bridging Document, p. 9, PTX 58, Exhibit 5 to Hess's
       152

Motion for Judgment, Docket Entry No. 222-5, p. 10.
       BP Bridging Document, p. 6, PTX 58, Exhibit 5 to Hess's
       153

Motion for Judgment, Docket Entry No. 222-5, p. 7. See also Dwayne
                                                    (continued... )

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     142. The validation package from the original qualification

test performed in 2004 contained both the MSE Seal Assemblies

tested and hand written records of their outer and inner dimensions

before and after testing. 154

     143. MSE Seal Assemblies that are tested are "spent" and no

longer dimensionally comparable to untested MSE Seal Assemblies

because the test changes the geometry of the MSE Seal Assembly. 155

     144. The 2004 validation package did not contain any untested,

i.e., unused, MSE Seal Assemblies delivered in 2004. 156

     145. Comparison of dimensions of Recent, i.e., 2015, MSE Seal

Assemblies to dimensions recorded in the 2004 validation package

caused Schlumberger to conclude that "[t]he outer dimension of the




       ( ••• continued)
     153

May, TT 4-41:10-11, Docket Entry No. 205, p. 41 ("The dimensions
were deviant from the drawings that were available.").

       BP Bridging Document, p. 6, PTX 58, Exhibit 5 to Hess's
     154

Motion for Judgment, Docket Entry No. 222-5, p. 7. See also PTX
126, Email from A. Johnston to H. Kohli re Critical     Topics -
November 20th Update, Exhibit 15 to Hess's Motion for Judgment,
Docket Entry No. 222-15, p. 12 (STC_00126234_0005, slide showing
"Inspection Record for 2004 Certification MSE Seals").

       Dwayne May, TT 4-46:17-20, Docket Entry No. 205, p. 46
     155

("Once a seal goes through a qualification test, its considered
spent or used.    At that point, there's no comparison to the
original document -- or the original seal itself. There is no way
to compare it because it changes geometry.").
       Andrew Johnston, TT 7-105:15-17, Docket Entry No. 208,
     156

p. 105 ("We did not have a 2004 seal.     So, we were physically
comparing a 2008 seal that was unused to a 2015 seal that was
unused. So, that was the comparison that we used at the time.").

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Recent[,     i.e.,   2015] MSE seals were .          approximately .033"

smaller than the Qualified[, i.e., 2004]             . seals. n1s7

     146. Schlumberger      reasoned    that   "[t]he    smaller     O[uter]

D[imension] of the Recent[, i.e.,         2015] seals results in lower

squeeze of the seal in the piston bore."158

     147. The outer dimension of the MSE Seal Assembly is driven by

two sub-components: the MSE jacket and the rosette springs enclosed

in the jacket.159

     148. Finding that "[t]he MSE jacket conforms to the qualified

standard, "160 Schlumberger "narrowed the [cause of the] resulting

difference in O[uter] D[imension] to the MSE jacket spring."161


       BP Bridging Document, p. 6, PTX 58, Exhibit 5 to Hess's
     157

Motion for Judgment, Docket Entry No. 222-5, p. 7. See also Dwayne
May,   TT    4-61:9-16,    Docket   Entry    No.   205,    p.   61;
Alexander LaDouceur, TT 5-17:14-18:9, Docket Entry No. 206, pp. 17-
18 (when used in the BP Bridging Document, the term "recent seals"
meant seals made in 2014 and 2015); Andrew Johnson, TT 7-105:4-6,
Docket Entry No. 208, p. 105 ("The outer dimension of the seal that
we had in 2015 was different from the outer dimension of the seal
from 2004.").

       BP Bridging Document, p. 6, PTX 58, Exhibit 5 to Hess's
     158

Motion for Judgment, Docket Entry No. 222-5, p. 7. See also BP
Presentation, PTX 156, Exhibit 24 to Hess's Motion for Judgment,
Docket Entry No. 223-24, p. 13.

       BP Presentation, PTX 156, Exhibit 24 to Hess's Motion for
     159

Judgment, Docket Entry No. 222-24, p. 13. See also Dwayne May,
TT 4-61:17-4-62:3, Docket Entry No. 205, pp. 61-62 (stating the
same).
       BP Bridging Document, p. 8, PTX 58, Exhibit 5 to Hess's
     160

Motion for Judgment, Docket Entry No. 222-5, p. 9. See also BP
Presentation, PTX 156, Exhibit 24 to Hess's Motion for Judgment,
Docket Entry No. 222-24, p. 13 ("MSE jacket are the same between
Recent and Qualified").
     161
           BP Bridging Document, p. 9, PTX 58, Exhibit 5 to Hess's
                                                     (continued... )

                                   -47-
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     149. "Through a process audit at Greene Tweed," Schlumberger

determined that "the base rosette used to form the spring was of

the correct material and dimensions[, but that g]aps were found in

the forming and inspection process at the Greene Tweed Houston

facility that allowed the spring radius, and subsequent dimensions

to deviate from nominal."162

     150. "Base rosette" is the flat rosette that is pressed to

form a spring.163

     151. "Spring radius" is the bend made when the base rosette is
pressed to form a spring.164

     152. Once a rosette spring is pressed into an MSE jacket, the

only way to determine the spring radius and other spring dimensions

is to preserve the MSE Assembly in acrylic, cross section it, i.e.,

cut it in half, use an optical comparator to project an image of

the cross section, and measure the image.165



     161 (
           continued)
           •••
Motion for Judgment, Docket Entry No. 222-5, p. 10. See also id.
at 7, Docket Entry No. 222-5, p. 8 (recognizing that "the main
component in the MSE stack driving the outer dimension of the MSE
jacket is the MSE spring"); Dwayne May, TT 4-62:8, Docket Entry
No. 205, p. 62 ("The jacket did not change.").
       BP Bridging Document, p. 8, PTX 58, Exhibit 5 to Hess's
     162

Motion for Judgment, Docket Entry No. 222-5, p. 9.
     163
           Alexander LaDouceur, TT 5-24:17-20, Docket Entry No. 206,
p. 24.
       See BP Presentation, PTX 156, Exhibit 24 to Hess's Motion
     164

for Judgment, Docket Entry No. 222-24, p. 14.
       See Colloquy between the Court and Schlumberger's Counsel,
     165

TT 4-185:11-14, Docket Entry No. 205, p. 185.
                                   -48-
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     153. Before the process audit Schlumberger only required - and

Greene Tweed only performed - Acceptable Quality Limit               ("AQL")

inspections of a predefined number of springs from each batch. 166

     154. Following the process audit Schlumberger implemented

"[c]orrective action         . to ensure the quality of the product

    [by] requir[ing] 100% documented dimensional inspection." 167

     155. Schlumberger decided to address the difference found

between the dimensions recorded in the 2004 validation package and

Greene     Tweed's   inspection   drawings   by   creating   new   MSE   Seal

Assembly drawings.

     156. Because the 2004 validation package did not contain any

new, i.e., untested, MSE Seal Assemblies delivered in 2004, and

because the earliest MSE Seal Assemblies Schlumberger had were

delivered in 2008,      Schlumberger cross sectioned 2008 MSE Seal

Assemblies as proxies for 2004 Qualified MSE Seal Assemblies. 168


       Defense Counsel's Colloquy with the Court confirmed by
     166

witness, TT 7-22:15-27:8, Docket Entry No. 208, pp. 22-27.

       BP Bridging Document, p. 3, PTX 58, Exhibit 5 to Hess's
     167

Motion for Judgment, Docket Entry No. 222-5, p. 4. See also id. at
8, Docket Entry No. 222-5, p. 9 (" [All springs at the G[reene]
T[weed] facility are 100% inspected."), and id. at 15, Docket Entry
No. 222-5, p. 16 ("• All seal components are 100% inspected; • MSE
jacket spring is 100% inspected at the time of manufacture at
Greene Tweed.").

       David Hirth, TT 2-180:8-10 (acknowledging "they didn't have
     168

any new 2004 seals with springs in them"); Dwayne May, TT 4-182:4-
16, 4-189:24-4-191:1, Docket Entry No. 205, pp. 182 and 189-91;
Alexander LaDouceur, TT 5-56:16-57:22, Docket Entry No. 206,
pp. 56-57; Andrew Johnston, TT 7-105:15-17, Docket Entry No. 208,
                                                    (continued...)

                                    -49-
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     157. Comparison        of cross sections performed on MSE Seal

Assemblies delivered in 2008 and 2015 indicated that the spring

radius had increased over time from a V- to a CT-shape, and that the

increase in radius caused differences in height and leg spacing. 169

     158. "Analysis of the cross sections show[ed] a reduction in

leg spacing of the Recent[, i.e., 2015] seals by about .013". 170

     159. In 2015 Schlumberger used recorded MSE Seal Assembly

dimensions from the 2004 validation package, and rosette spring

dimensions    obtained      from   cross    sections   performed   on   seals

delivered in 2008, to reverse engineer a Reproduction design, i.e.,

to create new MSE Seal Assembly drawings intended to replicated the

Qualified MSE Seal Assembly.171

     168 ( •••
               continued)
p. 105 ("We did not have a 2004 seal.      So, we were physically
comparing a 2008 seal that was unused to a 2015 seal that was
unused. So, that was the comparison that we used at the time.").
See also Colloquy with Court during Fourth Day of Trial, TT 4-75:6
(Counsel for Hess acknowledges that "2008 was the first new spring
they actually had"); PTX 126, Email from A. Johnston to H. Kohli re
Critical   Topics - November 20th Update, Exhibit 15 to Hess's
Motion for Judgment, Docket Entry No. 222-15, p. 11 (slide of MSE
Seal Cross-Sections Showing Springs: 2005 vs. 2008 contains the
same photographs as seen in BP Presentation, PTX 156, Exhibit 24 to
Hess's Motion for Judgment, Docket Entry No. 222-24, p. 14).
     169
       BP Presentation, PTX 156, Exhibit 24 to Hess's Motion for
Judgment, Docket Entry No. 222-24, p. 14; BP Bridging Document,
p. 9, PTX 58, Exhibit 5 to Hess's Motion for Judgment, Docket Entry
No. 222-5, p. 10. See also Alexander LaDouceur, TT 5-42:6-43:20,
Docket Entry No. 206, pp. 42-43.
     170 BP
          Bridging Document, p. 11, PTX 58, Exhibit 5 to Hess's
Motion for Judgment, Docket Entry No. 222-5, p. 12.
     1
      71 Alexander LaDouceur, TT 5-57:14-22, Docket Entry No. 206,
p. 57 ("Q And so, you had to use the -- you had -- you did have
some new '08 seals, and you had to use that as a proxy to try to
                                                     (continued...)
                                     -50-
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        160. Schlumberger's reverse engineering yielded an asymmetric

rosette spring design with a smaller radius and wider leg spacing

than found in either the 2008 or the 2015 rosette springs.

        161. "[T]he Reproduction seal has a formed [spring] radius of

0.12"            whereas     the   original    Recent   design    featured   a   0.14"

radius." 172

        162. In 2016 the Reproduction design, i.e., the new drawing,

was used to manufacture Reproduction MSE Seal Assemblies. 173

        163. Reproduction MSE Seal Assemblies were used to retrofit

the TRC-II l0K and 15K SSVs that were recalled in January of 2016.

        164. Failure of SCSSV H13S-0010 installed in Well D in August

2015, which contained MSE Seal Assemblies delivered in 2013 caused

Schlumberger            to    suspect   that    changes   in     the   rosette   spring

identified during the BP valve investigation may have occurred in

rosette springs that were made before 2015.174

        171 ( •••
                 continued)
figure out what the spring design was originally in '04, correct,
sir? A Well, we would have used both because, as we discussed
earlier, you can't use a used seal; and so, we would have used the
information being the dimensions from the pre- and post-testing
that was done on those seals from 2004 as well as the unused
seal."). See also PTX 200, February 16, 2016, Email from Alexander
LaDouceur to Karl Wong with BP Bridging Document attached; BP
Presentation, Exhibit 15 to Hess's Motion for Judgment, Docket
Entry No. 222-15, p. 13 (slide showing drawing titled "Reverse­
engineered 2004 Spring"); BP Bridging Document, p. 10, Exhibit 5 to
Hess's Motion for Judgment, Docket Entry No. 222-5, p. 11 Fig. 7:
Reproduction MSE spring design.
        17
       BP Bridging Document, p. 10, PTX 58, Exhibit 5 to Hess's
          2

Motion for Judgment, Docket Entry No. 222-5, p. 11.
             3
        17       Id. at 9, Docket Entry No. 222-5, p. 10.
        174
                 Andrew Johnston, TT 7-210:24-211:20, Docket Entry No. 208,
                                                             (continued...)
                                              -51-
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                       b.   Schlumberger's Expert Witnesses Were       More
                            Qualified than Hess's Expert Witness

      165. Schlumberger's experts regarding API 14A and industry

standards, David Mccalvin and Patrick Hyde, were more qualified to

render their opinions than Hess's expert, David Hirth.

      166. David Mccalvin is an active member of the API 14A task

group and has been since the early 1980s. 175

      167. David Mccalvin served as Chairman of the API 14A task

group for 9 years. 176

      168. Patrick Hyde is an active member of the API 14A task

group. 111

      169. David Hirth has never been a member of the API 14A task

group, and has minimal experience with API 14A compared to David

McCalvin and Patrick Hyde. 178




      174 (
            •••    continued)
pp. 210-11.
           5
       David Mccalvin, TT 8-172:7-173:18,
      17                                            Docket Entry No. 209,
pp. 172-73.
           6
      17       David Mccalvin, TT 8-174:3-5, Docket Entry No. 209, p. 174.
      1
       77      Patrick Hyde, TT 8-75:19-76:7, Docket Entry No. 209, pp. 75-
76.
        8
       David Hirth, TT 3-73:25-74:20, Docket Entry No. 204, pp. 73-
      17
74 (admitting no experience drafting API 14A or applying API 14A to
the manufacture of safety valves).

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                     c.     Application of API 14A, Eleventh Edition

     170. API 14A, Eleventh Edition, was issued on October 1, 2005,

with an effective date of May 1, 2006. 179

     171. API 14A, Eleventh Edition, was reaffirmed in June 2012. 180

     172. API 14A, Eleventh Edition, was the latest edition of API

14A in effect in 2013 when Schlumberger manufactured the SCSSVs

sold to Hess at issue in this case. 181

     173. API        14A     governs   the      processes    for      designing,

manufacturing,        and    testing   SCSSVs     by    establishing     minimum

requirements that must be met to apply the API 14A monogram. 182

     174. API 14A is "intended to give requirements and information

to both parties in the selection, manufacture, testing and use of

subsurface safety valves. " 183

     175. API 14A cautions users that "this International Standard

addresses      the   minimum    requirements     with   which   the    supplier/


     179
           Agreed Finding of Fact 92.
     180
           Agreed Finding of Fact 93.
     181
        See Memorandum Opinion and Order, Docket Entry No. 158,
pp. 56-58. See also Hess's Contentions, Exhibit A to Amended Joint
Pretrial Agreement,    Docket Entry No. 163-1,       p. 3 � 12
(Acknowledging that "[t]he 'latest edition' of API 14A when the
Well B2 safety valve was retrofitted was the Twelfth Edition. At
the time the Commercial Agreement was entered, however, the
 'latest' edition of API 14A was the Eleventh Edition and it
governed the retrofit and delivery of the Well B2 safety valve.").
     182
           Patrick Hyde, TT 8-98: 9-16, Docket Entry No. 209, p. 98.
       API 14A, Eleventh Edition, Introduction, PTX 3, Exhibit 3 to
     183

Hess's Motion for Judgment, Docket Entry No. 222-3, p. 8.

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manufacturer is to comply so as to claim conformity," and that

"requirements above those outlined in this International Standard

may be needed for indivictual applications."184

     176. Terms that are not defined in API 14A, Eleventh Edition,

have their plain, ordinary meaning. 185

     177. Common terms are defined in API 14A "only if they are

used with a specific meaning in the relevant context." 186



                       (I)      Section 6.3.2.2 of API 14A

     178. Section 6.3.2.2 of API 14A, Eleventh Edition, states:

     "SSSV equipment conforming to this International Standard
     shall be manufactured to drawings and specifications that
     are substantially the same as those of the size, type,
     and model SSSV equipment that has passed the validation
     test. ,,1s7

     179. "Substantially the same" is not a defined term in API

14A, Eleventh Edition.

     180. "Substantially the same" used in § 6.3.2.2 of API 14A,

Eleventh Edition, means "for the most part," or "to a large




     1s4Id.

       David Mccalvin, TT 8-179:9-13, 8-212: 8-11. Docket Entry
     185

No. 209, p. 179 (referring to "dictionary meaning") and p. 212
(referring to "common meaning").
       David Mccalvin, TT 8-204:18-8-206:1, Docket Entry No. 209,
     186

pp. 204-06.
       API 14A, Eleventh Edition, § 6.3.2.2, PTX 3, Exhibit 3 to
     187

Hess's Motion for Judgment, Docket Entry No. 222-3, p. 20.
                                   -54-
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degree,"    not     "the    same"   or    "nearly     exactly   the   same,"    or

"equivalent." 188

     181. The word "those" used in§ 6.3.2.2 of API 14A, Eleventh

Edition,     refers        to   "drawings       and    specifications,"        not

"equipment." 189

     182. Hess's contention that the word "those" used in§ 6.3.2.2

refers to equipment is not supported by the evidence that§ 6.3.2.2



       David Mccalvin, TT 8-179:9-182:1, Docket Entry No. 209,
      188

pp. 179-82; Mccalvin Rebuttal Report, p. 13, Exhibit 28 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-30, p. 20 ("'Substantially the same" is not a defined term
in API 14A, Eleventh Edition, and applying the common meaning of
the word 'substantially,' the term means 'for the most part,' or
'to a large degree,' not 'the same' or 'nearly exactly the same,'
or 'equivalent in its capacity to meet design and performance
requirements under the jurisdiction of 14A.'"). See also Patrick
Hyde, TT 8-79:15-20, Docket Entry No. 209, p. 79; Expert Report of
Patrick C. Hyde ("Hyde Report"), p. 7, DX 246, Docket Entry
No. 223-63, p. 10 ("The term 'substantially the same' was never
intended to mean identical.         When interpreting the term
'substantially the same' the task group hopes sound engineering
judgment will be applied, and relies on the commonly understood
definition of the term.").
       Patrick Hyde, TT 8-81:14-82:22, Docket Entry No. 209,
      189

pp. 81-82; Hyde Report, p. 8, DX 246, Exhibit 59 to Schlumberger's
Response to Motion for Judgment, Docket Entry No. 223-63, p. 11
 ("[The§ 6.2.3.3] requirement is not for the component parts to be
substantially the same, but for the manufacturing drawings and
specifications to be substantially the same as for the valve
passing validation test.    While we may not be comfortable with
[§] 6.3.2.2, it is the statement in the specification that governs
compliance. The other concept that often comes into consideration
is the definition of what constitutes 'substantially the same.'
When we evaluate furnished goods against qualified goods, there is
often the question of substantially the same. We could look at the
two MSE seals and ask if one was substantially different from the
other, which is the purpose of the visual quality control
inspection.").
                                         -55-
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of API 14A, Eleventh Edition is a design requirement, not a quality

control provision.190

      183. Inspection     for compliance      with   design   criteria    and

specifications is found in§ 7.6.2 of API 14A, Eleventh Edition. 191

      184. The phrase "substantially the same as those" used in

§ 6.3.2.2 of API 14, Eleventh Edition, means that the drawings and

 specifications used to manufacture new valves are "for the most

part" or "to a large degree" the same as the drawings and

specifications used to manufacture the validated valve. 192
      185. Compliance with§ 6.3.2.2 of API 14A, Eleventh Edition,

requires controlling changes to drawings and specifications to

ensure that the drawings and specifications remain substantially

 the same as the drawings and specifications to which the validated

 valve and its components were manufactured. 193

        David Mccalvin, TT 8-184:19-185:8, Docket Entry No. 209,
      190

 pp. 184-85; Mccalvin Rebuttal Report, p. 30, Exhibit 28 to
 Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
 No. 223-30, p. 37 ("API 14A governs the design of a compliant SCSSV
 by identifying design concerns that are typically shared by both
 the user and the manufacturer (see, for example, API 14A, Eleventh
 Edition, Section 6.3.2).").
        David Hirth, TT 2-202:22-203:4, Docket Entry No. 203,
      191

 pp. 202-03 (" [Section] 7.6.2 deals with component dimensional
 inspection.").
        David Mccalvin, TT 8-179:9-182:1, Docket Entry No. 209,
      192

 pp. 179-82; Mccalvin Rebuttal Report, p. 13, Exhibit 28 to
 Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
 No. 223-30, p. 20. See also Patrick Hyde, TT 8-82:15-22, Docket
 Entry No. 209, p. 82; Hyde Report, p. 8, DX 246, Exhibit 59 to
 Schlumberger's Response to Motion for Judgment, Docket Entry
 No. 223-63, p. 11.
      193
            Patrick Hyde, TT 8-82:8-14, Docket Entry No. 209, p. 82,
                                                       (continued...)
                                    -56-
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                             (A)   Hess Failed to Establish by a
                                   Preponderance    of   the   Credible
                                   Evidence that Schlumberger Failed to
                                   Manufacture SCSSVs Hl3S-0010 (Well
                                   D), H13S-0011 (Well B), and H13S-
                                   0022 (Well C) in Conformity with API
                                   14A § 6.3.2.2

     186. The Bill of Materials and Inspection Matrix listing all

of the components in each SCSSV, PN 101091732, at issue in this

case include two types of MSE Seal Assembly, Chemraz, PN 100066417,

and Teflon, PN 23550-028-00001. 194

     187. Schlumberger successfully completed           API   14A   dynamic

qualification testing of MSE Seal Assemblies, PN 100066417 and

PN 23550-028-00001,    in February of 2004,       as documented in the

report numbered ET20049950. 195


     193
           continued)
           ( •••
Hyde Report, p. 8, DX 246, Exhibit 59 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-63, p. 11. See
also David Mccalvin, TT 8-185:9-186:6, 8-226:12-20, Docket Entry
No. 209, pp. 185-86 and 226; Mccalvin Rebuttal Report, pp. 12-13,
DX 71, Exhibit 28 to Schlumberger's Motion for Judgment, Docket
Entry No. 223-30, pp. 19-20.
       Inspection Matrix for Hess,
     194
                                          DX 17, Exhibit 16 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-17, pp. 2-3; Bill of Materials for PN 101091732, DX 33,
pp. STC_00130203,    STC 00130215,    STC 00130220,   STC_00130224,
STC 00130226.
       Andrew Johnston, TT 6-213:12-214:10, Docket Entry No. 207,
     195

pp. 213-14. See also David Mccalvin, TT 8-186:17-187:4, Docket
Entry No. 209, pp. 186-87; Mccalvin Rebuttal Report, pp. 65-71, DX
71, Exhibit 28 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-20, pp. 73-78 (describing validation
of MSE Seals used in Schlumberger TRC-II-15K SCSSV); DX 29, Test
Plan/Report      TRC SCSSV Hydraulic Seal Dynamic Test, ET
# ET20049950, February 6, 2004, Exhibit 21 to Schlumberger's
                                                     (continued...)
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     188. The specifications for MSE Seal Assemblies, PN 100066417

and PN 23550-028-00001, were developed jointly by Schlumberger,

which provided parameters such as the environmental conditions and

dimensions of the space to be sealed, and by Greene Tweed, who

determined the seal dimensions. 196

     189. The MSE Seal Assemblies, PN 100066417 and PN 23550-028-

00001, are proprietary parts supplied by Greene Tweed.

     190. A proprietary part is a part the supplier sells by part

number and maintains the design in its own organization. 197

     191. Section 6.3.2.2 of API 14A, Eleventh Edition, does not

require purchasers to possess dimensional drawings of proprietary

parts such as the MSE Seal Assemblies that Greene Tweed supplied to


     195
           continued)
           ( •••
Response to Hess's Motion for Judgment, Docket Entry No. 223-23;
and David Hirth, TT 2-180:11-13, Docket Entry No. 203, p. 180
(acknowledging that the MSE Seal Assemblies were API qualified in
2004).
     19
       Andrew Johnston, TT 7-17:3-20:10, Docket Entry No. 208,
       6
pp. 17-20. See also McCalvin Rebuttal Report, pp. 56-62 (PN 23550-
028-0001), 63-64 (PN 100066417), Exhibit 28 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-30,
pp. 63-71.
       McCalvin Rebuttal
     197
                             Report,   p.  194,   Exhibit 28 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-31, p. 81.   See also David Mccalvin, TT 8-207:24-209:10
(drafters of API 14A recognize and allow for the use proprietary
parts and the practice of letting suppliers hold back some
information); Dwayne May, TT 4-36:21-37:1, Docket Entry No. 205,
pp. 36-37 ("[E]ven though this is a proprietary seal design where
Greene Tweed owns the seal design itself, Schlumberger qualifies
and develops this seal for a specific application. So, it's what
I would call a joint design in itself even though Greene Tweed
specifically owns the design rights.").
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Schlumberger,    as   long   as   the     supplier    maintains   dimensional

drawings of the proprietary part used in the validation test, and

supplies the purchaser with a certificate of conformance certifying

that the part numbers ordered and supplied were manufactured to

drawings and specifications that are substantially the same as the

drawings and specifications used to manufacture the SSSV equipment

that passed the validation test. 198

     192. A Certificate of Conformity certifies that the part

supplied has been manufactured, inspected, and produced to meet the

drawings and specifications that supplier has for that product. 199



                                    (1)    MSE Seal Assembly Drawings

     193. Greene Tweed provided Schlumberger "high level" drawings

of MSE Seal Assemblies, PN 100066417 and PN 23550-028-00001, that

contained some but not all dimensions of the MSE Seal Assembly

because the MSE Seal Assembly is a proprietary part. 200


       David Mccalvin,
     198
                             TT 8-226:12-25,         Docket Entry No. 209,
p. 226.
       Andrew Johnston,
     199
                             TT 7-54:2-55:3,         Docket Entry No. 208,
pp. 54-55.
       DX 27 (Greene Tweed Drawing No. MSE70-100535-004 depicting
     200

PN 23550-028-0001); DX 28 (Greene Tweed Drawing No. Drawing of
PN 100066417). See also Andrew Johnston, TT 7-14:19-16:12, Docket
Entry No. 208, pp. 14-16.    See also id. at TT 7-15:1-4, Docket
Entry No. 208, pp. 14-15 (explaining that a high level drawing
"doesn't include all the critical dimensions. They consider that
proprietary. So, they provide us with a document that we use to
verify that we receive the part number that we ordered from
                                                   (continued...)
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        194. Greene Tweed maintains dimensional drawings of MSE Seal

Assemblies, PN 100066417 and PN 23550-028-00001. 201

        195. Greene Tweed's dimensional drawings show that MSE Seal

Assemblies, PN 23550-028-00001 and PN 100066417, were manufactured

to drawings and specifications that were substantially the same

from December 3, 2003, until at least March 3, 2016. 202

        196. Because drawings of MSE Seal Assemblies, PN 23550-028-

0001 and PN 100066417,           remained substantially the same from

December of 2003 until March of 2016, the MSE Seal Assemblies,

PN 23550-028-0001 and PN 100066417, supplied by Greene Tweed to

Schlumberger for the SCSSVs that Schlumberger manufactured for Hess

in 2013 (H13S-0010 installed in Well D, H13S-0011 installed in Well

B,     and Hl3S-0022 installed in Well C),            were manufactured to

drawings and specifications that are substantially the same as the

drawings and specifications of the MSE Seal Assemblies that passed

the validation test in 2004.




        200 ( •••
                    continued)
them.").
       Greene Tweed Drawings, DX 55-A, GTC-00064-082, 0514-0545.
        201

See also Mccalvin Rebuttal Report, pp. 56-62 (PN 23550-028-0001),
63-64 (PN 100066417), Exhibit 28 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-30, pp. 63-71.
       McCalvin Rebuttal Report, pp. 56-64, Exhibit 28 to
        202

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-30, pp. 63-71 (describing development of MSE Seal
Assemblies, PN 23550-028-0001 and PN 100066417).
                                      -60-
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                                   (2)    MSE Assembly Drawings

     197. The Bill of Materials on the drawings of MSE Seal

Assemblies, PN 23550-028-00001 and PN 100066417, maintained by both

Schlumberger and Greene Tweed, specify MSE Assembly, Greene Tweed

PN MSE70-100372-A. 203

     198.   Greene Tweed maintains dimensional drawings              of MSE

Assembly, Greene Tweed PN MSE70-100372-A. 204

     199. Greene Tweed's drawings show that MSE Assembly, Greene

Tweed PN MSE70-100372-A, was manufactured to the same drawings and

specifications from April of 1998 to September of 2015. 205

     200. Because drawings of MSE Assembly, Greene Tweed PN MSE70-

100372-A, remained the same from April of 1998 until September of

2015, the MSE Assemblies, Greene Tweed PN MSE70-100372-A, in the

SCSSVs that Schlumberger manufactured for Hess in 2013 (Hl3S-0010

installed in Well D, H13S-0011 installed in Well B, and Hl3S-0022

installed    in   Well   C),   were      manufactured   to   drawings    and
specifications that are the same as the drawings and specifications

of the MSE Assembly that passed the validation test in 2004.


       DX 27, MSE Seal Assembly Drawing - Teflon (PN 23550-028-
     203

00001); and DX 28, MSE Seal Assembly Drawing - Chemraz (PN
100066417). See also Andrew Johnston, TT 7-112:25-114:23, Docket
Entry No. 208, pp. 112-14.
       Greene Tweed MSE Seal Assembly Drawings, DX 55-A, GTC-00520
     204

(April 1998). See also Andrew Johnston, TT 7-114:24-119:3, Docket
Entry No. 208, pp. 114-19.
       Greene Tweed MSE Seal Assembly Drawings, DX 55-A, GTC-00521
     205

(September 2015).
                                   -61-
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                                   (3) Rosette Spring Drawings

     201. The Bill of Materials on the drawings of MSE Assembly,

Greene Tweed PN MSE70-100372-A,        specify rosette spring,        Greene

Tweed PN RS-111-1-E. 206

     202. The drawings and specifications for Rosette Spring,

Greene Tweed PN RS-111-1-E,        are maintained by Greene Tweed on

Drawing Number RS-111-1-X-X/MFG Revision B. 207

     203. Greene Tweed Drawing Number RS-111-1-X-X/MFG Revision B

went into effect in April of 2003, and remained in effect until

August 20, 2014, when Revision C went into effect. 208

     204. Because Drawing Number RS-111-1-X-X/MFG Revision B for

rosette spring, Greene Tweed PN RS-111-1-E, remained the same from

April of 2003 until August of 2014, the rosette springs in the

SCSSVs that Schlumberger manufactured for Hess in 2013 (H13S-0010

installed in Well D, Hl3S-0011 installed in Well B, and H13S-0022

installed in Well C),      and the rosette springs that passed the


       Andrew Johnston, TT 7-114:24-115:6, Docket Entry No. 208,
     206

pp. 114-15.   See also Greene Tweed MSE Seal Assembly Drawings,
DX 55-A, p. GTC 00520.

       Andrew Johnston, TT 7-115:7-116:11, Docket Entry No. 208,
     207

pp. 115-16.   See also Greene Tweed MSE Seal Assembly Drawings,
DX 55-A, p. GTC_00527, Exhibit 26 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-28, p. 5.
       Andrew Johnston, TT 7-116:13-118:15, Docket Entry No. 208,
     208

pp. 116-18 (explaining that Revision C changed the leg spacing).
See also Greene Tweed MSE Seal Assembly Drawings, DX 55-A,
p. GTC_00527 (Revision B) and GTC_00526 (Revision C), Exhibit 26 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-28, p. 5 (Revision B).

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validation test in 2004 were manufactured to the same drawings and

specifications.

      205. Alternatively, the geometry of the rosette springs in the

SCSSVs sold to Hess at issue in this case (Hl3S-0010 installed in

Well D, Hl3S-0011 installed in Well B, and Hl3S-0022 installed in

Well C), was substantially the same as the geometry of the rosette

springs that passed the validation test in 2004.

      206. Hess argues that neither Schlumberger nor Greene Tweed

had dimensional drawings of the MSE Seal Assembly that passed the

API 14A validation test in 2004 because the recorded dimensions of

MSE Seal Assemblies that passed the API                 14A   validation   test

contained    in   the   validation   package     from   2004   differed    from

dimensions in the inspection drawings provided by Greene Tweed. 209

      207.   Hess's argument is not persuasive because the difference

between the outer dimension of the MSE Seal Assemblies found

recorded in the 2004 validation package and the outer dimension of

MSE   Seal   Assemblies     shown    on     Greene   Tweed's    drawings   and

specifications is an insubstantial difference of O.033". 210


       Hess's Motion for Judgment, Docket Entry No. 222, pp. 18-19
      209

(Wells D, B, and C), and pp. 25-26 (Well B(2)).

       BP Bridging Document, p. 6, Exhibit 5 to Hess's Motion for
      210

Judgment, Docket Entry No. 222-5, p. 7 ("The outer dimension of the
Recent MSE seals were nominally measured to be approximately .033"
smaller than the Qualified and Reproduction seals across many
different tests throughout the investigation.").          See also
Alexander LaDouceur, TT 5-17: 6-19: 9 (stating that the initial
belief was that the .033" difference was significant); PTX 126,
                                                     (continued...)
                                     -63-
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       208. Hess also argues that the difference in outer dimension

was caused by the geometry of the rosette spring, which changed

over time as illustrated in Hess's Demonstrative Exhibit No. 6.

       209. Hess's argument that the geometry of the rosette spring

changed over time is not persuasive for several reasons: (1) When

the investigation of the BP and Hess valve failures occurred in

2015 neither Schlumberger nor Greene Tweed had any rosette springs

from 2004; (2) the only contemporary record for the geometry of the

2004       rosette     springs     were      the    drawings    and   specifications

maintained by Greene Tweed;                  (3) the drawing that Hess contends

represents the geometry of the rosette spring qualified in 2004 was

created in 2015 and merely "surmises"                     to    represent   the 2004

qualified          spring   as    it   was    "reverse   engineered"     from   outer

dimensions of MSE Seal Assemblies found recorded in the 2004

validation package and cross sections of MSE Seal Assemblies

delivered in 2008; 211 and             (4) even if the geometry of the 2004

rosette spring was as illustrated in the 2015 drawing that was

"reverse engineered," that geometry was substantially the same as

the    geometry       of    the   rosette      springs   that    were   supplied   to

Schlumberger in 2012 and used to manufacture the SCSSVs sold to

Hess in 2013.

       210 ( •••
           continued)
Email from A. Johnston to H. Kohli re Critical Topics - November
20th Update, Exhibit 15 to Hess's Motion for Judgment, Docket Entry
No. 222-15, p. 12 (STC 00126234 0005, slide showing "Inspection
Record for 2004 Certification MSE Seals").
      11 Dwayne May, TT 9-80:14-16, Docket Entry No. 216, p. 80 ("We
       2

didn't have the springs for the 2004 seals.        So, it was - we
surmised only that those probably did not match, the components
didn't - may not have matched the actual drawing.").
                                             -64-
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                                   (4)    Certificates of Conformity

     210. Greene    Tweed    provided     Schlumberger   Certificates        of

Conformity   for   each   MSE   Seal     Assembly   in   the   SCSSVs   that

Schlumberger manufactured for Hess in 2013 as follows:212 H13S-0010

installed in Well D; 213 Hl3S-0011 installed in Well B; 214 and Hl3S-

0022 installed in Well C.2 15

     211. The Certificates of Conformity that Greene Tweed provided

to Schlumberger certify that the MSE Seal Assemblies and their

component parts were manufactured in conformance with current

specifications for the applicable part numbers.216


       Andrew Johnston,
     212
                           TT 7-43:22-44:2            (databooks    contain
certificates of conformity for each SCSSV).
       See McCalvin Rebuttal Report, pp. 82-89, Exhibit 28 to
     213

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-30, pp. 89-96. See also DX 23, Valve Databook for SCSSV
H13S-0010, pp. STC 00259883-9886.
       See Mccalvin Rebuttal Report, pp. 100-104, Exhibit 28 to
     214

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-30, pp. 107-111. See also DX 37, Valve Databook for SCSSV
H13S-0011.
       See McCalvin Rebuttal Report, pp. 114-28, Exhibit 28 to
     215

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-31, pp. 1-15. See also DX 39, Valve Databook for SCSSV
Hl3S-0022.
       Andrew Johnston, TT 7-54:4-55:13, Docket Entry No. 208,
     216

pp. 54-55 (a certificate of conformity guarantees that the part
was manufactured, inspected, and produced to current drawings and
specifications). See also id. at 7-19:25-20:9, Docket Entry
No. 208, pp. 19-20 (Schlumberger's counsel explaining that "the
fundamental nature of the industry is that traceability is tracked
by part number. And so, maintaining rigid control over that part
number is how the industry maintains control over the various
                                                    (continued ...)
                                   -65-
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                                           (5)    Conclusions

       212. Because the MSE Seal Assemblies, PN 23550-028-0001 and

PN 100066417, and their component parts, MSE Assembly, Greene Tweed

PN MSE70-100372-A, and Rosette Spring, Greene Tweed PN RS-111-1-E,

with which Schlumberger manufactured SCSSV Hl3S-0010 installed in

Well D, SCSSV H13S-0011 installed in Well B, and SCSSV Hl3S-0022

installed          in   Well    C,    were    manufactured       to     drawings     and

specifications that are substantially the same as the drawings and

specifications of the MSE Seal Assemblies and component parts that

passed the validation test in 2004,                   and because Schlumberger

received Certificates of Conformity from Greene Tweed for the MSE

Seal Assemblies, PN 23550-028-0001 and PN 100066417, and component

parts, MSE Assembly, Greene Tweed PN MSE70-100372-A, and Rosette

Spring,      Greene     Tweed    PN   RS-111-1-E,      with     which    Schlumberger

manufactured the SCSSVs at issue (Hl3S-0010 (Well D), Hl3S-0011

(Well B), and Hl3S-0022 (Well C), the credible evidence establishes

that the MSE Seal Assemblies and component parts in each of these

SCSSVS were manufactured in conformity with the requirements of API
14A, Eleventh Edition, § 6.3.2.2.

       213. Hess        has    therefore     failed   to   carry      its   burden    to

establish by a preponderance of the credible evidence that the
SCSSVs at issue (H13S-0010 (Well D), Hl3S-0011 (Well B), and Hl3S-
0022    (Well C),        were not manufactured in conformity with the
requirements of API 14A, Eleventh Edition, § 6.3.2.2.

           continued)
       216 ( •••

designs."); and 7-20: 8-9 (Andrew Johnston confirming that what
Schlumberger's counsel said is true).
                                           -66-
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                                 (B)    Hess Failed to Establish by a
                                        Preponderance   of   the    Credible
                                        Evidence that Schlumberger Failed to
                                        Manufacture SCSSV Hl3S-OO25 (Well
                                        B(2)) in Conformity with§ API 14A,
                                       § 6.3.2.2

     214. In January of 2016 Schlumberger issued a worldwide recall

of TRC-II lOK and 15K safety valves in inventory for retrofit with

2016 Reproduction MSE Seal Assemblies,                PN 23550-028-00001 and

PN 100066417.217

     215. As part of the worldwide recall, Schlumberger retrofitted

SCSSV Hl3S-OO25, which Hess had in inventory and planned to use in

another Tubular Bells well. 218

     216. SCSSV Hl3S-OO25 was retrofitted with 2016 Reproduction

MSE Seal Assemblies under Return Authorization Number ("RAN") 02284

at Schlumberger's CHPC.219

     217. Greene        Tweed    produced      new   drawings   for   the   2016

Reproduction      MSE     Seal     Assemblies,       PN   23550-028-0001    and

PN 100066417, and their components, the MSE Assembly, PN MSE7O-

1OO372-A, and the rosette springs which received a new PN, PN 5670-

129897-9759.220


     217D. Hirth, TT 2-177:2-8, Docket Entry No. 203, p. 177;
Alexander LaDouceur, TT 5-36:16-5-38:24, 5-56:3-5-57:22, Docket
Entry No. 206, pp. 36-38, and 56-57.
     218Agreed Finding of Fact 427-28.
     219Agreed Finding of Fact 426.

     220DX 55A, GTC 000666-69 (drawings of MSE Assembly PN MSE7O­
                                                   (continued...)

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     218. Schlumberger     successfully    completed    API   14A dynamic

qualification testing of 2016 Reproduction MSE Seal Assemblies,

PN 23550-028-00001 and PN 100066417, and their components including

the rosette springs, PN 5670-12897-9750, in January and February of

2016 as documented in report numbered ET 201600464.221




     220
           continued)
           ( •••
100372-A and jacket PN MSE70J-100372-A dated February 18, 2016),
and GTC 00071-72 (drawings of Rosette Spring dated January 27,
2016); and David Hirth, TT 2-182:10-14 ("Schlumberger had Greene
Tweed produce new drawings for the [2016 reproduction] springs."),
TT 2-188:18-22 (explaining that "the source of that red drawing for
the 2016 reproduction spring" on Hess's Demonstrative No. 6, "is
from the Greene Tweed manufacturing drawing," and that "[Greene
Tweed] made a new drawing for this 2016 reproduction spring."),
Docket Entry No. 203, pp. 182 and 188.            See also Hess's
Demonstrative No. 6, showing citing DX 55-A at GTC_00072, which is
Greene Tweed's rosette spring drawing for the 2016 Reproduction MSE
Assembly, as the source for the "2016 Reproduction Seal" depicted.
       Andrew Johnston, TT 7-128:1-132:16 (explaining that the 2016
     221

Reproduction MSE Seal Assemblies went through four separate valve
qualifications and therefore were validated four separate times),
8-17:1-8 (explaining that the effort to reverse engineer the
rosette spring resulted in numerous iterations, i.e., drawings),
Docket Entry No. 208, pp. 128-32, and Docket Entry No. 209, p. 17.
See also David Mccalvin, TT 8-186:17-187:25; Mccalvin Rebuttal
Report, pp. 129-31, DX 71, Exhibit 28 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-31, pp. 16-18
(describing validation of MSE Reproduction Seals in 2016); DX 42,
MSE Investigation Seal Life Cycle Qualification, ET# 201600464,
January 22 to February 16, 2016, p. 15 § 8.1.1 ("The MSE seals have
successfully passed a test replicating API 14A 12th edition Vl life
cycle test and will be rated to 15ksi at 40-300 ° F."); and DX 44,
Engineering Report TRC-II MSE Life cycle Qualification Prepared for
bp, p. 15 § 8.1.1 ("The MSE seals have successfully passed a test
replicating API 14A 12th edition Vl life cycle test and will be
rated to 15ksi at 40-300 ° F."); David Hirth, TT 3-21:4-6, Docket
Entry No. 204, p. 21 ("Schlumberger performed an API qualification
test on this reproduction seal and spring.        And according to
Schlumberger, it passed.").
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     219. On March 2, 2016, Schlumberger replaced the MSE Seal

Assemblies, PN 23550-028-00001 and PN 100066417, in SCSSV H13S-0025

with 2016 Reproduction MSE Seal Assemblies, PN 23550-028-00001 and

PN 100066417.222

     220. Greene Tweed's 2016 drawings were used to manufacture

both the 2016 Reproduction MSE Seal Assemblies that completed API

14A qualification testing in January and February of 2016, and the

2016 Reproduction MSE Seal Assemblies with which SCSSV H13S-0025

was retrofitted.223

     221. Greene      Tweed   provided    Schlumberger   Certificates       of

Conformity for each of the 2016 Reproduction MSE Seal Assemblies,

PN 23550-028-00001 and PN 100066417, in SCSSV Hl3S-0025. 224

     222. The Certificates of Conformity that Greene Tweed provided

to Schlumberger for the MSE Seal Assemblies, PN 23550-028-00001 and
PN 100066417, in SCSSV H13S-0025 that Schlumberger retrofitted in

March of 2016 certify that the MSE Seal Assemblies and their



       Agreed Findings of Fact 428-29. See also David Hirth, TT 2-
     222

212:11-14 ("Schlumberger had a new valve in inventory with the old
seals, the non-conforming seals. They took that valve, and they
retrofitted it with the 2016 reproduction seals."); Andrew
Johnston, TT 7-155:19-158:4, Docket Entry No. 208, pp. 155-58
(describing the replacement of the MSE seals in SCSSV H13S-0025)).
       David Hirth, TT 2-182:15-20, Docket Entry No. 203, p. 182 (Q
     223

And were the new springs used in the B(2) well? A They were.").
       See Mccalvin Rebuttal Report, pp. 141-49, Exhibit 28 to
     224

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-31, pp. 28-36. See also DX 46, Valve Databook for SCSSV
H13S-0025, pp. STC 00255895-8910.
                                   -69-
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component parts were manufactured in conformance to current Greene

Tweed specifications applicable to those part numbers. 225

     223. Because          the   2016   Reproduction     MSE   Seal    Assemblies,

PN 23550-028-0001 and PN 100066417, and their component parts, MSE

Assembly,     Greene Tweed PN MSE70-100372-A,             and Rosette Spring,

Greene      Tweed     PN     5670-12987-9750,    with      which      Schlumberger

retrofitted SCSSV H13S-0025, were manufactured to the same drawings

and specifications used to manufacture the 2016 Reproduction MSE

Seal Assemblies, PN 23550-028-00001 and PN 100066417, and component

parts      that     passed    validation    tests   in     2016,      and   because

Schlumberger received Certificates of Conformity from Greene Tweed

for the MSE Seal Assemblies, PN 23550-028-0001 and PN 100066417,

and component parts, MSE Assembly, Greene Tweed PN MSE70-100372-A,

and Rosette Spring, Greene Tweed PN 5670-12987-9750, with which

Schlumberger retrofitted SCSSV Hl3S-0025, the credible evidence

establishes that Schlumberger manufactured the MSE Seal Assemblies

and component parts in SCSSV H13S-0025 in conformity with the

requirements of API 14A, Eleventh Edition, § 6.3.2.2.

     224. Hess has failed to establish by a preponderance of the

credible evidence that Schlumberger did not manufacture the MSE

Seal Assemblies and component parts with which SCSSV Hl3S-0025 was

retrofitted in 2016 in conformity with the requirements of API 14A,

Eleventh Edition, § 6.3.2.2.


       Andrew Johnston, TT 7-19:25-20:9, 7-54:4-55:13, Docket Entry
     225

No. 208, pp. 19-20, 54-55 (describing certificates of conformity).

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     225. Hess's argument that the 2016 Reproduction MSE Seal

Assemblies with which SCSSV Hl3S-0025 was retrofitted were not

manufactured    in    conformity     with   API    14A,   Eleventh    Edition,

§ 6.3.2.2 because the rosette springs in the 2016 Reproduction MSE

Seal Assemblies differ in size, type, and model from the rosette

springs validated in 2004, fails because Hess's expert witness

acknowledged that the 2016 Reproduction MSE Seal Assemblies passed

API 14A validation testing in 2016, 226 and Hess has failed to

present any evidence to the contrary.
     226. Hess       argues   that   the    2016   Reproduction      MSE   Seal

Assemblies were not independently qualified as required by API 14A

because the qualification tests were performed by Schlumberger not

by a third party.

     227. Hess's argument is not persuasive because                  (a) Hess's

expert witness, David Hirth, testified that the 2016 Reproduction

MSE Seal Assemblies had passed a API 14A qualification test,

(b) Schlumberger performed the API 14A qualification test on the

MSE Seal Assemblies in 2004, and (c) Hess does not argue that the

MSE Seal Assemblies were not properly qualified in 2004.



     226
        See Statement of Hess's Counsel, TT 3-21: 14-17, Docket Entry
No. 204, p. 21 ("Our argument is going to be that because they are
substantially different and are different from size, type, and
model of the 2004, that, indeed, they are - they rep roduction
springs do, indeed, violate API 6.3.2.2), and testimony of Hess's
expert, David Hirth, TT 3-21:4-6, Docket Entry No. 204, p. 21
 ("Schlumberger performed an API qualification test on this
reproduction seal and spring. And according to Schlumberger, it
passed.") .
                                     -71-
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                       (II) Section 7.6.2 of API 14 A

     228. Section 7.6.2 of API 14A, Eleventh Edition, states:

     "All traceable components, except non-metallic seals,
     shall be dimensionally inspected to assure proper
     function and compliance with design criteria and
     specifications. Inspection shall be performed during or
     after the manufacture of the components but prior to
     assembly,  unless assembly is required for proper
     measurement. " 227

     229. Section     7.6.2   exempts     non-metallic   seals    from   its

dimensional inspection requirement.228

     230. Non-metals are covered under § 7.6.3 of API 14A.229

     231. Section 7.6.2 does not apply to the MSE Seal Assemblies,

PN 23550-028-00001 and PN 100066417, because they have non-metallic

sealing surfaces and the entire MSE Seal Assembly is recognized by

the industry as a non-metallic seal even though ithas two metal

rosette springs inside them.230


       Agreed Finding of Fact 99 (quoting API 14A, Eleventh
     227

Edition, § 7.6.2, PTX 3, Exhibit 3 to Hess's Motion for Judgment,
Docket Entry No. 222-3, p. 27).

       Patrick Hyde, TT 8-88:14-89:3, Docket Entry No. 209, pp. 88-
     228

89; Hyde Report, p. 8, DX 246, Exhibit 59 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-63,
p. 11.

       Hyde Report, p. 8, DX 246, Exhibit 59 to Schlumberger' s
     229

Response to Hess's Motion for Judgment, Docket Entry No. 223-63,
p. 11.
       Andrew Johnston, TT 7-71:19-72:4, Docket Entry No. 208,
     230

pp. 71-72; Patrick Hyde, TT 8-88:22-89:3, 8-131:5-10, Docket Entry
No. 209, pp. 88 and 131; Hyde Report, p. 8, DX 246, Exhibit 59 to
Schlumberger's Response to Motion for Judgment, Docket Entry
No. 223-63, p. 11 ("In my opinion, the MSE seal is a non-metallic
                                                    (continued... )
                                   -72-
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     232. MSE Seal Assemblies were also considered to be non­

metallic seals by both Hess and Schlumberger as evidenced by the

MSE Seal Assemblies' designation on the Inspection Matrix of Hess's

Quality Control Plan as "Class 3," which stands for "elastomers." 231

     233. The traceable components for purposes of§ 7.6.2 are the

MSE Seal Assemblies, not the rosette springs.232

     234. MSE Seal Assemblies supplied by Greene Tweed, PN 23550-

028-00001 and PN 100066417, are the lowest level of traceable


           continued)
     230 ( •••

seal because the metal part (the spring) is not part of the sealing
surface; it is part of the assembly that serves to energize the
actual component doing the actual sealing - the jacket assembly.").
See also Andrew Johnston, TT 8-10:11-12, Docket Entry No. 209,
p. 10; and David McCalvin, TT 8-199:13-15, Docket Entry No. 209,
p. 199 ("Q Do you agree with Mr. Hyde and Mr. Johnston that the MSE
seal is a non-metallic seal? A Yes. That's an industry standard.").

       Inspection Matrix, DX 17, Exhibit 16 to Schlumberger's
     231

Response to Hess's Motion for Judgment, Docket Entry No. 223-17,
pp. 2 and 3.

       Patrick Hyde, TT 8-89:14-15 ("Q Do you believe the rosette
     232

spring is traceable? A No, I do not."), 8-91:12-15 ("[Section]
7.6.2 . . . talks about traceable components in non-metallic seals.
The MSE seal is a non-metallic seal, and the rosette spring is not
a traceable component."), Docket Entry No. 209, pp. 89 and 91;
David Mccalvin, TT 8-198:24-199:10        (identifying the lowest
traceable component of the MSE Seal as the MSE Seal Assembly),
Docket Entry No. 209, pp. 198-99. See also Andrew Johnston, TT 7-
41:20-7-42:6 (the traceable component for Schlumberger is the MSE
seal assembly); Bill of Materials, DX 33, p. 4 of 28, (listing MSE
Seal Assemblies, PN 23550-028-00001 and PN 100066417, but not
listing component parts of either the MSE Seal Assembly, i.e., the
V-ring, the female adapter, the hat ring, or the MSE Assembly and
its components, i.e., the jacket, the two rosette springs, and the
spacer); Inspection Matrix, DX 17, Exhibit 16 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-17,
p. 2 line 12.9 and p. 3 line 12.25 (listing MSE Seal Assemblies,
but not their components).
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component identified both in Schlumberger's Bill of Materials for

SCSSVs, PN 101091732, sold to Hess, and in the Inspection Matrix of

Hess's Quality Control Plan. 233

     235. Hess could have - but did not - require the rosette

spring be a traceable component by identifying it as such in the

Inspection Matrix of Hess's Quality Control Plan. 234

     236. Schlumberger requires its suppliers,             including Greene

Tweed, to have a quality management system pursuant to which they

perform      dimensional   inspections,    and   provide   certificates     of

conformity certifying that applicable specifications, including

dimensional inspections, have been met. 235




       Andrew Johnston, TT 8-7:4-10, Docket Entry No. 209, p. 8;
     233

Patrick Hyde, TT 8-164:25-165:7, Docket Entry No. 209, pp. 164-65.
See also Inspection Matrix, DX 17, Exhibit 16 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-17, p.
2 line 17.9 (identifying PN 23550-028-00001 (Teflon MSE Seal
Assembly), and p. 3 line 12.25 (PN 100066417 (Chemraz MSE Seal
Assembly)); Bill of Materials, DX 33, p. 4 of 28 (identifying MSE
Seal Assemblies PN 23550-028-00001 and PN 100066417 but not
identifying any component parts of the MSE Seal Assemblies).
       Patrick Hyde, TT 8-89:14-24, 8-131:25-132:8, 8-139:2-3,
     234

Docket Entry No. 209, pp. 89, 131-32 and 139; David Mccalvin, TT 8-
198:24-199:12, Docket Entry No. 209, pp. 198-99. See also
Inspection Matrix, DX 17, Exhibit 16 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-17, p. 2 line 17.9
(identifying PN 23550-028-00001 (Teflon MSE Seal Assembly), and
p. 3 line 12.25 (PN 100066417 (Chemraz MSE Seal Assembly)); Bill of
Materials, DX 33, p. 4 of 28 (identifying MSE Seal Assemblies PN
23550-028-00001 and PN 100066417 but not identifying any component
parts of the MSE Seal Assemblies).
     235
           Andrew Johnston, TT 7-18:5-16, Docket Entry No. 208, p. 18.
                                    -74-
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       237. Greene Tweed provided certificates of conformity                  to

 Schlumberger certifying that the MSE Seal Assemblies used to

 manufacture the SCSSVs sold to Hess were made in conformity with

 Greene Tweed's applicable drawings and specifications.236

       238. The credible     evidence     establishes     that   Schlumberger

 manufactured SCSSV Hl3S-0010 installed in Well D, SCSSV Hl3S-0011

 installed in Well B, and SCSSV Hl3S-0011 installed in Well C in

 conformity with the requirements of API 14A, Eleventh Edition,

§ 7. 6. 2. 237

       239. Accordingly,     Hess   has    failed    to    establish   by      a

 preponderance of the credible evidence that Schlumberger did not

 manufacture the SCSSVs Hl3S-0010 installed in Well D, Hl3S-0011

 installed in Well B, or Hl3S-0011 installed in Well C in conformity

 with the requirements of API 14A, Eleventh Edition, § 7.6.2.



                        (III) Section 7.6.3 of API 14A

       240. Section 7.6.3 of API 14A, Eleventh Edition, states:

       a)   Sampling procedures and the basis for acceptance or
       rejection of a batch lot shall be in accordance with ISO
       2859-1, general inspection level II at a 2,5 A[cceptance]
       Q[uality] L[imit] for O-rings and a 1,5 A[cceptance]


       236
        Andrew Johnston, TT 7-19:25-20:3, Docket Entry No.               208,
 pp. 19-20.
       237
        Hess does not contend that SCSSV H13S-0025 installed in Well
 B(2) was manufactured in violation of § 7.6.2 of API 14A. See
 TT 3-20:7-20, Docket Entry No. 203, p. 20 (Hess's counsel stating
 that the only API 14A violation alleged with respect to Well B(2)
 is a violation of§ 6.3.2.2).
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     Q [uality] L [imit] for other sealing elements until a
     documented variation history can be established.
     Sampling procedures shall then be established based on
     the documented variation history.

     b)   Visual inspection of O-rings shall be in accordance
     with OSP 3601-3.     Other sealing elements shall be
     visually inspected in accordance with the manufacturer's
     documented specifications. .

     c)   Dimensional tolerances of O-rings shall be in
     accordance with ISO 3601-1. Other sealing elements shall
     meet dimensional tolerances of the manufacturer's written
     specifications.     238



     241. API 14A defines the term "manufacturer" as the "principal

agent in the design, fabrication and furnishing of equipment, who

chooses to comply with this International Standard."239

     242. Schlumberger is the principal agent in the design,

fabrication, and furnishing of the TRC-II SCSSVs and is the only

entity who chose to comply with API 14A. 240




     238Agreed Finding of Fact 106 (quoting API 14A, § 7.6.3, PTX 3,
Exhibit 3 to Hess's Motion for Judgment, Docket Entry No. 222-3,
p. 27) .
       API 14A, § 3.14,
     239
                          PTX 3, Exhibit 3 to Hess's Motion for
Judgment, Docket Entry No. 222-3, p. 13.
       Patrick Hyde, TT 8-92:21-25, Docket Entry No. 209, p. 92.
     240

See also Hyde Report, p. 8, DX 246, Exhibit 59 to Schlumberger's
Response to Motion for Judgment, Docket Entry No. 223-63, p. 11
("For the purpose of API 14A, manufacturer is defined in [§] 3.14
as the 'principle agent in the design, fabrication and furnishing
of equipment, who chooses to comply with this international
standard.' Since Schlumberger is the 'principle agent i[n] design,
fabrication, and furnishing of equipment,' the governing document
would be the Schlumberger documented specification.").
                                   -76-
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     243. Schlumberger is the manufacturer of the SCSSVs for

purposes of § 7.6.3 of API 14A.241

     244. Section 7.6.3(b) requires sealing elements other than 0-

rings, including the MSE Seal Assemblies, to "be visually inspected

in accordance with the manufacturer's documented specifications. 11242

     245. Schlumberger's procedures required each MSE Seal Assembly

to be visually inspected before being put onto a piston as follows:

"Using a microscope set to 20X magnification,             inspect the MSE

piston seals and verify that there are not cuts, scratches, or

surface irregularities on the OD and ID of the seal. 11243

     246. Schlumberger visually inspected the MSE Seal Assemblies

both before and after installing them into a piston. 244

     247. Section 7.6.3(c) requires MSE Seal Assemblies to "meet

dimensional       tolerances     of      the   manufacturer's       written

specifications. " 245



       Patrick Hyde, TT 8-92:13-18, Docket Entry No. 209, p. 92;
     241

David McCalvin, TT 8-206:18-207:9, 8-227:1-22, Docket Entry
No. 209, pp. 206-207, and 227. See also Mccalvin Rebuttal Report,
pp. 35-36, Exhibit 28 to Schlumberger's Response to Motion for
Judgment, Docket Entry No. 223-30, pp. 42-43.
       API 14A, § 7.6. 3(b), PTX 3, Exhibit 3 to Hess's Motion for
     242

Judgment, Docket Entry No. 222-3, p. 27.
     243
           Andrew Johnston, TT 7-82:4-14, Docket Entry No. 208, p. 82.
       Andrew Johnston, TT 7-82:15-7-83:8, Docket Entry No. 208,
     244

pp. 82-83.
       API 14A, § 7.6.3(c), PTX 3, Exhibit 3 to Hess's Motion for
     245

Judgment, Docket Entry No. 222-3, p. 27.
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     248. Schlumberger did not specify dimensional tolerances of

the MSE Seal Assemblies or any of their components in its written

specifications. 246

     249. The MSE Seal Assemblies in the SCSSVs sold to Hess are

proprietary      parts   for   which    Greene   Tweed, not   Schlumberger

determines actual dimensions of component parts.247

     250. A proprietary part is one for which a supplier holds the

design and sells as part numbers manufacturers.248

     251. API 14A, Eleventh Edition, did not require Schlumberger

to specify dimensional tolerances for the MSE Seal Assemblies or

their component parts supplied by Greene Tweed. 249

       David McCalvin, TT 8-207: 19-23, Docket Entry No. 209,
     246

p. 207.    See also Hyde Report, p. 8, DX      246, Exhibit 59 to
Schlumberger's Response to Motion for Judgment, Docket Entry
No. 223-63, p. 11 ("Whether that Schlumberger specification was
adequate or not is not a matter of API 14A compliance.
Schlumberger has a documented specification to visually inspect all
seals installed in any SCSSV and has evidence of completing that
inspection. See,�, STC-00257461 (AC-35, Section 3.6) If an
operator reviews the Schlumberger specification and judges it to be
inadequate, the operator has the right to require whatever
inspection they deem necessary and to document that action within
the company specific quality [control] plan. It is my impression
Hess has an operator specific quality [control] plan, and that
reviewed and approved plan does not include any inspection other
than the Schlumberger standard.").
       McCalvin Rebuttal Report, p. 194, Exhibit 28 to
     247

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-31, p. 81. See also David Mccalvin, TT 8-208:17-209:10
(drafters of API 14A recognize and allow for the use proprietary
parts and the practice of letting suppliers hold back some
information).
       David Mccalvin, TT 8-207:24-208:24, Docket Entry No. 209,
     248

pp. 207-08.
     249
           Patrick Hyde, TT 8-93:6-8, Docket Entry No. 209, p. 93;
                                                     (continued... )
                                       -78-
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      252. Because        Schlumberger     did   not     specify   dimensional

tolerances for the MSE Seal Assemblies supplied by Greene Tweed,

Schlumberger did not have to perform dimensional inspections of the

MSE Seal Assemblies or their components to comply with§ 7.6.3.250

      253. As      long    as   Schlumberger     received    Certificates   of

Conformity for the MSE Seal Assemblies supplied by Greene Tweed,

Schlumberger complied with the requirements of§ 7.6.3 for the MSE

Seal Assemblies supplied by Greene Tweed.251

      254. Certificates of Conformity are provided to Schlumberger

by a third party suppliers, including Greene Tweed, to certify that

the part supplied has been manufactured, inspected, and produced to

meet the applicable drawings and specifications for that product. 252

      255. Greene      Tweed    provided     Schlumberger    Certificates   of

Conformity for each of the MSE Seal Assemblies used in the SCSSVs

that Schlumberger sold to Hess. 253




       ( ••• continued)
      249

David Mccalvin, TT 8-207:19-23, Docket Entry No. 209, p. 207.
      250
            Patrick Hyde, TT 8-93:2-95:9, Docket Entry No. 209, pp. 93-
95.
       David Mccalvin,
      251
                                TT 8-226:12-25,     Docket Entry No. 209,
p. 226.
       Andrew Johnston,
      252
                                TT 7-54:2-55:3,        Docket Entry No. 208,
pp. 54-55.
       Andrew Johnston, TT 7-43:22-7-44:2, Docket Entry No. 208,
      253

pp. 43-44 (describing databooks maintained for each valve).
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      256. Greene Tweed's Certificates of Conformity state that all

 the requirements of the purchase order and of the Greene Tweed

 requirements that apply to the applicable product have been met. 254

      257. The       credible   evidence   establishes   that   Schlumberger

 manufactured SCSSV Hl3S-0010 installed in Well D, SCSSV Hl3S-0011

 installed in Well B, and SCSSV H13S-0011 installed in Well C in

 conformity with the requirements of API 14A,            Eleventh Edition,

§ 7. 6. 3.

      258. Hess has failed to establish by a preponderance of the

 credible evidence that Schlumberger did not manufacture the SCSSVs

 H13S-0010 installed in Well D, H13S-0011 installed in Well B, or

 H13S-0011 installed in Well C in conformity with the requirements

 of API 14A, Eleventh Edition, § 7.6. 3.255


               iv.   Hess Failed to Establish by a Preponderance of the
                     Credible Evidence that the Alleged Violations of
                     API 14A, Eleventh Edition, Either Caused the SCSSVs
                     to Fail or Substantially Impaired the Value of the
                     SCSSVs to Hess

      Hess alleges that the SCSSVs at issue failed because they were

 not manufactured in conformance with API 14A, Eleventh Edition, and

 that the failures substantially impaired the value of the SCSSVs to



      254
            David Mccalvin, TT 8-191:7-14, Docket Entry No. 209, p. 191.

        Hess does not contend that SCSSV Hl3S-0025 installed in Well
      255

 B(2) was manufactured in violation of § 7.6.2 of API 14A. See
 TT 3-20:7-20, Docket Entry No. 203, p. 20 (Hess's counsel stating
 that the only API 14A violation alleged with respect to Well B(2)
 is a violation of§ 6.3.2.2).
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Hess.         Schlumberger argues that the SCSSVs failed because of the

way Hess operated the wells not because of any violation of API

14A,    Eleventh Edition.       For the reasons explained in § III.C,

above, the court has already found that Hess failed to establish by

a preponderance of the credible evidence that the SCSSVs were not

manufactured in conformance with API 14A, Eleventh Edition.              For

the reasons explained below,         the court finds that the alleged

violations of API 14A, Eleventh Edition, neither caused the SCSSVs

to fail nor substantially impaired their value to Hess.



                     a.   The Alleged Violations of API 14A Did Not
                          Cause the SCSSVs to Fail

                          (I)   The BP Valve Failure During a Pre­
                                Installation Test is Not Comparable to
                                the Post-Installation Hess Valve Failures

        259. Hess's argument that the MSE Seal Assemblies caused the

SCSSVs at issue to fail is based primarily on the conclusion

reached in FRA Rev. 7 that "[t]he primary root cause of the failure

is the quality of the MSE Seal."256

        260. FRA Rev. 7's conclusion that the MSE Seal was the primary

root cause for the failure of SCSSV Hl3S-0010 installed in Well D


        FRA Rev. 7, p. 28 of 55, Docket Entry No. 222-51, p. 29
        256

( "The primary root cause is the MSE Seal Spring.").      See also
Revocation Letters, PTX 313 (for SCSSVs installed in Wells D and B,
Hl3S-0010 and Hl3S-0011), PTX 329 (for SCSSV Hl3S-0022 installed in
Well C), and PTX 358 (for SCSSV Hl3S-0025 installed in Well B(2));
Patrick Hyde, TT 8-104:9-22, Docket Entry No. 209, p. 104 (opining
that Hess's argument is based solely on conclusions reached in FRA
Rev. 7) •

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was based on and nearly identical to the conclusion reached in

Schlumberger's investigation of a TRC-II valve manufactured in 2015

for British Petroleum ("BP") that leaked during a pre-installation

make-up test in July of 2015. 257

      261. Following the failure of the BP valve during a pre­

installation make-up test and the failure of SCSSV Hl3S-0010

installed in Well D approximately one month later, Schlumberger

feared that a catastrophic number of SCSSV failures could follow,

and that fear prompted Schlumberger to issue the world-wide recall

of all TRC-II lOK and 15K valves in inventory.

      262. The      catastrophic   number     of   SCSSV   failures     that

Schlumberger feared never occurred.

      263. The successful operation of TRC-II SCSSVs by operators

other than Hess throughout the Gulf of Mexico, and data from Hess's

operations of Wells D, B, and C show that FRA Rev. 7's conclusion

regarding the root cause for the failure of SCSSV H13S-0010
installed in Well D was wrong.

      264. The BP valve failure,           which occurred during a pre­

installation test above ground, was not comparable to the Hess

SCSSV failures, which occurred post-installation downhole. 258




      257
            Dwayne May, TT 9-21:22-22:10, Docket Entry No. 216, pp. 21-
22.
      258
            Dwayne May, TT 9-22:11-26:4, Docket Entry No. 216, pp. 22-
26.
                                    -82-
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     265. Unlike the BP valve,        each of the Hess SCSSVs passed

multiple pressure tests prior to being run downhole. 259



                        (II) Hess   Failed   to  Establish   by   a
                             Preponderance of the Credible Evidence
                             that the Rosette Springs Caused the
                             SCSSVs to Fail

     266. Hess argues that the SCSSVs at issue failed because "the

MSE seal assemblies lacked 'sufficient force to initiate                . an

effective seal with the seal bore' when installed, which 'allowed

pressure to leak past.' " 260

     267. The purpose of the rosette spring is to initiate a seal

at low pressures, which means that rosette springs are significant

for opening and closing the SCSSVs above ground where the rosette

springs are needed to hold an SCSSV open.261

     268. Rosette springs lose their significance once the SCSSVs

are installed downhole because          once the    hydraulic    system      is

pressurized, pressure holds an SCSSV open.262


     259
           Dwayne May, TT 9-26:5-14, Docket Entry No. 216, p. 26.

       Hess' s Motion for Judgment, p. 17, Docket Entry No. 222,
     260

p. 27 (citing David Hirth, TT 2-210:1-3, Docket Entry No. 203,
p. 210, and Dwayne May, TT 4-33:1-3, Docket Entry No. 205, p. 33).
     261
        David Hirth, TT 3-133:3-5, Docket Entry No. 204, p. 133;
Dwayne May, TT 9-22:14-26:14, Docket Entry No. 216, pp. 22-26
(explaining that a spring provides only 3.2 to 5.7 pounds of force,
and helps during testing above ground, where pressure is turned off
and on) .
     262
           Dwayne May, TT 4-157:8-159:2, Docket Entry No. 205, pp. 157-
                                                         (continued...)
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     269. Once energized, the minimum pressure sealing force on the

MSE Seal Assembly is significantly - i.e.,                approximately one

hundred times - higher than the spring force of the rosette

springs.263

     270. Hess's expert witness,           David Hirth,    opined that the

rosette spring might be needed downhole if pressure equalized due

to "weeping, "264 but failed to explain how a weeping seal could pass

testing above ground, work downhole for over a year before failing,

or not cause SCSSVs purchased by other operators to fail.




           continued)
     262 ( •••

59, and 9-8:12-14, Docket Entry No. 216, p. 8; Expert Report of
Dwayne May ("May Report"), p. 6, Exhibit 50 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-53, p.
7 ("[T]he rosette springs play an insignificant role in MSE
performance in a production-mode service application. As a result,
the rosette springs in the MSE seals simply cannot be the root
cause of the Hess Valve failure."). See also Patrick Hyde, TT 8-
112:17-25, Docket Entry No. 209, p. 112 ("The spring is on the
inside, and it's pushing out on the walls of the MSE jacket
slightly to make contact with the wall. Once you get pressure
inside, the pressure force acts on the cup, forces the lips outward
at a force much, much greater than the spring could ever place on
the seal.   And as long as the pressure force pushing the seal
outward against the bore is greater than the force the spring can
exert, then the spring is redundant.          It's redundant, not
needed.").

       Dwayne May, TT 9-22:14-25:7, Docket Entry No. 216, pp. 22-25
     263

(see especially, p. 9-23:10-16 (describing spring pressure as only
3.2 to 5.7 pounds of force, and needed to help during testing above
ground, where pressure is turned off and on), and 9-25:1-2
(describing minimum bore-side pressure as 476 pounds, and minimum
hydraulic pressure as approximately 850 pounds).

       David
     264
                 Hirth,   TT   3-166:10-168:3,    Docket    Entry   No. 204,
pp. 166-68.
                                    -84-
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     271. Hirth also acknowledged that his opinion that the rosette

springs in the MSE Seal Assemblies caused the SCSSVs to fail is

based solely on consideration of Schlumberger documents, and that

he did not consider any Hess documents or any factors other than

the springs in the MSE Seal Assemblies.265

     272. The opinions of Schlumberger's experts that the MSE Seal

Assemblies played no role downhole once the SCSSV was installed in

service are more credible than the opinion of Hess's expert to the

contrary.266



                       (III)     The Credible Evidence Establishes that
                                 Hess's Operating Practices Caused the
                                 SCSSVs to Fail

                               (A)   Hess's Operating Practices

     273. Hess lacked experience operating safety valves at the

Tubular Bells Field,     and its offshore operators had inadequate

experience and training since a high percentage of them had not

previously worked on a live platform.267


       David Hirth, TT 3-121:15-122:3, Docket Entry No. 204,
     265

pp. 121-22. See also Schlumberger TRC-II 1-1/2" 15k SCSSV Failure
Analysis Report Tubular Bells Wells D, B & C by David E. Hirth
("Hirth Report"), PTX 361, Exhibit 47 to Hess's Motion for
Judgment, Docket Entry No. 222-47, pp. 71-78 (Appendix M - Material
Considered).

       See Patrick Hyde, TT 8-112:17-25, Docket Entry No. 209,
     266

p. 112; Dwayne May, TT 9-26:3-4, Docket Entry No. 216, p. 26 ("the
spring played no role downhole once the valve was installed in
service").

       Stephen Dunn, TT 2-55:10-56:9, Docket Entry No. 203, pp. 55-
     267

56. See also Tubular Bells Operations Phase Lessons Learned from
5-Operator Training held on October 26, 2015, pp. 6-7, DX 118a,
                                                     (continued...)
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      274. Hess intentionally closed each of the SCSSVs at least

four times per year, despite the fact that the Bureau of Safety and

Environmental Enforcement regulations only require that they be

closed twice per year. 268

      275. Hess shutdown its wells an "uncommonly high" number of

times during periods that the SCSSVs were operating. 269

      276. Hess could not state the number of times that each of the

SCSSVs was closed during the "uncommonly high" number of shutdowns

because Hess did not track the number of SCSSV closures. 270

      277. When a well is shutdown, it stops flowing, but that does

not normally mean that the SCSSV is closed. 271

      278. Well shutdowns and SCSSV closures subject the SCSSVs to

significant temperature swings. 272



           continued)
      267 ( •••

Exhibit 42 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-45, pp. 8-9 (detailing deficiencies
in the effective transfer of knowledge from design and testing to
operations personnel, and in having properly trained and
experienced operators who are prepared to operate the asset).
      268
            Stephen Dunn, TT 2-45:25-46:6, Docket Entry No. 203, pp. 45-
46.
       Stephen Dunn, TT 2-39:10-14, Docket Entry No. 203, p. 39;
      269

Dwayne May, TT 4-148:13-25, Docket Entry No. 205, p. 148.
      270
            Stephen Dunn, TT 2-42:19-43:1, Docket Entry No. 203, pp. 42-
43.
       Stephen
      271
                     Dunn,   TT 2-35:19-36:22,   Docket Entry No.       203,
pp. 35-36.
      272
            Dwayne May, TT 4-148:13-25, Docket Entry No. 205, p. 148.
                                     -86-
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     279. Hess's hydraulic power unit was frequently operated at

pressures lower than recommended. 273

     280. Hess contends that the wells were operated at inadequate

pressure for only a two-week period and that the inadequate

pressure affected only Wells D and B, and could not have affected

Wells C and subsequently B(2), which were not on-line during that

two-week period. 274   The court is not persuaded by this argument

because Schlumberger presented credible evidence that the wells

were operated at inadequate pressure for a six-month period that

would have affected all of the SCSSVs at issue. 275




       Stephen Dunn, TT 2-52:6-21, Docket Entry No. 203, p. 52;
     273

Patrick Hyde, TT 8-105:5-112:1, Docket Entry No. 209, pp. 105-12.
Tubular Bells Operations Phase Lessons Learned from 5-Operator
Training held on October 26, 2015, pp. 6-7, DX 118a, Exhibit 42 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-45, p. 8 ("1) HPU [Hydraulic Power Unit] Operating
Pressures: HPU was being operated for months at a lower pressure
than recommended - may have led to SCSSV closures").
       Hess's Closing Argument,
     274
                                      TT 10-57:16-59:8,      Docket Entry
No. 218, pp. 57-59.
       Patrick Hyde, TT 8-105:5-112:1, Docket Entry No. 209,
     275

pp. 105-12.    See also Tubular Bells Operations Phase Lessons
Learned from 5-Operator Training held on October 26, 2015, pp. 6-7,
DX 118a, Exhibit 42 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-45, p. 8 ("l) HPU [Hydraulic Power
Unit] Operating Pressures: HPU was being operated for months at a
lower pressure than recommended - may have led to SCSSV closures") .
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     281. Hess's "inadequately experienced and trained" operators

who were "not familiar with        [d] eepwater operations," destroyed

other downhole equipment because they could not control pressure.276

     282. The "uncommonly high" number of shutdowns combined with

low operating pressure, exposed the SCSSVs to debris that scratched

and compromised them. 277

     283. Hess did not offer any testimony to show that the SCSSVs

would have failed if Hess had operated them properly.

     284. Hess's expert witness, David Hirth, never considered how

Hess operated its SCSSVs. 278


       Tubular Bells Operations Phase Lessons Learned from 5-
     276

Operator Training held on October 26, 2015, pp. 7, 13, DX 118a,
Exhibit 42 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-45, pp. 9 ("Operators unfamiliarity
with equipment and processes led to some less than optimal
decision-making. These may have contributed to the frequent shut­
downs and issues with restarts."); and 15 ("One choke failure on
Well B and two failures on Well A. Both of these failures occurred
very early in the process of cleaning out or ramping up the
wells.").   See also Stephen Dunn, TT 2-49:1-51:7, Docket Entry
No. 203, pp. 49-51.
     2
       Andrew Johnston, TT 7-150:19-154:5, Docket Entry No. 208,
         77

pp. 150-54; Dwayne May, TT 9-8:2-11, Docket Entry No. 216, p. 8
("The failure of the Hess valves was a combination of issues with
regard to - of operational issues as well as environmental issues.
What happened, the debris in the - from the wellbore migrated into
the hydraulic section of the safety valves and actually damaged the
MSE seals over time.       That, in conjunction with the wide
temperature and pressure excursions during the excessive number of
Hess shutdowns, facilitated that leakage across those MSE seals and
resulted in ultimate valve failure.").
       David Hirth, TT 3-121:15-122:3, Docket Entry No. 204,
     278

pp. 121-22. See also Schlumberger TRC-II 1-1/2" 15k SCSSV Failure
Analysis Report Tubular Bells Wells D, B & C by David E. Hirth
                                                   (continued...)
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                              (B)   Hess's SCSSV    Failure Rate   Far
                                    Exceeded the SCSSV Failure Rate of
                                    Other Operators

      285. Hess argues that "[w]hen rosette springs lack sufficient

sealing force and allow pressure to leak past the [] seal assembly,

catastrophic piston, or safety valve, failure almost inevitably

results. "279

      286. In 2015 following the failure of the BP valve during a

pre-installation make-up test and the failure of SCSSV H13S-0010

installed in Well D approximately one month later, Schlumberger

feared that a catastrophic number of SCSSV failures could follow,

and that fear prompted Schlumberger to issue the world-wide recall

of all TRC-II l0K and 15K valves in inventory.

      287. Although the parties disagree about how to count SCSSV

failures, regardless of how SCSSV failures are counted, all of the

SCSSVs sold to Hess failed while the SCSSVs sold to other operators

during the same time period failed at substantially lower rates. 280



           continued)
      278 ( •••

("Hirth Report"), PTX 361, Exhibit 47 to Hess's Motion for
Judgment, Docket Entry No. 222-47, pp. 71-78 (Appendix M - Material
Considered).

       Hess's Motion for Judgment, p. 17, Docket Entry No. 222,
      279

p. 27 (citing David Hirth, TT 2-131:23-132:6, Docket Entry No. 203,
pp. 131-32).

       See Schlumberger's Response to Hess's Motion for Judgment,
      280

pp. 3, 21-24, Docket Entry No. 223, pp. 13, 32-34 (arguing that
failure rates for other operators were 5.0% or less); Hess's Reply
in Support of Motion for Judgment, pp. 8-10, Docket Entry No. 224,
pp. 14-16 (arguing that Schlumberger "distorts the data").
                                    -89-
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     288. Schlumberger has presented credible evidence that the

high failure rate of the SCSSVs sold to Hess was caused by the way

that Hess operated the wells and not by any failure of the SCSSVs

or the rosette springs in the MSE Seal Assemblies to have been

manufactured in conformity with API 14A, Eleventh Edition.



                              (C)   Hess's Operations of the Wells

                                    (1)    Well D

     289. SCSSV H13S-0010 was installed in Well D at a depth of

approximately 8,700 feet below sea level around April 7, 2014. 281

     290. Production from Well D began on January 14, 2015. 282

     291. Around July 22, 2015, SCSSV Hl3S-0010 installed in Well

D experienced a non-commanded closure and could not be reopened,

blocking all production. 283

     292. SCSSV Hl3S-0010 was installed in Well       D   for approximately

465 days before it experienced the non-commanded closure that

blocked all production. 284




     281
           Agreed Findings of Fact 202-203.
     282
           Agreed Finding of Fact 204.
       FRA Rev. 7, p. 4 of 55, PTX 556, Exhibit 49 to Hess's Motion
     283

for Judgment, Docket Entry No. 222-51, p. 5.
       May Report, p. 6, Exhibit 50 to Schlumberger's Response to
     284

Hess's Motion for Judgment, Docket Entry No. 223-53, p. 7.
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     293. Hess shutdown Well D at least 87 times, subjecting SCSSV

Hl3S-0010 to numerous thermal and pressure transients.285

     294. The MSE Seal Assemblies in SCSSV H13S-0010 evidenced

scratching from downhole debris. 286

     295. Schlumberger provided Hess with minimum recommended hold­

open pressure for SCSSV Hl3S-0010 from 10,000-11,000 psi. 287

     296. From November of 2014 to August of 2015, Hess operated

Well D at surface hydraulic pressures that fluctuated between 7,248

and 8,750 psi, i.e., pressures that were much lower than the

minimum hold-open pressure recommended by Schlumberger. 288


     285
           Stephen Dunn, TT 2-42:16-18, Docket Entry No. 203, p. 42.
       Dwayne May, TT 9-44:2-47:24, Docket Entry No. 216, pp. 44-
     286

47; May Report, pp. 16-18, Exhibit 50 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-53, p. 17-19. See
also DX 78, Well D Photographs, Exhibit 33 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-36.
       Dwayne May, TT 9-68:4-69:6, Docket Entry No. 216, pp. 68-69
     287

(describing minimum operating pressure as 10,000 psi);      DX 115,
February 9, 2016, Email from Sam Brown to Rob Fast re Initial
Inspection H13S0010 (confirming that Hess had been informed of the
minimum operating pressure).     See also May Report, pp. 22-23,
Exhibit 50 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-53, p. 23-24 (stating recommended
hold-open pressure for Well D was 10,700 psi, and explaining its
significance); Patrick Hyde, TT 8-106:2-23 (wells were operated
under minimum recommended by the manufacturer's software for the
valve for six months), 8-146:2-9 (identifying minimum recommended
operating pressure as 11,000 psi at surface), Docket Entry No. 209,
pp. 106 and 146.
       Stephen Dunn, TT 2-34:21-35:7, 2-52:6-21, Docket Entry
     288

No. 203, pp. 21-35 and 52; Patrick Hyde, TT 8-106:2-111:7, Docket
Entry No. 209, pp. 106-111; Hyde Report, pp 17-22, DX 246, Exhibit
59 to Schlumberger's Response to Motion for Judgment, Docket Entry
                                                     (continued... )
                                   -91-
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      297. From July 1 to 15, 2015, Hess operated Well D at surface

hydraulic pressures that fluctuated between 7,271 and 8,662 psi. 289

      298. Several days later, on July 22, 2015, SCSSV Hl3S-0010

installed in Well D experienced a non-commanded closure. 290

      299. The hydraulic pressure applied from July 1 to 15, 2015,

was not sufficient to hold SCSSV H13S-0010 in the full open

position. 291

      300. Hess's inadequate hold-open pressures left the pistons

vulnerable to pressure cycling and valve vibrations, conditions




           continued)
      288 ( •••

No. 223-63, pp. 17-22. See also May Report, p. 22, Exhibit 50 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-53, p. 23 ("The recommended hold-open pressure for the Well
D Valve was 10,700 psi. However, Hess operated the Valve at a much
lower pressure, fluctuating the surface hydraulic pressures between
7,248 psi and 8,800 psi from November 2014 to August 2015. From
July 1, 2015 to July 15, 2015, at a production rate of 16,800 BOBO,
Hess applied surface hydraulic pressure from 7271 psi to 8662 psi.
Seven days later, on July 22, 2015, the Hess Well D Valve
experienced a non-command closure.").

       May Report, p. 22, Exhibit 50 to Schlumberger's Response to
      289

Hess's Motion for Judgment, Docket Entry No. 223-53, p. 23.
Seealso Hyde Report, pp. 13-22, DX           246, Exhibit 59 to
Schlumberger's Response to Motion for Judgment, Docket Entry
No. 223-63, pp. 16-25.
      °FRA Rev. 7, p. 4 of 55, PTX 556, Exhibit 49 to Hess's Motion
      29

for Judgment, Docket Entry No. 222-51, p. 5.
       Dwayne May, TT 9-64:1-66:20, Docket Entry No. 208, pp. 64-
      291

66; Patrick Hyde, TT 8-109:21-110:25, Docket Entry No. 209,
pp. 109-110.

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that can compromise the MSE Seal Assemblies' ability to seal and

shorten their effective life. 292

     301. The thermal and pressure transients from Hess's operation

and the scratching from downhole debris caused the failure of SCSSV

Hl3S-0010 installed in Well D. 293



                                   (2)     Well B

     302. SCSSV Hl3S-0011 was installed in Well B at a depth of

approximately 8,400 feet below sea level on May 28, 2014. 294

     303. Production from Well B began on December 14, 2014. 295

     304. On January 30, 2016, SCSSV Hl3S-0011 installed in Well B

failed, blocking all production. 296

     305. SCSSV H13S-0011 was installed in Well B for approximately

575 days before it experienced the non-commanded closure that

blocked all production. 297




       Patrick Hyde, TT 8-103:23-110:25, Docket Entry No. 209,
     292

pp. 103-10. See also May Report, pp. 22-23, Exhibit 50 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-53, pp. 23-24.

       Dwayne May, TT 9-7:24-8:11, and 9-43:2-9,
     293
                                                              Docket Entry
No. 208, pp. 7-8, and 43.
     294
           Agreed Findings of Fact 232-233.
     295
           Agreed Finding of Fact 234.
     296
           Agreed Finding of Fact. 310.

       May Report, p. 6, Exhibit 50 to Schlumberger's Response to
     297

Hess's Motion for Judgment, Docket Entry No. 223-53, p. 7.
                                    -93-
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     306. Hess shutdown Well B at least 139 times, subjecting SCSSV

Hl3S-0011 to numerous thermal and pressure transients. 298

     307. Hess performed an acid stimulation through SCSSV Hl3S-

0011 on January 4,       2016, 299 which also subjected the SCSSV to

thermal and pressure transients. 300

     308. The MSE Seal Assemblies in SCSSV Hl3S-0011 installed in

Well B evidence scratching from downhole debris. 301

     309. From      November   of   2014   to   August   of   2015   Well   B

experienced the same low operating pressures as Well D. 302

     310. The thermal and pressure transients from Hess's operation

and the scratching from downhole debris caused the failure of SCSSV

Hl3S-0011 installed in Well B. 303




     298
           Stephen Dunn, TT 2-42:11-13, Docket Entry No. 203, p. 42.
     299
           Agreed Finding of Fact 675.
       Dwayne May, TT 9-111:1-16, Docket Entry No. 216, p. 111
     300

(Well B was the only well at issue that Hess acidized).
       Dwayne May, TT 9-50:6-23, Docket Entry No. 208, p. 50; Well
     301

B Photographs, DX 75, Exhibit 30 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-33.
       Dwayne May, TT 9-64:17-65:11, Docket Entry No. 208, pp. 64-
     302

65; May Report, p. 23, Exhibit 50 to Schlumberger's Response to
Hess's Motion for Judgment, Docket Entry No. 223-53, p. 24. See
also Hess Tubular Bells Downhole Valve Failure Summary dated July
28, 2016, Slide 4 HESS0159806, DX 299 Slide 4, Exhibit 60 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-64, p. 5.
       Dwayne May, TT 9-7:24-8:11,
     303
                                            and 9-43:2-9,     Docket Entry
No. 208, pp. 7-8, and 43.
                                    -94-
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                                   (3) Well C

      311. SCSSV Hl3S-0022 was installed in Well C at a depth of

approximately 8,700 feet below sea level on or around April 15,

2015. 304

      312. Production from Well C began on July 21, 2015. 305

      313. Production from Well C continued until July 17, 2016,

when SCSSV Hl3S-0022 experienced a non-commanded closure that

blocked all production. 306

      314. SCSSV Hl3S-0022 was installed in Well C for approximately

455 days before it experienced the non-commanded closure that

blocked all production. 307

      315. Hess shutdown Well C at least 46 times, subjecting SCSSV

H13S-0022 to numerous thermal and pressure transients. 308

      316. Schlumberger neither investigated nor issue a report on

the failure of SCSSV H13S-0022 installed in Well C. 309




      304
            Agreed Findings of Fact 272-73.
      305
            Agreed Finding of Fact 274.
      306
            Agreed Findings of Fact 321-22.
       May Report, p. 6, Exhibit 50 to Schlumberger' s Response to
      307

Hess's Motion for Judgment, Docket Entry No. 223-53, p. 7.
      308
            Stephen Dunn, TT 2-42:14-15, Docket Entry No. 203, p. 42.
       Andrew Johnston, TT 7-145:7-8, Docket Entry No. 208, p. 145;
      309

TT 8-45:1-3, Docket Entry No. 209, p. 45.
                                    -95-
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      317. Hess argues that the periods during which Wells D and B

experienced low pressure are not relevant to Well C because Well C

was not online then.310

      318. Well C was connected to the Hydraulic Power Unit on May

17, 2015.311

      319. On May 22, 2015, and on June 3, 2015, Hess tried to start

up Hl3S-0022, but was unable to so because the FS-2 isolation valve

was over pressured. 312
      320. Hess succeeded in starting up H13S-0022 on July 20,

2015.313

      321. Hess operated Well C well below the recommended operating

pressure for the first month that Well C was on line.314

      322. The MSE Seal Assemblies in SCSSV H13S-0022 evidence

scratching from downhole debris.315


      °Counsel for Hess, TT 8-122:17-19,
      31
                                                  Docket Entry No. 209,
p. 122.
      311
            Dwayne May, TT 9-65:14-19, Docket Entry No. 216, p. 65.
      312
            Dwayne May, TT 9-65:20-23, Docket Entry No. 216, p. 65.
      313
            Dwayne May, TT 9-65:24-66:1, Docket Entry No. 216, pp. 65-
66.
       Dwayne May, TT 9-66:2-6, 9-142:11-17. Docket Entry No. 216,
      314

pp. 66 and 142. See also Hess Tubular Bells Downhole Valve Failure
Summary (July 28, 2016), Slide 5, DX 299, Exhibit 60 to
Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-64, p. 5.
       Dwayne May, TT 9-50:6-23, Docket Entry No. 208, p. 50; Well
      315

C Photographs, DX 77, Exhibit 32 to Schlumberger's Response to
                                                    (continued... )
                                    -96-
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     323. The thermal and pressure transients from Hess's operation

and the scratching from downhole debris caused the failure of SCSSV

Hl3S-0011 installed in Well B. 316



                                   (4)    Well B(2)

     324. SCSSV Hl3S-0025 was installed as a replacement for the

failed Well B safety valve at a depth of approximately 8,680 feet

below sea level around or about May 20, 2016. 317

     325. Production from Well B(2) resumed on June 14, 2016. 318

     326. Production from Well B(2) continued until March 18, 2018,

when SCSSV Hl3S-0025 experienced a non-command closure and blocked

all production. 319

     327. SCSSV       Hl3S-0025   was    installed    in   Well   B (2)   for

approximately 605 days before it experienced the non-commanded

closure that blocked all production on March 18, 2018. 320




       ( ••• continued)
     315

Hess's Motion for Judgment, Docket Entry No. 223-35.

       Dwayne May, TT 9-7:24-8:11, and 9-43:2-9,
     316
                                                              Docket Entry
No. 208, pp. 7-8, and 43.
     317
           Agreed Findings of Fact 456-457.
     318
           Stephen Dunn, TT 2-18:19-24, Docket Entry No. 203, p. 18.
     319
           Agreed Finding of Fact 461.

       May Report, p. 6, Exhibit 50 to Schlumberger's Response to
     320

Hess's Motion for Judgment, Docket Entry No. 223-53, p. 7.
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     328. Schlumberger neither investigated nor issue a report on

the failure of SCSSV Hl3S-0025 installed in Well B(2).321

     329. The MSE Seal Assemblies in SCSSV Hl3S-0025 evidenced

scratching from downhole debris.322

     330. The similarities in forensic evidence, i.e., scratches,

and failure sequences, i.e., non-commanded closures, experienced by

SCSSV Hl3S-0025 installed in Well 8(2), and the three other failed

Hess valves,    i.e.,   Hl3S-0010 installed in Well          D,   Hl3S-0011

installed in Well B, and H13S-0022 installed in Well C, persuade

the court that SCSSV Hl3S-0025 failed for the same reasons as did
the other Hess SCSSVs.323

     331. The thermal and pressure transients from Hess's operation

and the scratching from downhole debris caused the failure of SCSSV

Hl3S-0025 installed in Well B(2).324




       Andrew Johnston, TT 7-145:9-146:3, Docket Entry No. 208,
     321

pp. 145-46; TT 8-45:1-3, Docket Entry No. 209, p. 45.
       Dwayne May, TT 9-52:15-21, Docket Entry No. 208, p. 52. See
     322

also DX 76, Well B(2); Photographs, Exhibit 31 to Schlumberger's
Response to Hess's Motion for Judgment, Docket Entry No. 223-34.
       Dwayne May, TT 9-35:8-12, Docket Entry No. 208, p. 35 ("Q
     323

Did you see similar forensic evidence on the other three safety
valves in Wells B, C, and B(2)? A Yes. When I looked at the
data, the failure sequence is very similar.     I can, basically,
mimic the failure modes of those particular seals.").
       Dwayne May, TT 9-7:24-8:11,
     324
                                           and 9-43:2-9,      Docket Entry
No. 208, pp. 7-8, and 43.
                                   -98-
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                        b.      The Alleged Violations of API 14A, Eleventh
                                Edition, Did not Substantially Impair the
                                Value of the SCSSVs to Hess

       332. Because the court has found in§ III.C, above, that Hess

failed to established by a preponderance of the credible evidence

that the SCSSVs did not conform to API 14A, Eleventh Edition, and

in §         III.D.i,        above,   that   Hess   failed   to   establish   by   a

preponderance of the credible evidence that the alleged violations

of API 14A, Eleventh Edition, caused the SCSSVs to fail, the court

finds that Hess has failed to establish by a preponderance of the

credible evidence that the alleged violations of API 14A, Eleventh

Edition, substantially impaired the value of the SCSSVs to Hess.

       333. The only evidence that the value of the SCSSVs to Hess

was substantially impaired is evidence that the SCSSVs were rated

for 25-years but that they failed long before the 25-year rating

period expired.325

       334. Alternatively, because the only evidence that the value

of the SCSSVs to Hess was substantially impaired is that the SCSSVs

failed to perform for the 25-year period for which they were rated,

and because the court has already held that Hess may not recover

damages arising from the failure of the SCSSVs to perform longer

than the one-year warranty period, 326 the court finds hat Hess


       325
             Dwayne May, TT 9-100:9-101:12, Docket Entry No. 216, p. 100.
      For reasons stated in the June 29, 2017, Memorandum Opinion
       326

and Order, Docket Entry No. 40, p. 17, the court has already
                                                   (continued... )

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failed to establish by a preponderance of the credible evidence

that    the          alleged    violations   of    API    14A,   Eleventh    Edition,

substantially impaired the value of the SCSSVs to Hess, even if

Hess had established that the SCSSVs did not conform to API 14A,

Eleventh Edition, and the alleged violations of API 14A, Eleventh

Edition, caused the SCSSVs to fail.



                    v.     Hess Failed to Establish by a Preponderance of the
                           Credible Evidence that Revocation Occurred "before
                           Any Substantial Change in Condition of the [SCSSVs}
                           which [was] Not Caused by Their Own Defects" 327

       335. Hess used each of the SCSSVs for more than one year

before they failed.

       336. Hess's use of the SCSSVs substantially changed their

condition.

       337. The substantial change in the SCSSVs' condition was not

caused         by    the    alleged   defects,    i.e.,   the    failure    have   been

manufactured in conformity with API 14A, Eleventh Edition.

       338. Citing Deere & Co. v. Johnson, 271 F.3d 613, 620 (5th Cir.

2001), Hess argues that in almost all cases where courts have found

that a substantial change occurred, the buyer affirmatively engaged


        ••• continued)
       326 (

dismissed Hess's claims for breach of warranty holding that "Hess
may proceed with its claims based on the alleged non-conformity of
the [SC]SSVs at the time of delivery. Hess may not proceed with
its claims based on the failure of the [SCJSSVs to function after
the warranty period had expired."
       327
             Tex. Bus. & Com. Code Ann. § 2.608 (b) .
                                           -100-
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in some unforeseen activity that altered the goods but that "Hess

engaged in no such activity here." 328

     339. The credible evidence does not support Hess's argument.

Hess altered the SCSSVs by engaging in unforeseen activities, i.e.,

operating the wells with inexperienced and insufficiently trained

personnel, frequently operating the wells at lower than adequate

pressure to hold the SCSSVs open, and shutting down the wells an

"uncommonly high" number of times.

     340. By operating the wells and the SCSSVs with inadequately

experienced or trained personnel, and by operating the wells at

less than adequate pressure to hold the SCSSVs open,                thereby

exposing the SCSSVs to "uncommonly high" numbers of shutdowns and

thermal swings, Hess routinely exposed the MSE Seal Assemblies to

wellbore fluids and debris that scratched them.329

     341. Scratching      compromised     the   MSE   Seal   Assemblies      by

creating a path for pressure to leak between seal sets, pressuring

the seals from the wrong direction, and causing them to blow out.330
     342. Hess observes that FRA Rev. 7 called the scratches on the

MSE Seal Assemblies in H13S-0010 installed in Well D "minor," but

that characterization was based on photographs taken at a low


     328
           Hess's Motion for Judgment, Docket Entry No. 222, p. 44.
       Andrew Johnston, TT 7:150:13-154:5, Docket Entry No. 208,
     329

pp. 150-54; Dwayne May, TT 4:155:13-161:9, Docket Entry No. 205,
pp. 155-61, and TT 9-39:6-43:12, Docket Entry No. 216, pp. 39-43.
     330
           Dwayne May, TT 4-159:10-19, Docket Entry No. 205, p. 159.
                                  -101-
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magnification, and photographs taken later at higher magnification

showed more extensive scratching. 33 1

      343. Photographs taken of the MSE Seal Assemblies from each of

the failed Hess SCSSVs show that they all have similar scratching

and grooves: 332 (a) SCSSV H13S-0010 installed in Well D; 3 3 3 (b) SCSSV

Hl3S-0011 installed in Well B; 334 (c) SCSSV Hl3S-0022 installed in

Well C; 335 and ( d) SCSSV Hl3S-0025 installed in Well B ( 2) . 336

      344. Hess argues that the scratching occurred after the MSE

Seal Assemblies failed, but the credible evidence established that

the scratching occurred while the pistons were still operable

before the SCSSVs failed, and could not have occurred once the

SCSSVs failed and the pistons stopped moving. 3 37

      345. Hess's       unforseen   operating   activities   substantially

altered the SCSSVs by exposing them to debris that badly scratched

the MSE Seal Assemblies and made them useless for sealing.

      33 1 Dwayne   May, TT 9-4 9: 22-50: 5, Docket Entry No. 216, pp. 4 9-
50.
      332
             Dwayne May, TT 9-50: 6-23, Docket Entry No. 216, p. 50.

       Well D Photographs, DX 78, Exhibit 33 to Schlumberger's
      333

Response to Hess's Motion for Judgment, Docket Entry No. 223-36.

       Well B Photographs, DX 75, Exhibit 30 to Schlumberger's
      33 4

Response to Hess's Motion for Judgment, Docket Entry No. 223-33.
       Well C Photographs, DX 77, Exhibit 32 to Schlumberger's
      335

Response to Hess's Motion for Judgment, Docket Entry No. 223-35.

       Well D Photographs, DX 76, Exhibit 31 to Schlumberger's
      33 6

Response to Hess's Motion for Judgment, Docket Entry No. 223-34.
      337
             Dwayne May, TT 9-47: 3-48: 22, Docket Entry No. 216, p. 48.

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     346. Hess's use of SCSSV H13S-0010 installed in Well D, for

approximately 465 days substantially changed its condition, which

was not caused by any alleged non-conformity.

     347. Hess's use of SCSSV H13S-0011 installed in Well B, for

approximately 575 days substantially changed its condition, which

was not caused by any alleged non-conformity.

     348. Hess's use of SCSSV H13S-0022 installed in Well C, for

approximately 455 days years substantially changed its condition,

which was not caused by any alleged non-conformity.

     349. Hess's use of SCSSV H13S-0025 installed in Well B(2) for

approximately 605 days substantially changed its condition, which

was not caused by any alleged non-conformity.



     D.    Damages

     Because Hess failed to establish by a preponderance of the

credible evidence that it justifiably revoked its acceptance of any

of the four SCSSVs, Hess has failed to establish that Schlumberger

breached the parties' agreement or that it is entitled to recover

damages.   Nevertheless, because the legal issues in this case are

complicated, and because the attorneys, parties, and the court have

devoted substantial time and energy to Hess's claims for damages,

the court will address those claims so that if a higher court

disagrees with the court's rulings on liability, the parties and

the court will not then need to revisit them.


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     Hess seeks damages of $217,900,795.00 consisting of the cost

to purchase new SCSSVs, the cost to workover each well to retrieve

and replace the failed SCSSVs, and lost profits from Well B

deriving from the Gunflint tie-in to the Gulfstar One production

platform.338       Schlumberger argues that Hess has failed to prove its

claimed damages because Hess failed to prove that its' workover

costs were commercially reasonable, failed to reliably calculate

its' damages calculations, and failed to prove that Schlumberger

could foresee lost profits resulting from the Gunflint tie-in.

Schlumberger also argues that it is entitled to a credit for the
value of Hess's use of the SCSSVs.339



              i.     Schlumberger Is Not Entitled to a Credit for Hess's
                     Use of the Failed SCSSVs

     350. Schlumberger argues that it is entitled to a credit for

the value of Hess's use of the SCSSVs, 340 but failed to support that

argument by presenting evidence or methodology for calculating the
amount of value Hess obtained from using the four failed SCSSVs. 341

     338
           Hess's Motion for Judgment, Docket Entry No. 222, p. 45.
       Schlumberger's Response to Hess's Motion for Judgment,
     339

Docket Entry No. 223, pp. 47-50.
     340
           Id. at 49.
       Citing two experts' reports and asserting that "Hess
     341

received significant value from the valves," id., Schlumberger
argues that "using an average oil price of $45 per barrel, it
grossed over $175 million for Well B (1), $229 million for Well
8(2), $108 million for Well C, and $94 million for Well D." But
                                                  (continued... )
                                    -104-
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               ii.   Failure of the SCSSVs Caused Hess to Incur the
                     Following Costs and Loss of Deferred Compensation

                     a.   Well D Damages

      351. SCSSV H13S-0010 was installed in Well D on April 7,

2014. 342

      352. Production from Well D began on January 14, 2015.343

      353. SCSSV H13S-0010 was installed in Well D for approximately

465 days before it failed, blocking production on July 22, 2015.344

      354. Production from Well D was restored around February 27,

2016.345

                          (I)   Cost of Cover for Failed SCSSV Hl3S-0010

      355. Hess replaced SCSSV Hl3S-0010 with another 5-1/2" TRC-II-

15K SCSSV, Serial Number H15S-0088           (Well D (2)) purchased from

Schlumberger on November 24, 2014.346

      356. SCSSV H15S-0088 cost $720,680.00.347


       ( ••• continued)
      341

the SCSSVs were only one small part of the infrastructure needed to
produce hydrocarbons from the wells. Schlumberger fails to offer
evidence, methodology, are argument for how the cited information
should be used to calculate the value of Hess's use of the SCSSVs.
      342
            Agreed Finding of Fact 202.
      343
            Agreed Finding of Fact 204.

       May Report, p. 6, Exhibit 50 to Schlumberger's Response to
      344

Hess's Motion for Judgment, Docket Entry No. 223-53, p. 7.
       Expert Report of Terry D. Payne ("Payne Report"), p. 18, PTX
      345

375, Exhibit 80 to Schlumberger's Response to Hess's Motion for
Judgment, Docket Entry No. 223-84, p. 8.
      346
            Agreed Findings of Fact 306, 732, and 753.
      347
            Agreed Finding of Fact. 146.       See also Calculation of
                                                         (continued ...)
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                        (II) Incidental Costs to Retrieve and Replace
                             Failed SCSSV Hl3S-0010

     357. Restoring production to Well D required Hess to workover

the blocked well, a process that involved retrieving the production

equipment - including the SCSSV - and replacing it. 348

     358. Workover operations are costly, time-intensive operations

that require the use of sophisticated drilling rigs manned by

experienced, well-equipped crews. 349

     359. When SCSSV H13S-0010 failed, Hess had under contract and

operating in the Tubular Bells Field, the Stena Forth, a drillship

capable of drilling in water depths up to 10,000 feet staffed with

an experienced crew. 350

     360. Before SCSSV H13S-0010 failed Hess had a pre-planned

exploration and production schedule for the Stena Forth that

extended through mid-2017 and possibly into 2018, and did not

include any workover operations. 351



       ( ••• continued)
     347

Damages for the Cost of Non-Conforming Safety Valves Plus Cover,
PTX 605, Exhibit 52 to Hess's Motion for Judgment, Docket Entry
222-54; Barry Pullium, TT 6-94:16-96:15, Docket Entry No. 207,
pp. 94-96.
       Jason Sapp, TT 5-92:6-97:24, Docket Entry No. 206, pp. 92-97
     348

(describing the process for removing and replacing a failed SCSSV) .
     349
           Jason Sapp, TT 5-93:4-10, Docket Entry No. 206, p. 93.
       Rolle Hogan, TT 5-146:4-149:13,
     350
                                                Docket   Entry No.     206,
pp. 146-49.
       Rolle Hogan, TT 5-153:2-155:19,
     351
                                                Docket   Entry No.     206,
pp. 153-55.
                                  -106-
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     361. Hess used the Stena Forth drillship to conduct the Well D

workover required to retrieve and replace the failed SCSSV.352

     362. Using the Stena Forth was the most efficient, cost­

effective way to work the well over and mitigate damages because

seeking an alternative drillship or rig would have required Hess to

undertake a costly and time-consuming efforts to find a ship or rig

that was both suitable and available, negotiate a contract with the

owner, obtain necessary permits, and mobilize a new ship or rig to

the Tubular Bells Field.353

     363. A few months before the SCSSV failures Hess negotiated a

lower day rate for the Stena Forth, PTX 425.-15, resulting in a

"market competitive rate" for the workovers.354

     364. Schlumberger      argued,    but   failed    to    prove    by     a

preponderance of the evidence, that by using the Stena Forth to

workover Wells D, Well B, and Well C, Hess saved $74.6 million in

standby expenses.

     365. The Stena Forth performed the Well D workover over a 65-

day period between December 23, 2015, and February 26, 2016.355



       Jason Sapp, TT 5-125:21-23, and Rolle Hogan, TT 5-146:4-
     352

149:13, Docket Entry No. 206, pp. 125 and 146-49.

       Rolle Hogan, TT 5-151:6-153:1, 5:162:11-167:16, Docket Entry
     353

No. 206, pp. 151-56, 162-67.
       Rolle Hogan, TT 5-164:16-165:19, 5-185:5-9, Docket Entry
     354

No. 206, pp. 164-65 and 185 (Hess negotiated the Stena Forth day
rate down from $563,000.00 to $498,000.00).
     355
           Jason Sapp, TT 5-90:6-10, 5-115:5-116:25,         Docket Entry
                                                            (continued... )

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     366. The Well D workover cost Hess $63,060,880.00.356

     367. The cost of the Well D workover includes $600,000 for

"investigation expenses," which are pre-workover expenses that Hess

incurred for investigation or for troubleshooting Well B. 357

     368. But for the failure of SCSSV H13S-0010 installed in

Well D, Hess would not have needed to replace SCSSV H13S-0010 or

conduct the required workover. 358

     369. Hess has proved by a preponderance of the evidence that

the cost of new SCSSV H15S-0088 for Well D, and the cost to

retrieve and replace failed SCSSV H13S-0010 was $63,781,560.00. 359




       ( •••continued)
     355

No. 206, pp. 90, and 115-16 (explaining that time allocated to
workover included time to mobilize and demobilize the drillship).

       Retrieval and Replacement Expenses, PTX 606, Exhibit 53 to
     356

Hess's Motion for Judgment, Docket Entry 222-55; Barry Pullium, TT
6-103:21-105:8, 6-121:12-123:25, Docket Entry No. 207, pp. 103-05,
and 121-23. See also Aladham Ismail, TT 6-62:2-63:19, Docket Entry
No. 207, pp. 62-63; Carmen Eggleston, TT 10-22:15-19 (workover
costs for Well D using her preferred numbers was $63,000,000.00).

       Barry Pullium, TT 6-107:8-12, Docket Entry No. 207, p. 107.
     357

See also Retrieval and Replacement Expenses, PTX 606, Exhibit 53 to
Hess's Motion for Judgment, Docket Entry 222-55.
       Carmen Eggleston, TT 10-35:24-35:2, Docket Entry No. 218,
     358

pp. 35-36.

       Summary of Damages by Claim and Valve, PTX 604, Exhibit 51
     359

to Hess's Motion for Judgment, Docket Entry 222-53; Barry Pullium,
TT 6-93:14-94:11, Docket Entry No. 207, pp. 93-94.

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                    b.   Well B Damages

     370. SCSSV H13S-0011 was installed in Well             B on May 28,

2014.360

     371. Production from Well B began on December 14, 2014.361

     372. SCSSV Hl3S-0011 was installed in Well B for approximately

575 days before it failed, blocking production around January 30,

2016.362

     373. Well B production was restored around June 14, 2016.363



                         (I)   Cost of Cover for Failed SCSSV Hl3S-0011

     374. Hess replaced SCSSV H13S-0011 with another 5-1/2" TRC-II-

15K SCSSV, Serial Number H13S-0025 (Well B (2)) that Hess had in

stock and intended to use in another well.

     375. Hess purchased SCSSV         H13S-0025 from Schlumberger           in

October 2013 for $572,430.00.364



     360
            Agreed Findings of Fact 232-233.
     361
            Agreed Finding of Fact 234.

       Agreed Finding of Fact 310; May Report, p. 6, Exhibit 50 to
     362

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-53, p. 7.

       Payne Report, p. 14, PTX 375, Exhibit 80 to Schlumberger's
     363

Response to Hess's Motion for Judgment, Docket Entry No. 223-84,
p. 4.
       Agreed Finding of Fact 227. See also Calculation of Damages
      364

for the Cost of Non-Conforming Safety Valves Plus Cover, PTX 605,
Exhibit 52 to Hess's Motion for Judgment, Docket Entry 222-54,
p. 2; Barry Pullium, TT 6-94:16-96:15, Docket Entry No. 207,
pp. 94-96.

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     376. Pulling SCSSV H13S-0025 from inventory forced Hess to

incur an expedite fee of $173,000.00 paid to Baker Hughes to

replenish its then-depleted inventory. 365

     377. Purchasing a valve needed to replenish Hess's depleted

inventory from Baker Hughes, even though replacing it required an

expedite fee, was a reasonable commercial decision by Hess. 366

     378. The total cost of the new SCSSV purchased to replace the

failed SCSSV H134S-0011 installed in Well B was $745,430.00. 367



                       (II) Incidental Costs to Retrieve and Replace
                            Failed SCSSV H13S-0011

     379. Hess used the Stena Forth drillship to conduct the Well B

workover required to retrieve and replace the failed SCSSV. 368

     380. Using the Stena Forth was the most efficient, cost­

effective way to work the well over and mitigate damages because

seeking out an alternative drillship or rig would have required

Hess to undertake a costly and time-consuming effort to find a ship




       Jason Sapp, 5-84:4-87:3, Docket Entry No. 206, pp. 84-87;
     365

Barry Pullium, TT 6-95:21-96:15, 6-100:10-103:6, Docket Entry
No. 207, pp. 95-96, 100-103.
       Barry
     366
               Pullium, TT 6-101:3-103:6,        Docket   Entry No. 207,
pp. 101-03.

       Calculation of Damages for the Cost of Non-Conforming Safety
     367

Valves Plus Cover, PTX 605, Exhibit 52 to Hess's Motion for
Judgment, Docket Entry 222-54; Barry Pullium, TT 6-94:16-96:15,
Docket Entry No. 207, pp. 94-96.

       Jason Sapp, TT 5-125:21-23, and Rolle Hogan, TT 5-146:4-
     368

149:9, Docket Entry No. 206, pp. 125 and 146-49.
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or rig that was both suitable and available, negotiate a contract

with the owner, obtain necessary permits, and mobilize a new ship

or rig to the Tubular Bells Field.369
     381. Schlumberger       argued,   but    failed   to    prove    by     a
preponderance of the evidence, that by using the Stena Forth to

workover Well D, B, and C, Hess saved $74.6 million in standby

expenses.

     382. Hess performed the Well B workover over a 61-day period

from April to June of 2016.370

     383. The Well B workover cost Hess $61,878,489.00. 371

     384. The       cost of the Well       B workover to    Hess included
$1,840,000 of investigation expenses, and excluded $557,931 of

discretionary expenses. 372

     385. Investigation expenses are pre-workover expenses that

Hess incurred for investigation or for troubleshooting Well B.373


       Rolle Hogan, TT 5-151:6-153:1, 5:162:11-167:16, Docket Entry
     369

No. 206, pp. 151-56, 162-67.
     370
            Jason Sapp, TT 5-90:6-91:11, Docket Entry No. 206, p. 90.
     371
       Barry Pullium, TT 6-104:2-107:7, Docket Entry No. 207,
pp. 104-07; Retrieval and Replacement Expenses, PTX 606, Exhibit 53
to Hess's Motion for Judgment, Docket Entry No. 222-55; ; Barry
Pullium, TT 6-103:21-105:8, 6-121:12-123:25, Docket Entry No. 207,
pp. 103-05, and 121-23.
     37
       Barry Pullium, TT 6-107:8-109:6, Docket Entry No. 207,
        2

pp. 107-09; Retrieval and Replacement Expenses, PTX 606, Exhibit 53
to Hess's Motion for Judgment, Docket Entry No. 222-55; ; Barry
Pullium, TT 6-103:21-105:8, 6-121:12-123:25, Docket Entry No. 207,
pp. 103-05, and 121-23.
     373
            Barry Pullium, TT 6-107:8-12, Docket Entry No. 207, p. 107.
                                   -111-
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        386. Discretionary projects are improvements made to the wells

not related to the SCSSV failures. 374

        387. But for the failure of SCSSV H13S-0011 installed in Well

B,     Hess would not have needed to replace SCSSV H13S-0011 and

conduct the required workover. 375



                             (III)        Consequential    Loss   of    Deferred
                                          Compensation

        388. The Well B safety valve failure shutdown that Well B from

January until June of 2016.

        389. Pursuant to a Production Handling Agreement ("PHA") that

Hess had with Williams, Williams had the right to require Hess to

shut it its wells while it connected production from other fields

to the Gulfstar One platform. 376

        390. In exchange, Williams agreed to pay Hess thirty percent

of     the      estimated   value    of   the   shutdown   production    based   on

(1) production rates immediately before the shutdown and (2) the

market price for oil and gas during the shutdown. 377




        374
               Barry Pullium, TT 6-108:5-12, Docket Entry No. 207, p. 107.
        375
       Carmen Eggleston, TT 10-35:24-35:2, Docket Entry No. 218,
pp. 35-36.
        3 6
         7     Barry Pullium, TT 6-148:1-25, Docket Entry No. 207, p. 148.
         3
       Barry Pullium, TT 6-148:1-151:24, Docket Entry No. 207,
          77
pp. 148-51. See also Production Handling Agreement, PTX 524.

                                          -112-
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       391. Hess shutdown its Tubular Bells wells from April through

June 2016 while another field, the Gunflint Field, was tied in to

the Gulfstar One platform.378

       392. Under      the    terms   of   the   PHA,   Williams   paid   Hess

approximately $4.3 million in deferred-production compensation

relating to all of Hess's Tubular Bells Wells. 379

       393. Because when the Gunflint tie-in occurred Well B was

shutdown and not producing hydrocarbons due to the failure of SCSSV

Hl3S-0011, Hess received no deferred-production compensation for

Well B. 380

       394. Had Well B been producing hydrocarbons at its average

rate immediately before the Gunflint tie-in occurred, Hess would

have    received      an     additional    $5,259,567.00   from    Williams   in

deferred-production compensation.381

       395. In April of 2012 when the parties entered into their

agreement for SCSSVs, Schlumberger had reason to know that the


       378
             Barry Pullium, TT 6-149:1-25, Docket Entry No. 207, p. 149.

       Barry Pullium, TT 6-151:25-160:3 Docket Entry No. 207,
       379

pp. 151-60.   See also Calculation of Gunflint Tie-In Damages,
PTX 607, Exhibit 54 to Hess's Motion for Judgment, Docket Entry
No. 222-56.
       380
             Barry Pullium, TT 6-152:8-16, Docket Entry No. 207, p. 152.
       Barry Pullium, TT 6-152:17-157:6, Docket Entry No. 207,
       381

pp. 152-57.    See also Calculation of Gunflint Tie-In Damages,
PTX 607, Exhibit 54 to Hess's Motion for Judgment, Docket Entry
No. 222-56; Summary of Damages by Claim and Valve, PTX 604, Exhibit
51 to Hess's Motion for Judgment, Docket Entry No. 222-53; Barry
Pullium, TT 6-93:14-94:11, Docket Entry No. 207, pp. 93-94.
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SCSSV failures could strip Hess of deferred-production compensation

under the PHA with Williams because PHAs are not only common in the

oil and gas industry and but also commonly provide for deferred

compensation, and the existence of the Williams-Hess Gulfstar One

PHA was publicly known.382



                             (IV) Conclusions as to Well B

     396. Hess has proved by a preponderance of the evidence that

the cost of cover for SCSSV H13S-0011 that failed while installed

in Well B was $745,430, the cost to retrieve the replace the failed

SCSSV H13S-0011 with new SCSSV Hl5S-0025 was $61,878,489.00, the

amount of deferred compensation that Hess loss because Well B was

shutdown      during   the   period   of   the    Gunflint    tie-in    was

$5,259,567.00, and that the total amount of damages proved for Well

B was $67,883,486.00.383



       Stephen Dunn, TT 2-13:16-16:10 (describing the PHA and
     382

stating that such agreements common in the Gulf of Mexico); Barry
Pullium, TT 6-157:13-158:22, Docket Entry No. 207, pp. 157-58
(describing deferred compensation as a commonly known feature of
PHAs); Final Argument, TT 10-65:12-66:5. Docket Entry No. 218,
pp. 65-66 (summarizing the evidence on the issue of foresee
ability). See also Carmen Eggleston, TT 9-197:3-198:6; Rebuttal
Expert Report of Carmen R. Eggleston and Walter Bratic, pp. 13 �
33, 25 � 59, DX 222, Exhibit 55 to Schlumberger' s Response to
Hess's Motion for Judgment, Docket Entry No. 223-59, pp. 15 � 33
and 27 � 59(challenging Pullium's method of calculating deferred
compensation damages, and Pullium's failure to cite sufficient
evidence to establish that such damages were foreseeable, but not
challenging Hess's entitlement to deferred compensation as
consequential damages); Sur-Reply Expert Report of Carmen R.
Eggleston, DX 223, p. 27 �� 57-59 (same).
     383
           Summary of Damages by Claim and Valve, PTX 604, Exhibit 51
                                                       (continued... )
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                    c.   Well C Damages

     397. SCSSV H13S-0022 was installed in Well C on April 15,

2015.384

      398. Production from Well C began on July 21, 2015.385

      399. SCSSV was installed in Well C for approximately 455 days

before it failed, blocking production around July 17, 2016.386



                         (I)   Cost of Cover for Failed SCSSV H13S-0022

      400. The Well C safety valve was replaced with a Baker Hughes

safety valve, Serial Number SN 1230710, purchased on August 2,

2016, for $600,312.387



                         (II) Incidental Costs to Retrieve and Replace
                              Failed SCSSV Hl3S-0022

      401. Hess used the Stena Forth drillship to conduct the Well C

workover required to retrieve and replace the failed SCSSV.388

      383
           continued)
            ( •••
to Hess's Motion for Judgment, Docket Entry 222-53; Barry Pullium,
TT 6-93:14-94:11, Docket Entry No. 207, pp. 93-94.
      384
            Agreed Finding of Fact 272.
      385
            Agreed Finding of Fact 274.

       Agreed Finding of Fact 322; May Report, p. 6, Exhibit 50 to
      386

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-53, p. 7.
       Agreed Finding of Fact 765; Calculation of Damages for the
     387

Cost of Non-Conforming Safety Valves Plus Cover, PTX 605, Exhibit
52 to Hess's Motion for Judgment, Docket Entry 222-54, p. 2; Barry
Pullium, TT 6-94:16-96:15, Docket Entry No. 207, pp. 94-96.
     388
            Jason Sapp, TT 5-125:21-23, and Rolle Hogan, TT 5-146:4-
                                                       (continued...)
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     402. Using the Stena Forth was the most efficient, cost­

effective way to work the well over and mitigate damages because

seeking out an alternative drillship or rig would have required

Hess to undertake a costly and time-consuming effort to find a ship

or rig that was both suitable and available, negotiate a contract

with the owner, obtain necessary permits, and mobilize a new ship

or rig to the Tubular Bells Field.389

     403. Hess performed the Well C workover over a 60-day period

from November to December of 2016.390

     404. The Well C workover cost Hess $52,138,076.00.391

     405. The Well C workover cost excluded $6,775,106, consisting

of   $4,375,069      of   discretionary     expenses,     $2,400,037         of

demobilization expenses,392 and $194,000 adjustment agreed to by

counsel following the cross-examination of Hess's damages expert. 393



           continued)
     388 ( •••

149:9, Docket Entry No. 206, pp. 125 and 146-49.

       Rolle Hogan, TT 5-151:6-153:1, 5:162:11-167:16, Docket Entry
     389

No. 206, pp. 151-56, 162-67.

       Jason Sapp, TT 5-90:6-91:11, Docket Entry No. 206, p. 90;
     390

Rolle Hogan, TT 5-159:22-25, Docket Entry No 206, p. 159.

       See Retrieval and Replacement Expenses, PTX 606, Exhibit 53
     391

to Hess's Motion for Judgment, Docket Entry No. 222-55; ; Barry
Pullium, TT 6-103:21-105:8, 6-121:12-123:25, Docket Entry No. 207,
pp. 103-05, and 121-23.

       Retrieval and Replacement Expenses, PTX 606, Exhibit 53 to
     392

Hess's Motion for Judgment, Docket Entry No. 222-55.
     393
           Retrieval and Replacement Expenses, PTX 606, Exhibit 53 to
                                                       (continued... )
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     406. Hess has proved by a preponderance of the evidence that

the cost of a new SCSSV for Well C was $600,312.00, and the cost to

retrieve the replace the failed SCSSV H13S-0022 with new SCSSV

SN1230710 was $52,138,076.00, for a total of $52,738,388. 394

     407. But for the failure of SCSSV Hl3S-0022 installed in Well

C, Hess would not have needed to replace SCSSV H13S-0022 or conduct

the required workover. 395



                    d.   Well 8(2) Damages

     408. SCSSV H13S-0025 was installed as a replacement for the

failed Well B safety valve at a depth of approximately 8,680 feet

below sea level around May 20, 2016. 396

     409. Production from Well B(2)resumed in June of 2016. 397



     393
           continued)
           ( •••

Hess's Motion for Judgment, Docket Entry No. 222-55(showing Well C
workover cost was $52,332,076.00). Following cross examination of
Hess's damages expert, Barry Pullium, (TT 6-160:19-194:15, Docket
Entry No. 207, pp. 160-94,) Counsel for Hess agreed that the
workover costs for Well C should be reduced by $194,000.00 from
$52,332,076.00 to $52,138,076.00. See Colloquy with the Court,
TT 8-234:4-235:15, Docket Entry No. 209, pp. 234-35.
     394
       Summary of Damages by Claim and Valve, PTX 604, Exhibit 51
to Hess's Motion for Judgment, Docket Entry 222-53, adjusted by
$194,000.00 as agreed by counsel during trial. See Colloquy with
the Court, TT 8-234:4-235:15, Docket Entry No. 209, pp. 234-35.
       Carmen Eggleston, TT 10-35:24-35:2, Docket Entry No. 218,
     395

pp. 35-36.
     3
      96Agreed     Finding of Fact 456.
     397
           Stephen Dunn, TT 2-18:17-18, Docket Entry No. 203, p. 18.
                                   -117-
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     410. SCSSV      H13S-0025   was   installed    in   Well    B(2)   for

approximately 605 days before it failed, blocking production on

March 18, 2018.398



                       (I)   Cost of Cover for Failed SCSSV Hl3S-0025

     411. The Well B(2) safety valve was replaced with a Baker

Hughes safety valve, Serial Number SN1328137 (Well B(3)), purchased

on March 28, 2017, for $619,370.00. 399



                       (II) Incidental Costs to Retrieve and Replace
                            Failed SCSSV H13S-0025

     412. In order to restore the well and resume production, Hess

had to retrieve and replace the failed SCSSV.

     413. When SCSSV Hl3S-0025 installed in Well B(2) failed Hess

no longer had the Stena Forth drillship under contract.           Instead,

Hess extended the term of the Noble Paul Romano drillship to

conduct the workover and valve replacement.
     414. Schlumberger argued but failed to prove that by using the

Noble Paul Romano to perform the workover on Well B(2), Hess saved

$3.8 million in standby expenses.         DX 222.


       Agreed Finding of Fact 461; May Report, p. 6, Exhibit 50 to
     398

Schlumberger's Response to Hess's Motion for Judgment, Docket Entry
No. 223-53, p. 7.
       Agreed Findings of Fact 77 3-74. See also Summary of Damages
     399

by Claim and Valve, PTX 604, Exhibit 51 to Hess's Motion for
Judgment, Docket Entry 222-53; Barry Pullium, TT 6-93:14-94:11,
Docket Entry No. 207, pp. 93-94.
                                  -118-
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     415. Using the Noble Paul Romano was the most efficient, cost­

effective way to work the well over and mitigate damages. 400

     416. Hess performed the Well B(2) workover over a 45-day

period from March to May of 2018 at a cost of $32,877,992.00. 401

     417. Hess has proved by a preponderance of the evidence that

the cost of a new SCSSV for Well B(2) was $619,370.00, and the cost

to retrieve the replace the failed SCSSV H13S-0025 with new SCSSV

SN1328137 was $32,877,992.00, for a total of $33,497,362. 402

     418. But for the failure of SCSSV H13S-0025 installed in Well

B(2), Hess would not have needed to conduct the Well B(2) workover

or replacement. 403




       Rolle Hogan, TT 5-190:13-191: 8, Docket Entry No. 206,
     400

pp. 190-91; Barry Pullium, TT 6-120:11-121:11, 128:19-130:9, Docket
Entry No. 207, pp. 120-21, 128-30.

       Rolle Hogan, TT 5-189:9-190:18, Docket Entry No. 206,
     401

pp. 189-90; Adalam Ismail, TT 6-36:25-37:4, Docket Entry No. 207,
pp. 36-37; Retrieval and Replacement Expenses, PTX 606, Exhibit 53
to Hess's Motion for Judgment, Docket Entry No. 222-55; ; Barry
Pullium, TT 6-103:21-105:8, 6-121:12-123:25, Docket Entry No. 207,
pp. 103-05, and 121-23.

       Summary of Damages by Claim and Valve, PTX 604, Exhibit 51
     402

to Hess's Motion for Judgment, Docket Entry 222-53, adjusted by
$194,000.00 as agreed by counsel during trial. See Colloquy with
the Court, TT 8-234:4-235:15, Docket Entry No. 209, pp. 234-35.

       Carmen Eggleston, TT 10-35:24-35:2, Docket Entry No. 218,
     403

pp. 35-36.

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             iii. Conclusions

     419. Hess has established by a preponderance of the credible

evidence that it reasonably spent a total of $2,685,792.00 to

obtain the four replacement SCSSVs.

        420. Hess has established by a preponderance of the credible

evidence that it reasonably spent $209,955,437 to investigate and

subsequently retrieve and replace the failed SCSSVs.

     421. Hess has established by a preponderance of the credible

evidence that it actually incurred and paid these expenses, that

these    expenses   represent   the   cost   of   cover   plus   incidental

expenses, and that they commercially reasonable and reasonably

incurred to effect cover.

     422. Hess has established by a preponderance of the credible

evidence that it would be entitled to an additional $5,259,567 in

consequential damages for deferred production compensation that it

would have received fram Williams had Well B not been shutdown

during the Gunflint tie-in period in 2016.

        423. Hess would, therefore, be entitled to $217,900,796.00 in

damages, exclusive of interest, costs, and attorneys fees.




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Damages Summary Table

        Well             D                B                C              8(2)             Total
  Failed SCSSV      H13S-0010        H13S-0011        H13S-0022        H13S-0025
  Replacement       H15S-0088        H13S-0025        SN1230710        SN1328137

     scssv
Cost of New          $720,680.00      $745,430.00      $600,312.00      $619,370.00      $2,685,792.00

scssv
Cost to Retrieve   $63,060,880.00   $61,878,489.00   $52,138,076.00   $32,877,992.00   $209,955,437.00

and Replace

(Workover)

Total to           $63,781,560.00   $62,623,919.00   $52,738,388.00   $33,497,362.00   $212,641,229.00

retrieve and

replace failed

SCSSVs

 Deferred                            $5,259,567.00                                       $5,259,567.00

Compensation
Total              $63,781,560.00   $67,883,486.00   $52,738,388.00   $33,497,362.00   $217,900,796.00




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                            III. Conclusions of Law

      Hess argues that it is entitled to judgment on its breach of

contract      claims as to all four of the                 failed    SCSSVs    because

Schlumberger delivered nonconforming SCSSVs.                  Hess argues that the

SCSSVs were non-conforming when delivered because "[t] he Metal

Spring Energized ("MSE") Seal Assemblies used in [them] were not

API qualified as the parties' contract required                      (liability) and

that non-conformity caused the failures (causation)."404 Hess moves

the   court        to   enter   judgment     in    its     "favor    and    award     it

$217,900,795.00         exclusive   of     interest,       costs,    and    attorneys'

fees. n405        Schlumberger urges the court not to enter judgment in

Hess's favor because "Hess failed to carry its burden on three

scores:      one, it failed to show breach;              two, it failed to show

causation; and three, it failed to show that it revoked acceptance

before       it    substantially    changed       the    valves'     condition."406

Asserting that Hess did not justifiably revoke, and that the entry

of summary judgment on its defense of release and its counterclaim

for indemnity assumes Hess's justifiable revocation, Schlumberger

seeks partial judgment on its indemnity counterclaim in an amount

be determined after it submits evidence of attorneys' fees.407



      404
            Hess's Motion for Judgment, Docket Entry No. 222, p. 11.

      4osrd.

       Schlumberger's Response
      406
                                           to     Hess's    Motion    for    Judgment,
Docket Entry No. 223, p. 11.
      407
            Id. at 47 & n. 17.

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      A.      Jurisdiction

       1.     The court has jurisdiction over this action pursuant to

28   u.s.c.   § 1332.

      2.      The court has jurisdiction over the parties.

      3.      Venue is proper pursuant to 28 U.S.C. § 1391.



      B.      Claims for Breach of Contract Under Texas Law

      4.      The elements of breach of contract under Texas law are:

(a) the existence of a valid contract; (b) performance or tendered

performance by the plaintiff;      (c) breach of the contract by the

defendant; and      (d) damages to the plaintiff resulting from the

breach."      IAS Services Group, L.L.C. v. Jim Buckley & Associates,

Inc., 900 F.3d 640, 652 (5th Cir. 2018).

       5.     The final element requires causation.      To recover on a

breach of contract claim,       "the evidence must show that           Hess

suffered damages and that the damages are the 'natural, probable,

and foreseeable consequence' of the defendant's conduct."               Id.

(quoting Prudential Securities, Inc. v. Haugland, 973 S.W.2d 394,

396-97 (Tex.App.-El Paso 1998, pet. denied)).

       6.     Hess, as the party seeking recovery, bears the burden of

proof to show that Schlumberger breached the parties' contract.

Matador Drilling Co., Inc. v. Post Petroleum Co., 662 F.2d 1190,

1195 (5th Cir. 1981). See also Chalker Energy Partners III, LLC v.

Le Norman Operating LLC, 595 S.W.3d 668, 673 (Tex. 2020) ("A party

seeking to recover under a contract bears the burden of proving

that all conditions precedent have been satisfied.").

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     7.       Based on§ II of the Findings of Fact the court concludes

that the Commercial Agreement,          which incorporates the Master

Service Agreement, constitutes a valid contract between Hess and

Schlumberger governed by Texas law. 408

     8.       The parties agree that their contract is not ambiguous. 409

"When a contract's language is unambiguous, courts must 'construe

the contract as a matter of law."          First Bank v. Brummitt, 519

S.W.3d 95, 105 (Tex. 2017) (quoting Coker v. Coker, 650 S.W.2d 391,

393 (Tex. 1983)).



              i.   Contracts for the Sale of Goods

     9.       Contracts relating the sale of goods are governed by

Article Two of the Uniform Commercial Code, which has been adopted

in Texas as Chapter Two of the Texas Business and Commerce Code.
Tex. Bus. & Com. Code Ann. § 2.102;           Emerson Electric Co. v.

American Permanent Ware Co.,        201 S.W.3d 301,    310   (Tex. App.

Dallas 2006, no pet.); Minsa Corporation v. SFTC, LLC, 540 S.W.3d
155, 159-60 (Tex.App.-Amarillo 2017, pet. denied).

     10.      The Texas Business and Commerce Code displaces common law

rules regarding breach of contracts within its scope.              Trident



       Both parties refer to a Bridging Agreement that amended the
     408

Master Service Agreement, but neither party offered the Bridging
Agreement at trial, and the Bridging Agreement was not admitted as
an exhibit at trial.
     409
           Agreed Finding of Fact 63.
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Steele     Corp.   v.   Wiser   Oil    Co.,    223    S.W.3d     520,   524

(Tex.App.-Amarillo 2006, pet denied) (citing Glenn Thurman, Inc. v.

Moore Construction, Inc., 942 S.W.2d 768, 771 (Tex.App.-Tyler 1997,

no writ)).

     11.     "Goods" is broadly defined to encompass "all things

(including specially manufactured goods) which are movable at the

time of identification to the contract of sale.             fl
                                                                 Propulsion

Technologies, Inc. v. Attwood Coro., 369 F.3d 896, 900 (5th Cir.

2004) (quoting Tex. Bus. & Com. Code Ann. § 2.105(a)).

     12.     Because the parties' Commercial Agreement provides for

the sale of goods (the SCSSVs) Hess's breach of contract claims are

governed by Chapter Two of the Texas Business and Commerce Code.

     13.     A seller breaches a contract for the sale of goods if its

delivery fails     in any respect to       conform   to the contract.

Tex.Bus.& Com. Code Ann. § 2.601.         See also Minsa, 540 S.W.3d at

160 ("Goods are 'conforming' or conform to the contract when they

are in accordance with the obligations under the contract.").

     14.    Non-conformity includes any failure of the seller to

perform according to his obligations under the contract, including

breaches of warranties. Texas Bus. & Com. Code Ann. § 2-714,

Comment 2.

     15.    When goods fail to conform to the contract, the buyer may

reject or accept the goods.      Tex. Bus. & Com. Code Ann. § 2.601.




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     16.   A buyer accepts goods if he agrees to accept them despite

their non-conformity, fails to make an effective rejection, or does

any act inconsistent with the seller's ownership. Tex. Bus. & Com.

Code Ann. § 2.606.

     17.   A buyer effectively rejects non-conforming goods when the

buyer timely notifies the seller that it will not accept the goods.

HCI Chemicals (USA) Inc. v. Henkel KGaA, S.A., 966 F.2d 1018, 1023

(5th Cir. 1992)   (citing Texas Bus. & Com. Code Ann. § 2.602).

     18.   The buyer's notice of rejection must be clear and

unambiguous.   Id.

     19.   Whether the buyer has a breach of contract or breach of

warranty claim is determined by whether the buyer has finally

accepted the goods.     Tex. Bus. & Com. Code Ann. §§ 2.711, 2.714;

Minsa, 540 S.W.3d at 160; Emerson Electric, 201 S.W.3d at 310.

     20.   "Acceptance of goods by the buyer precludes rejection of

the goods accepted."    Minsa, 540 S.W.3d at 160.
     21.   A buyer who rightfully rejects goods or justifiably

revokes his acceptance may recover breach of contract remedies for

delivery of non-conforming goods under § 2.711.          Tex. Bus. & Com.

Code Ann. §§ 2.711, 2.713; Emerson Electric, 201 S.W.3d at 310.

     22.   The remedies for breach of warranty are set forth in
section 2.714,    and are available to a buyer who has finally
accepted goods, but discovers that the goods are defective in some




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manner.    Southwestern Bell Telephone Co. v. DFP Corp., 811 S.W.2d

572, 576 (Tex. 1991).

     23.    To recover on its breach of contract claim, Hess had to

prove that it justifiably revoked its acceptance of the four SCSSVs

at issue.    Emerson Electric, 201 S.W.3d at 310.



            ii.   Justifiable Revocation of Acceptance

     24.    Section 2.608 of the Texas Business and Commerce Code

describes the conditions necessary for revocation:

     (a) The buyer may revoke his acceptance of a lot or
     commercial unit whose non-conformity substantially
     impairs its value to him if he has accepted it . .



            (2) without discovery of such non-conformity if his
            acceptance was reasonably induced either by the
            difficulty of discovery before acceptance or by the
            seller's assurances.

     (b) Revocation of acceptance must occur within a
     reasonable time after the buyer discovers or should have
     discovered the ground for it and before any substantial
     change in condition of the goods which is not caused by
     their own defects. It is not effective until the buyer
     notifies the seller of it.

     (c) A buyer who so revokes has the same rights and
     duties with regard to the goods involved as if he had
     rejected them.

Tex. Bus. & Com. Code § 2.608.

     25.    If    a   buyer   accepts   goods   without     knowledge    of

nonconformity, the buyer may revoke its acceptance if acceptance

was reasonably induced either by the difficulty of discovery before


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acceptance or by the seller's assurances.           Tex. Bus. & Com. Code

Ann. § 2.608(a)(2).

     26.    Non-conformities that require disassembly or destructive

testing to determine conformity are necessarily               difficult to

discover.    Trident Steele, 223 S.W.3d at 527.

     27.    Revocation of acceptance must occur a reasonable time

after the buyer discovers the grounds for revocation.          Tex. Bus. &

Com. Code Ann. § 2.608(b).

     28.    "Revocation   of   acceptance    must     occur   "before   any

substantial change in condition of the goods which is not caused by

their own defects."    Tex. Bus. & Com. Code Ann. § 2.608 Comment 6.

See also Minsa, 540 S.W.3d at 160; Village Mobile Homes, Inc. v.

Porter, 716 S.W.2d 543, 552 (Tex.App.-Austin 1986, writ refused

n.r.e.) (quoting Tex. Bus. & Com. Code Ann. § 2.608 Comment 6).

     29.    The elements of revocation of acceptance under Texas

Business and Commerce Code § 2.608 are:

     (1) initial acceptance (with reasonable assumption that
     the non-conforming item would be cured and it is not
     cured, or without discovery of the non-conforming itern if
     acceptance was induced by difficulty of discovery or by
     seller's assurance); (2) of [a] non-conforming item;
     (3) such non-conformity substantially impairs the value
     to the buyer; (4) and revocation occurs within a
     reasonable time; (5) in any event, the revocation must
     occur before a substantial change in the condition of the
     goods occurs (which change is not caused by defect of
     goods).

Neily v. Arron, 724 S.W.2d 908, 913-14 (Tex. App. - Fort Worth

1987, no writ)).


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     30.   "The   determination    of    each   of   these     elements   is   a

question of fact."    Id. at 914.       See also     Vemex Trading Corp. v.

Technology Ventures, Inc., 563 F. App'x 318, 325 (5th Cir. 2014)

(per curiam) (whether a buyer justifiably revoked acceptance is a

fact issue) (citing Neily, 724 S.W.2d at 913-14).



     C.    Application of Texas Law to the Facts of this Case

     31.   Based on § III.A of the Findings of Fact the court

concludes that Hess's acceptance of each of the four SCSSVs at

issue was induced by Schlumberger's assurances that each SCSSV

conformed to the requirements of API 14A, Eleventh Edition, and by

the difficulty of discovering the alleged non-conformities.

     32.   Based on § III.B of the Findings of Fact the court

concludes that Hess revoked its acceptance of each of the SCSSVs

within a   reasonable    time   after    discovering     the    alleged   non­

conformities.     See A.O. Smith Corp. v. Elbi S.p.A., 123 F. App'x

617, 621-22 (5th Cir.2005) (per curiam) ("because prior testing did

not reveal the defect,      [buyer] timely revoked when it notified

[seller] of the defect within a reasonable time after                 [buyer]

discovered [the latent defect]").

     33.   Based on § III.C of the Findings of Fact the court

concludes that Hess failed to carry its burden of proving that any

of the SCSSVs did not conform to API 14A, Eleventh Edition, or that

any alleged non-conformity caused any of the four SCSSVs to fail.


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The credible evidence showed that the SCSSVs failed due to the way

Hess operated the wells in which the SCSSVs were installed, and not

due to failure of the valves to conform to API 14A §§ 6.3.2.2,

7.6.2, or 7.6.3(c).
     34.   Based on § III. D of the Findings of Fact the court

concludes that the alleged violations of API 14A, Eleventh Edition,

did not substantially impair the value of any of the four SCSSVs at

issue to Hess.

     35.   Based on § III.E of the Findings of Fact the court

concludes that Hess failed to revoke its acceptance of any of the

four SCSSVs at issue before a substantial change to the condition

of the SCSSVs occurred that was not caused by the alleged non­

conformities.

     36.   Based on § III of the          Findings of     Fact the court

concludes that Hess did not justifiably revoke its acceptance of

the SCSSVs.

     37.   Because Hess failed to prove that it justifiably revoked

its acceptance of the four SCSSVs at issue, the proper remedy for

Hess to pursue was a breach of warranty claim under Texas Business

and Commerce Code § 2.714.      Minsa, 540 S.W.3d at 161.

     38.   For reasons stated in its June 29,           2017,   Memorandum
Opinion and Order,     Docket Entry No. 40, the court has already
dismissed Hess's claims for breach of warranty, holding that "Hess

may proceed with its claims based on the alleged non-conformity of


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the [SC]SSVs at the time of delivery.         Hess may not proceed with

its claims based on the failure of the [SC]SSVs to function after

the warranty period had expired."410



     D.    Damages

     39.   "[B]reach of contract damages are not available when a

buyer accepts non-conforming goods.         In that instance, breach of

warranty is the remedy.              Breach of contract remedies are

available, however, to a buyer who, inter alia, properly revokes

acceptance."    A.O. Smith, 123 F. App'x at 619 (citing Selectouch

Corp. v. Perfect Starch, Inc., 111 S.W.3d 830, 834 (Tex. App. -

Dallas 2003, no pet.) ("A buyer who .            justifiably revokes his

acceptance may recover breach of contract remedies for delivery of

non-conforming goods under section 2.711.")).

     40.   The remedies for breach of contract for a sale of goods

are set forth in Texas Business and Commerce Code§§          2.711-2.715.

     41.   In pertinent part§ 2.711 governing "Buyer's Remedies in

General" provides:

     (a) Where the seller fails to make delivery or
     repudiates or the buyer rightfully or justifiably revokes
     acceptance then with respect to any goods involved, and
     with respect to the whole if the breach goes to the whole
     contract (Section 2.612), the buyer may cancel and
     whether or not he has done so may in addition to
     recovering so much of the price as has been paid


       Memorandum Opinion and Order, Docket Entry No. 40, p. 17.
     410

See also Memorandum Opinion and Order, Docket Entry No. 158, pp.13-
14 (same).
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           (1) "cover" and have damages under the next
           section as to all the goods affected whether or not
           they have been identified to the contract; or

           (2) recover damages for non-delivery as provided
           in this chapter (Section 2.713).

Tex. Bus. & Comm. Code § 2.711.

     42.   Section 2.712 governing "Cover" provides:

     (a) After a breach within the preceding section the
     buyer may "cover" by making in good faith and without
     unreasonable delay any reasonable purchase of or contract
     to purchase goods in substitution for those due from the
     seller.

     (b) The buyer may recover from the seller as damages the
     difference between the cost of cover and the contract
     price together with any incidental or consequential
     damages as hereinafter defined (Section 2.715), but less
     expenses saved in consequence of the sellers' breach.

Tex. Bus. & Comm. Code § 2.712.

     43.   Section 2.713 governing "Buyer's Damages for Non-Delivery

or Repudiation" provides:
     (a) Subject to the provisions of this chapter with
     respect to proof of market price (Section 2.723), the
     measure of damages for non-delivery or repudiation by the
     seller is the difference between the market price at the
     time when the buyer learned of the breach and the
     contract price together with any incidental and
     consequential damages provided in this chapter (Section
     2.715), but less expenses saved in consequence of the
     seller's breach.

     (b) Market price is to be determined as of the place for
     tender or, in cases of rejection after arrival or
     revocation of acceptance, as of the place of arrival.
Tex. Bus. & Comm. Code § 2.713.
     44.   A claim for "revocation seeks to put the buyer in the

same position as if he had rejected the goods at the time of


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delivery."     Neal v. SMC Corp., 99 S.W.3d 813,        816 (Tex. App. -

Dallas 2003, no pet.).

     45.     A buyer that has justifiably revoked acceptance of goods

may recover damages for as much of the price as has been paid by

the buyer for the goods.       Tex. Bus. & Comm. Code Ann. § 2.711(a).

     46.     A buyer that has justifiably revoked acceptance of goods

may recover damages for the difference between the market price at

the time when they buyer learned of the breach and the contract

price together with any incidental and consequential damages, but

less expenses saved in consequence of the breach.             Tex. Bus. &

Comm. Code Ann. §§ 2.711(a), 2.713.

     47.     Section   2.715    governing    "Buyer's    Incidental     and

Consequential Damages" provides:

     (a) Incidental damages resulting from the seller's
     breach   include   expenses    reasonably   incurred   in
     inspection, receipt, transportation and care and custody
     of goods rightfully rejected, any commercially reasonable
     charges, expenses or commissions, in connection with
     effecting cover and any other reasonable expense incident
     to the delay or other breach.

     (b) Consequential damages resulting from the seller's
     breach include

             (1) any loss resulting from general or particular
             requirements and needs of which the seller at the
             time of contracting had reason to know and which
             could not reasonably be prevented by cover or
             otherwise; and

             (2) injury to person or property proximately
             resulting from any breach of warranty.

Tex. Bus. & Comm. Code § 2.715.


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     48.    Incidental     damages   include        "the    reasonable    cost   of

replacing   the    defective    [goods]      with    equal    quality     as   that

represented by [the seller], less the salvage value, if any, of the

defective [goods]."        General Supply &          Equipment Co.,       Inc. v.

Phillips, 490 S.W.2d 913, 920 (Tex. App. - Tyler 1972, writ refused

n.r.e.).

     49.    Consequential      damages       "result       naturally,    but     not

necessarily,      from   the   defendant's     wrongful       acts,"    Stuart    v.

Bayless, 964 S.W.2d 920, 921 (Tex. 1998) (per curiam), and "are not

recoverable unless the parties contemplated at the time they made

the contract that such damages would be a probable result of the

breach."    Id.

     50.    "Lost profits may be either direct or consequential

damages, depending on their nature."           Cherokee County Cogeneration

Partners, L.P. v. Dynegy Marketing and Trade, 305 S.W.3d 309, 314

(Tex.App.-Houston [14th Dist.] 2009, no pet.).

     51.    Reasonably foreseeable profits indirectly lost on another

contract due to the breach are consequential damages.                   Id.

     52.    When a buyer justifiably revokes acceptance of goods and

is entitled to incidental damages, "[a]n offset for the value of

the buyer's use is appropriate."              Delhomme Industries,        Inc. v.

Houston Beechcraft, Inc., 735 F.2d 177, 185 n. 12 (5th Cir. 1984).

     53.    If a higher court determines that Hess has proved that it

justifiably revoked its acceptance of the SCSSVs, based on § D of


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the Findings of Fact, § II.D, above, the court concludes that Hess

has proved that would be entitled to recover damages totaling

$217,900,796.00, which consist of the following:

     (1)    $2,685,792.00 in damages for the cost of the failed

            SCSSVs, and the difference between the contract price and

            the market price at the time Hess learned of the breach;

     ( 2)   $209,955.437.00      in     incidental    damages     for   costs

            reasonably incurred to retrieve and replace the failed

            SCSSVs; and

     (3)    $5,259,567.00   in    consequential      damages    for   loss   of

            deferred compensation for the mandatory shut-down of Well

            B during the period that the Gunflint field was tied-in

            to the Gulfstar One production facility.

     54.    Hess also sought damages for $6.06 million in methanol­

contamination damages, but for the reasons stated in its November

7, 2019, Memorandum Opinion and Order, Docket Entry No. 158, the

court has held that Hess released and waived the right to recover

for damages to or loss of Hess's property, and that Hess's claim

for methanol-related damages is a claim for damage to or loss of

Hess's property that Hess has released. 411




     4
      11 Memorandum Opinion and Order, Docket Entry No. 158, pp. 44-
46, and 77.
                                      -135-
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     E.     Sclumberger's Affirmative Defense of Release and Waiver
            and Counterclaim for Indemnity

     55.    The provisions of the Texas Business and Commerce Code

governing contracts for sale of goods may be altered by agreement

of the contracting parties.      Tex. Bus. & Com. Code Ann. § 1.302(a)

("Except as otherwise provided . . . elsewhere in this title, the

effect of provisions of this title may be varied by agreement.").

See Gasmark, Ltd. v. Kimball Energy Corp., 868 S.W.2d 925, 928

(Tex.App.-Fort Worth 1994, no writ) (citing earlier codification of

Tex. Bus. & Com. Code § 1.302).

     56.    Section 2.719 of the Texas Business and Commerce Code

allows parties to limit remedies and provides in part:

     (a) Subject to the provisions of (b) and (c) of this
     section and of the preceding section on liquidation and
     limitation of damages,

            (1) the agreement may provide for remedies in addition
            to or in substitution for those provided in this chapter
            and may limit or alter the measure of damages recoverable
            under this chapter, as by limiting the buyer's remedies
            to return of the goods and repayment of the price or to
            repair and replacement of non-conforming goods or parts;
            and

            (2) resort to a remedy as provided is optional unless
            the remedy is expressly agreed to be exclusive, in which
            case it is the sole remedy.

Tex. Bus. & Com. Code Ann § 2.719.

     57.    Schlumberger asserts that "Hess's claims are barred by

release,"    because   "[t]he    Master    Service    Contract     released




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[Schlumberger] from all claims brought by any party for any and all

'damage to or loss of property.' 11412

       58.      Schlumberger asserts that "[b]y filing a lawsuit, Hess

has    breached       its   obligation   to         defend    and   hold       harmless

[Schlumberger] against these claims,          11413
                                                      and that "Hess's indemnity

obligations require Hess to indemnify [Schlumberger] for attorney's

fees already incurred in defending against the claims asserted by

Hess. 11414

       59.      Schlumberger asserts that it "is entitled to indemnity

from Hess for the Claims in this lawsuit, including recovery in the

amount of Schlumberger's costs, attorneys' fees, and other expenses

incurred in defending this litigation. 11415

       60.      Section 13 (c) of the Master Service Contract requires

Hess to "fully release, defend, indemnify, and hold [Schlumberger]

harmless from and against all claims . . . for any and all damage

to or loss of property of [Hess],              11     including "production and

drilling equipment . . . subsurface reservoirs and any oil and gas

or other hydrocarbon substances located therein.                       11416




       Defendant's
      412
                     Answer   and     Affirmative Defenses and
Counterclaims to Hess's Third Amended Complaint, Docket Entry
No. 72, p. 19 (citing MSC at § 13 (c) (1)).
      413
             Id. at 21 <JI 11.
      414
             Id. at 21 <JI 12.

       Schlumberger's Proposed Conclusions of Law, Exhibit L to
      415

Amended Joint Pretrial Order, Docket Entry No. 163-12, p. 15 # 86.
       416
             Master Service Contract,    § 13 (c)1,          PTX 68,     Docket Entry
                                                                       (continued... )

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        61.      Section 13(a)3 of the Master Service Contract defines

"claims" as including "all claims,                   demands,    suits,    causes of

action,         losses,      liabilities,      damages       (including,      without

limitation,         compensatory,      and    exemplary),       judgments,    awards,

obligations to defend or indemnify others, and other costs of every

kind and character (including, without limitation, court costs,

attorneys' fees, debts and interest), known or unknown, whether the

underlying         claim,    demand,    or    suit    is    groundless,      false   or

fraudulent. " 417

        62.      Section 13(i) of the Master Service Contract states that

" [ i] n the event that either party hereto is required to seek

judicial enforcement of the contractual indemnities and other

obligations and liabilities of the other party, the party entitled

to     such      protection     hereunder     shall    recover       all   reasonable

attorneys'         fees,    court costs and other expenses incurred                  in

connection         with     pursuing   that    claim       through   litigation      or

otherwise. " 418

        63.      The Master Service Contract is a binding and enforceable

contractual release and indemnity agreement between the parties.




           continued)
        416 ( ••
             •
No. 223-72, p. 7 (Section 13(c) is quoted in substantial part in
Findings of Fact 62-63, supra).
        4
         17   Id. § 13(a)3, Docket Entry No. 223-72, p. 7.
        418
              Id. at § 13(i), PTX 68, Docket Entry No. 223-72, p. 13.
                                         -138-
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     64.   Section 13(c) of the Master Service Contract obligates

Hess to indemnify Schlumberger for "damage to or loss of property

of [Hess]."

     65.   A release is an agreement or contract in which one party

agrees that a legal right or obligation owed by the other party is

surrendered. Dresser Industries, Inc. v. Page Petroleum, Inc., 853

S.W.2d 505, 508 (Tex. 1993).

     66.   A release is subject to the normal rules of contract

construction, including the rules of ambiguity.            National Union

Fire Insurance Company of Pittsburgh v. Insurance Company of North

America, 955 S.W.2d 120, 127 (Tex.App.-Houston [14th Dist.] 1997),

aff'd, 20 S.W.3d 692 (Tex. 2000).

     67.   A release extinguishes a claim or cause of action and is

an absolute bar to any right of action on the released matter.

Dresser Industries, 853 S.W.2d at 508.

     68.   To release a claim the releasing instrument must mention

the claim to be released, but it is not necessary for the parties

to anticipate and explicitly identify every potential cause of

action relating to the subject matter of the release.              Victoria

Bank & Trust Co. v. Brady, 811 S.W.2d 931, 938 (Tex. 1991).

     69.   [I] n order to establish the affirmative             defense of

release, the party asserting the defense of release is required to

prove the elements of a contract."         Vanderbilt Mortgage & Finance,




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Inc. v. Flores, 692 F.3d 358, 364 (5th Cir. 2012) (quoting In re

J.P, 96 S.W.3d 830, 835 (Tex.App.-Fort Worth 2009, no pet.)).

     70.     "In construing a release, as with other contracts, the

primary effort is to ascertain and give effect to the intention of

the parties to the release, considering the instrument as a whole."

D.R. Horton-Texas, Ltd. v. Savannah Properties Associates, L.P.,

416 S.W.3d 217, 226 (Tex.App.-Fort Worth 2013, no pet.).

     71.     "Waiver is the intentional relinquishment of a right

actually known, or intentional conduct inconsistent with claims of

that right."     Ulico Casualty Co. v. Allied Pilots Association, 262

S.W.3d 773, 778 (Tex. 2008).

     72.     The elements of waiver under Texas law are " (1) an

existing right, benefit, or advantage held by a party;                 (2) the

party's actual knowledge of its existence;              and   (3) the party's

actual intent to relinquish the right,            or intentional conduct

inconsistent with the right."        Id.

     73.     An indemnity agreement is a promise to safeguard or hold

the indemnitee harmless against either existing and/or future loss

liability,     and   creates   a   potential    cause    of   action   in   the

indemnitee against the indemnitor.          Dresser Industries, 853 S.W.2d

at 508.

     74.     When parties include an indemnity agreement in a contract

the duty to indemnify generally includes a duty to pay for all

costs and expenses associated with defending suits against the


                                    -140-
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indemnitee.      Keystone Equity Management v. Thoen, 730 S.W.2d 339,

340 (Tex.App.-Dallas 1987, no writ) ("The ordinary and commonly

accepted meaning      of   the phrase      'indemnify,   defend,   and   hold

harmless'        . encompasses attorneys' fees           . We hold that the

[contractual] promise to defend . . . suits in connection with the

promises' includes the obligation to pay for the defense of such

suits.").

     75.      Under Texas law, a contractual indemnity claim has five

elements:

     (1) a contractual indemnity agreement exists; (2) the
     indemnity agreement obligates one party to indemnify the
     other for particular claims; (3) those claims were made;
     (4) all conditions precedent for recovery have occurred
     or been waived or excused; and (5) the party seeking
     relief has been damaged.

AXA Corporate Solutions v. Lectrus Corp., Action No. 4:15cv3606,

2016 WL 6601049,      at   *3 (S.D. Tex. November 8,         2016) (citing

Transamerica Ins. Co. v. Avenell, 66 F.3d 715, 719 (5th Cir. 1995)

(per curiam)).

     76.      Indemnity and release provisions are "strictly construed

in favor of the indemnitor."      Keystone Equity, 730 S.W.2d at 340.

     77.      Schlumberger argues that§ 13(c) of the MSC applies to

each of the four categories of damages that Hess seeks: replacement

safety valves,      workovers,   deferred compensation,       and methanol

contamination costs.418


     418
           Schlumberger' s Proposed Conclusions of Law,      Exhibit L to
                                                            (continued ...)

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        78.      For   the   reasons    stated    in     its    November      7,      2019,

Memorandum Opinion and Order, Docket Entry No. 158, the court held

that Hess did not expressly release or waive the right to challenge

the non-conformities alleged in this action, and only agreed to

release and indemnify Schlumberger for damage to or loss of Hess's

property. 419

        79. For the reasons stated in its November 7, 2019, Memorandum

Opinion and Order,           Docket Entry No.          158,    the court held that

"Hess's claims for costs to purchase replacements for the failed

valves, costs to retrieve and replace the failed valves, and lost

profits from the Gulfstar One facility are not claims for damage to

or loss of Hess's property, but that Hess's claims for methanol

contamination          are   claims    for    damage     to    or   loss   of       Hess's

property. " 420

        80.      For   the   reasons    stated    in     its    November      7,      2019,

Memorandum Opinion and Order, Docket Entry No. 158, the court also

held that Hess's claim for methanol-related damages is a claim for

damage to or loss of Hess's property that Hess has released, and




          continued)
        418 ( •••

Amended Joint Pretrial Order,                Docket Entry No.       163-12,        <J[<J[ 6-28
pp. 4-8.
        419
              Memorandum Opinion and Order, Docket Entry No. 158, pp. 22-
44
        420
              Id. at 77.
                                         -142-
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the court has granted Schlumberger summary             judgment on that

claim.421
     81.      Because the court has held that Hess's claim for methanol

damages is a claim for damage to or loss of Hess's property, which

the court has resolved in Schlumberger's favor, 422 Schlumberger is

entitled to recover from Hess all reasonable attorneys' fees, court

costs and other expenses incurred in connection with defending

Hess's claim for methanol-related damages pursuant to §§              13 (c)

and 13(i) of the Master Service Contract.

     82.      Because the court has held that Hess's damages for costs

to purchase replacements for the failed valves, costs to retrieve

and replace the failed valves, and lost profits from the Gulfstar

One facility, are not damages for damage to or loss of Hess's

property, Schlumberger would not be entitled either to indemnity or

to attorneys fees, court costs, or other expenses for defending

itself against Hess's breach of contract claims for those damages

pursuant to§§     13(c) and 13(i) of the Master Service Contract. See

Building Specialties, Inc. v. Liberty Mutual Fire Insurance Co.,

712 F.Supp.2d 628, 645-46 (S.D. Tex. 2010) (holding that a claim

seeking damages "for the cost of repairing                .defective duct
work" did not involve "property damage").




     421
           Id. at 44-46, and 77.
     422Id.



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     F.    Attorneys' Fees

     83.   "State      law   controls   both   the    award   of    and     the

reasonableness    of    [attorneys']    fees   awarded   where     state    law

supplies the rule of decision."         Mathis v. Exxon Corp., 302 F.3d

448, 461 (5th Cir. 2002).

     84.   Under Texas law attorneys' fees are recoverable in a suit

only if they are authorized by contract or statute.                Tucker v.

Thomas, 419 S.W.3d 292, 295 (Tex. 2013).

     85.   The   determination of       reasonable    attorneys'     fees    is

usually a question for the trier of fact.            Emerson Electric, 201

S.W.3d at 317 (citing Stewart Title Guaranty Co. v. Sterling, 822

S.W.2d 1, 12 (Tex. 1991)).

     86.   Both parties seek attorneys'          fees pursuant to both

§ 13(i) of the Master Service Contract and the Texas Civil

Practices and Remedies Code § 38.001.

     87.   Under Texas law, the party seeking attorneys' fees bears

the burden of proof to show the reasonable fees they are owed.               El

Apple I, Ltd. v. Olivas, 370 S.W.3d 757, 760 (Tex. 2012).

     88.   The party seeking attorneys' fees may calculate their

reasonable and necessary attorneys' fees using either the lodestar

method or the market value method.              Id. (citing      Hensley v.

Eckerhart, 103 S. Ct. 1933 (1983) (applying substantive federal law
because it was a federal cause of action but also discussing
Texas's adoption of the lodestar method in other cases).


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     89.   Schlumberger is entitled to attorneys' fees, court costs,

and expenses incurred defending Hess's claim for methanol damages

pursuant to § 13(i) of the Master Service Contract because that

claim is for damage to or loss of Hess's property which has been

resolved in Schlurnberger's favor.

     90.   Section 38.001 of the Texas Civil Practices and Remedies

Code states that

     A person may recover reasonable attorney's fees from an
     individual or corporation, in addition to the amount of
     a valid claim and costs, if the claim is for:



     (8)   an oral or written contract.

Tex. Civ. Prac. & Rem. Code Ann. § 38.001.

     91.   To recover attorneys's fees in a breach of contract suit,

a party must (1) prevail on the underlying claim and (2) recover

damages.   In re Nalle Plastics Family Ltd. Partnership, 406 S.W.3d

168, 172-73 (Tex. 2013).

     92.   If any attorneys' fees relate to a claim for which such

fees are not recoverable, a claimant must segregate recoverable

from unrecoverable attorneys' fees.        Tony Gullo Motors I, LP v.
Chapa, 212 S.W.3d 299, 313 (Tex. 2006).

     93.   The party seeking attorneys' fees bears the burden to
show that the opposing party is only being charged with fees on a

claim that allows for recovery of such fees. Id. at 311.




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     94.     "Sufficient evidence includes, at a minimum, evidence 'of

the services performed, who performed them and at what hourly rate,

when they were performed and how much time the work required.'"

Long v. Griffin, 442 S.W.3d 253,          255   (Tex. 2014)   (per curiam)

(quoting El Apple, 370 S.W.3d at 763).

     95.     Because Hess has neither prevailed on any of its breach

of contract claims, nor recovered damages, Hess is not entitled to

recover attorneys' fees.                                                       , I'


     96.     The court has concluded that Schlumberger is entitled to

attorneys'    fees pursuant to §§ 13 (c)        and 13 (i) of the Master

Service Contract,      but because Schlumberger has not yet had an

opportunity to submit an application for attorneys' fees, the court

will accord Schlumberger that opportunity.

     97.     A conclusion of law that should be treated as a finding

of fact is hereby adopted as that, and a finding of fact that

should be treated as a conclusion of law is hereby adopted as that.



                      IV. Conclusions and Orders

     Pursuant to the Findings of Fact and Conclusions of Law

entered herewith, Schlumberger Technology Corporation's Renewed

Rule 52(c) Motion for Judgment on Partial Findings as to the Well

B(2) Valve, Docket Entry No. 212, is DENIED as MOOT.




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     Pursuant to the Findings of Fact and Conclusions of Law

entered herewith, Hess Corporation's Motion for Entry of Judgment,

Docket Entry No. 222, is DENIED.

     In accordance with the Findings of Fact and Conclusions of Law

entered herewith,    Schlumberger shall submit within 14 days,            a

motion for attorneys' fees, costs424 and other expenses to which it

is entitled under§   13(i) of the Master Service Contract for having

to defend against Hess's claim for methanol-related damages.           Hess   1.

may submit a response within 14 days after Schlumberger files its

motion, and Schlumberger may submit a reply within 7 days after

Hess files its response.

     SIGNED at Houston, Texas,                             ovember, 2020.




                                                SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




       The parties have not addressed whether "court costs" as used
     4 24

in §§ 13(a}3 and 13(i} of the MSC is limited to the costs
identified in 28 U.S.C. § 1920. If Schlumberger contends that
"court costs" as used in the MSC includes additional costs, it may
seek such costs, and brief its entitlement to them in its motion.
If Schlumberger agrees that it is only entitled to the costs
identified in 28 U.S.C. § 1920 it need not request them now, but
may include those in its Bill of Costs pursuant to Local Rule 54.2.
                                  -147-
